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                                  #: 3539




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION




       K.C., et al,                  )
                                     )
                        Plaintiffs, ) Case No.
                                     ) 1:23-cv-00595-JHP-KMB
                -vs-                 )
                                     )
       THE INDIVIDUAL MEMBERS OF THE )
       MEDICAL LICENSING BOARD OF    )
       INDIANA, in their official    )
       capacities, et al.,           )
                                     )
                        Defendants. )




                 DEPOSITION OF KRISTOPHER KALIEBE, M.D.


              The deposition upon oral examination of
       KRISTOPHER KALIEBE, M.D., a witness produced and
       sworn before Wendi Kramer Sulkoske, Notary Public in
       and for the County of Boone, State of Indiana, taken
       on behalf of the Plaintiff via videoconference in
       Tampa, Hillsborough County, Florida on June 1, 2023,
       pursuant to the Federal Rules of Civil Procedure.




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 K.C., et al. VS                                #: 3540                                     KRISTOPHER KALIEBE, M.D.
 The Individual Members of the Medical Licensing Board                                                    June 1, 2023
                                                      Page 2                                                          Page 4
                                APPEARANCES
                                                                  1              KRISTOPHER KALIEBE, M.D.
                        (Via Video Conference)
                                                                  2   the witness herein, having been first duly sworn to
                                                                  3   tell the truth, the whole truth, and nothing but the
      FOR PLAINTIFFS:
                                                                  4   truth, was examined and testified as follows:
      AMERICAN CIVIL LIBERTIES UNION
      Harper Seldin                                               5   EXAMINATION,
      Chase Strangio
      125 Broad Street                                            6      QUESTIONS BY MR. SELDIN:
      New York, New York 10004
      hseldin@aclu.org                                            7   Q Dr. Kaliebe, good morning.
      cstrangio@aclu.org                                          8   A Good morning.
      ACLU OF INDIANA
      Gavin Rose                                                  9   Q My name is Harper Seldin. I'm an attorney with
      Stevie Pactor
      1031 East Washington Street                                10       the ACLU for the plaintiffs on this matter.
      Indianapolis, Indiana 46202
      spactor@aclu-in.org
                                                                 11      Joining me is Stevie Pactor, along with Gavin
      grose@aclu-in.org                                          12     Rose, along with some interns as well as an intern
                                                                 13     from the national office.
      FOR THE DEFENDANTS:                                        14        How are you this morning?
      COOPER & KIRK
      Peter A. Patterson
                                                                 15   A I'm good.
      1523 New Hampshire Avenue, NW
      Washington, D.C. 20036
                                                                 16   Q So just to do a little bit of table setting and
      ppatterson@cooperkirk.com                                  17      some housekeeping and then we will get right to
                                                                 18      it.
     ALSO PRESENT:   Zoom Moderator, Joel Scherer                19           MR. SELDIN: Mr. Patterson, I don't know
                     Bailey Steinhauer, Andrew Shaw
                     Charles Ferguson                            20      if you want to enter an appearance for the
                          EXAMINATION INDEX                      21      record?
                                                          Page   22           MR. PATTERSON: I'm appearing on behalf of
       EXAMINATION                                               23      the defendants and to defend this deposition.
        QUESTIONS BY MR. SELDIN                             4
                                                                 24   Q Dr. Kaliebe, have you had your deposition taken
                                                                 25     before?

                                                      Page 3                                                          Page 5

                            EXHIBIT INDEX                         1   A Yes.
    Exhibit       Description                             Page    2   Q About how many times?
                                                                  3   A Fifteen.
    Exhibit 1     Dr. Kaliebe Declaration                   6
                                                                  4   Q Okay. So this will all be familiar to you, but I
    Exhibit 3     Dr. Kaliebe Expert Report                 7     5     will say it again.
                                                                  6   A Yes.
    Exhibit 4     Dr. Kaliebe Expert Report                 8
                                                                  7   Q I'm sure fourteen times you have heard lawyers say
    Exhibit 5     Dr. Kaliebe Deposition                    10    8      you know this, but we will go over it anyway.
                                                                  9        First, are you on any medications today that
    Exhibit 6     Plaintiff Memorandum of Law in            15
                   Support of Motion to Exclude Expert
                                                                 10     would prevent you from hearing and understanding
                   Testimony of Dr. Kaliebe                      11     me and providing truthful responses?
                                                                 12   A No.
    Exhibit 7     Dr. Kaliebe Decker Testimony              13
                                                                 13   Q Any other reason today that you could not testify
    Exhibit 8     Zero To Three Article                    212   14      truthfully or understand what I'm asking you?
    Exhibit 11    Do No Harm About Us                      167
                                                                 15   A No.
                                                                 16   Q Great. So today we will be having a discussion.
     Exhibit 14    Standards of Care for the Health of           17      I just ask that with the Zoom lag that we let each
                  Transgender and Gender Diverse People    155
                   Version 8
                                                                 18      other finish. Please let me finish my question
                                                                 19      even if you think you know where I'm going. I
    Exhibit 15    Oasis Conference Link                    203   20      will endeavor to let you finish your answer.
    Exhibit 16    Dr. Kaliebe Twitter Pages                205
                                                                 21            If you answer my question I will assume that
                                                                 22     means you understood it. Is that fair?
    Exhibit 17    Oasis Conference Link                    209   23   A Yes.
                                                                 24   Q Great. And your responses need to be verbal.
                                                                 25     Uh-huh and huh-uh look pretty much the same on the


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  1       record. We ask that you verbalize your response.    1   Q Is this a copy of your C.V?
  2       If at any time you need a break, let me know. I     2   A It does appear to be so.
  3       will try to break us around the hour mark. I ask    3   Q Were there any changes from when you submitted
  4       if there is a question pending that you answer the  4     this report and when you submitted the declaration
  5       question before you take a break.                   5     in this case?
  6           Does that sound like a good plan?               6   A Nothing major. I'm not sure the C.V. has my
  7   A    Yes.                                               7      promotion to full professor on it. That occurred
  8   Q   Great. Then, Doctor, do you have any notes with 8         as of a couple months ago.
  9       you today or anything on your desk?                 9   Q Other than your promotion to full professor,
 10   A   I only have a blank piece of paper and a pen, so, 10      congratulations, would there be any material
 11       no, I have no notes or anything like that.         11     changes?
 12   Q    Okay. Great. So the first thing that I would 12        A If they are, they are quite minor.
 13       like to show you is an exhibit that has been 13         Q Dr. Kaliebe, do you still hold the opinions that
 14       marked Exhibit 1.                                  14      you provided in the report that you submitted in
 15           I think Joel will pull that up for us.         15     Boe v. Marshall?
 16   A    Okay.                                             16   A Yes.
 17   Q   My question when we see Exhibit 1 is just going to 17   Q Were you aware that the state of Indiana provided
 18       be do you recognize this document?                 18     this report to plaintiffs as an example of a
 19   A    Yes, I recognize that document.                   19     report that you might offer in this case?
 20   Q    And is this the declaration that you submitted in 20   A Yes.
 21       this case?                                         21           MR. SELDIN: Joel, if you can pull up
 22   A    It does appear to be so.                          22     Exhibit 4 for us.
 23   Q    Does this contain all of the opinions that you 23      Q Dr. Kaliebe, do you recognize this document?
 24       intend to offer in this case?                      24   A Yes.
 25   A    Yes. Unless I'm asked about other matters. 25          Q What is it?

                                                      Page 7                                                    Page 9

  1   Q As of this moment it contains all of the opinions 1       A It's a report for the state of Florida.
  2     that you intend to offer?                           2     Q The case caption is Decker v. Weida, is that
  3   A Yes.                                                3       correct?
  4           MR. SELDIN: Joel, could you scroll us 4             A Yes.
  5     down toward the end.                                5     Q Do you still hold the opinions contained in this
  6   Q Dr. Kaliebe, I don't believe there was a C.V. 6             report?
  7     attached to this declaration. I just want to go 7         A Yes, I think perhaps some minor opinions have
  8     to the end. I believe it just includes a list of 8          evolved somewhat. But I would say for the most
  9     publications. I just want you to confirm that 9             part, yes.
 10     that is the case.                                  10     Q How would they have evolved?
 11   A Correct.                                           11     A You have to be specific. I have continued to --
 12   Q Okay.                                              12       the report was filed, you know, months ago.
 13           MR. SELDIN: Joel, can you pull up            13     Q Looking at the date at the top of this -- you were
 14     Exhibit 3 for us.                                  14       fading out.
 15   Q My question, Dr. Kaliebe, is just going to be do 15       A No. I just continue to read. I continue to amass
 16     you recognize this document?                       16       more information. So, you know, opinions that I
 17   A Yes.                                               17       had a couple months ago may be more nuanced if I
 18   Q What is this?                                      18        have additional data to substantiate or slightly
 19   A This is another report, expert report for the 19             alter opinions.
 20     state of Alabama.                                  20            I don't have any direct, I don't have any
 21   Q And I believe there was a C.V. attached to the end 21        particular things that I know of in the report
 22     of this.                                           22        that I feel differently on. Although, I'm
 23           MR. SELDIN: Joel, if you can scroll down 23           guessing there are probably some things that have
 24     for us, please. I believe it starts at about       24       slightly changed.
 25     Page 87 of the PDF.                                25     Q Just to make sure I understand, the report in

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  1     Decker was filed on April 7, correct?                 1   Q Did you have an opportunity to review your
  2   A Correct. Yes.                                         2     deposition transcript in Decker to submit an
  3   Q So it's your belief that in less than the two         3     errata?
  4     months that have elapsed between this report and      4   A Yes.
  5      today your opinions may have been refined or         5   Q Did you submit any errata?
  6     evolved, but are materially the same?                 6   A Yes.
  7   A Correct.                                              7   Q Did your errata address your different
  8          MR. SELDIN: Joel, can you pull up                8     understanding of those questions or --
  9     Exhibit 5?                                            9   A My errata contained what I thought were misquotes
 10   Q Dr. Kaliebe, I'm showing you what we marked as       10     of myself. I didn't see the errata as a time to
 11     Exhibit 5.                                           11      change my answer on things. I just saw it as a
 12         Do you recall being deposed in the Decker        12      time to correct any errors in the transcript. So
 13     matter we were just discussing?                      13     that is what is in the errata.
 14   A Yes, I do.                                           14   Q When did it become apparent to you that perhaps
 15   Q Does this appear to be a copy of your deposition     15     you would have changed some of your answers in
 16     in that case?                                        16     this deposition if you had understood the question
 17   A Yes, it is.                                          17     differently?
 18   Q Were you truthful in that deposition?                18   A When I read the transcript.
 19   A Yes. Although, as I read the deposition              19   Q Okay. So is it fair to say -- so you read the
 20     transcript, I feel like there are a couple times     20     transcript for errata. You changed what you
 21     where the answer that I gave, as I read it, seemed   21     believed were misquotes, but you did not seek to
 22     to be somewhat -- the question asked seemed to be    22     address to change your answers when you had a new
 23     somewhat different than as I understood it at the    23     understanding of the questions?
 24      time.                                               24   A Correct.
 25         So I was truthful, however, now that I look      25   Q Okay. So for purposes of this deposition let's

                                                   Page 11                                                     Page 13

  1     at some of the answers I might have answered them   1       just make sure that you understand my questions
  2      with some different nuance.                        2       and so if there is any ambiguity we sort that out.
  3   Q Is there a particular question you have in mind 3           How about that?
  4      when you are explaining that to me?                4     A Yes.
  5   A Well, yes. There were some questions about 5              Q Okay.
  6    treatment of gender dysphoria that were framed in 6                MR. SELDIN: Joel, could you pull up
  7     a manner that seemed to me as I read them that 7            Exhibit 7.
  8      were sort of, that indicated that it must be       8     Q Dr. Kaliebe, in the Decker matter do you recall
  9      treated. Where I believe at the time the           9       testifying at trial?
 10    questioner was, you know, is this a valid thing to 10      A Yes.
 11     treat? Would this be a good thing to treat? You 11        Q That was very recently, is that right?
 12      know, just a slight nuance there.                 12     A May 18.
 13         I also noted that the questioner asked, they 13       Q And is this, you will see this is a transcript of
 14    had a comment that I had to ask my wife, who is an 14        the fifth day of the trial in Decker.
 15      endocrinologist, about the endocrinological 15                   MR. SELDIN: Joel, can you take us to
 16      patients. I didn't note it at the time that that 16        Page 1058.
 17      was how the questioner framed it.                 17              MR. PATTERSON: It looks like it is
 18         Of course, I know plenty about those things 18          Page 95 if I'm doing that math correctly.
 19    and have done my own research. I just thought it 19                MR. SELDIN: Mr. Patterson is much braver
 20    was nice to add on top of that, you know, she is a 20         than I to do math in the middle of a deposition.
 21      board certified endocrinologist.                  21             MR. PATTERSON: I was off by one page.
 22          As I read it, there are some minor things 22         Q Dr. Kaliebe, you will see on Page 1058 --
 23     like that that I think were in the moment I didn't 23             MR. SELDIN: Joel, if you can scroll down
 24     hear the question the way reflected as I read it. 24        one more.
 25      I would refine my answer.                         25     Q It starts afternoon session. I might have the

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  1     wrong page on this one. Give me a second.           1     for now. Thank you.
  2   A I was the second witness in the afternoon.          2   Q Dr. Kaliebe, I will ask you some questions about
  3   Q Let me find the right page. I apologize.            3     how you prepared for today's deposition.
  4           MR. SELDIN: Joel, I think it's 1095 or        4        Just to head trouble off at the pass, I'm not
  5     try Page 133.                                       5     asking you what you talked about with your
  6   Q Dr. Kaliebe, do you see where it says Direct        6       lawyers. I'm asking you questions about the where
  7     Examination and then --                             7       and who, but not the what.
  8   A Yes.                                                8          I'm sure Mr. Patterson will cut you off if
  9   Q Is this a copy of your trial testimony in Decker?   9       you try. I just want to be clear about that ahead
 10   A Yes.                                               10       of time.
 11   Q Were you truthful during that testimony?           11           So my question is just going to be how did
 12   A Yes.                                               12       you prepare for today's deposition?
 13   Q Did you do your best to answer honestly?           13   A Well, I did have a meeting, I think it was Sunday,
 14   A Yes.                                               14       with the lawyer for about forty-five minutes. So
 15   Q Was that true when the state of Florida was asking 15       I had one meeting with the lawyer. The other prep
 16     you questions?                                     16       was I read my report. I read the deposition that
 17   A Yes.                                               17       I gave. I read my trial testimony.
 18   Q Was that also true when plaintiffs in that case    18   Q When you say you read the deposition that you
 19     were asking you questions?                         19     gave, are you referring to the deposition in
 20   A Yes.                                               20     Decker that we were just talking about?
 21   Q I believe that the court in that case also asked   21   A Yes.
 22    you some questions while you were on the stand. 22       Q When you say your trial testimony, are you
 23        Do you recall that?                             23       referring to the trial testimony in Decker that we
 24   A Yes.                                               24     were just discussing?
 25   Q Did you do your best to be truthful when answering 25   A Correct.

                                                   Page 15                                                     Page 17

  1     the judge in that case?                             1   Q Do you recall which lawyer you met with for about
  2   A Yes.                                                2     forty-five minutes this past Sunday?
  3            MR. SELDIN: Joel, can you pull up            3   A Yeah. I hate to -- I do not remember Brian's last
  4     Exhibit 6 for us.                                   4       name. There has been a lot of switching of the
  5   Q Dr. Kaliebe, have you ever seen this document       5     lawyers.
  6     before?                                             6   Q  Any part of their name will do.
  7   A Yes.                                                7   A  Brian.
  8   Q What is this document?                              8   Q  Did you say Brian?
  9   A It's a Plaintiff's Memorandum of Law in Support of  9   A  Yes.
 10     Motion to Exclude Expert Testimony of              10   Q  Is that Brian Barnes with Cooper and Kirk?
 11     Dr. Kristopher Kaliebe.                            11   A  I believe it is.
 12   Q Is it your understanding then that the plaintiffs  12   Q  Any other attorneys that you spoke with?
 13     in Decker tried to exclude your testimony in that 13    A  No.
 14      case?                                             14   Q  Okay. Any other meetings other than that
 15   A Yeah. I just found that out the other day. 15             forty-five minute meeting?
 16   Q I'm sorry. You said --                             16   A No.
 17   A Yes. I guess so. I just found out.                 17   Q Did you speak with anyone else at all in
 18   Q Do you know whether the court has resolved this 18        preparation for today's deposition?
 19      motion yet?                                       19   A No.
 20   A No.                                                20   Q Okay. Other than your report or your declaration
 21   Q Were you aware prior to testifying for Decker that 21       in this case, your deposition testimony in Decker,
 22      this motion had been filed?                       22       and your trial testimony in Decker, did you review
 23   A No.                                                23     any other documents to prepare for today's
 24   Q Thank you so much.                                 24     deposition?
 25           MR. SELDIN: Joel, we can take that down 25        A Well, I continually am educating myself and

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  1     reading more reports, articles, and such. None of     1     this case?
  2     them were in preparation for this deposition 2            A No.
  3     though.                                             3     Q Thank you, Dr. Kaliebe.
  4   Q Did you review the expert declarations from 4                  Anything else that you did to prepare for
  5     Dr. Shumer, Dr. Karasic, or Dr. Turban?             5       today's deposition that we have not covered?
  6   A I did.                                              6     A No.
  7   Q Did you review the transcription of their           7     Q Then Dr. Kaliebe, I want to talk a little about
  8     depositions?                                        8       your background. You are board certified in
  9   A I did.                                              9       psychiatry, is that correct?
 10   Q Did you review any of the declarations submitted 10       A Yes.
 11     by Indiana's other experts?                        11     Q You are also board certified in child and
 12   A No, I did not.                                     12       adolescent psychiatry, is that correct?
 13   Q I'm sorry?                                         13     A Yes.
 14   A No. I don't believe so. Just those three.          14     Q And forensic psychiatry as well?
 15   Q In the process of preparing for today's            15     A Correct.
 16     deposition, did you review any of the medical 16          Q Do you have any other board certifications?
 17     records of the plaintiffs in this case?            17     A No.
 18   A I reviewed medical records, but not regarding, you 18     Q Do you have any formal training in sociology?
 19      know, it was a while back. It was not regarding 19       A Well, I believe during medical school and
 20     this deposition.                                     20     residency, yeah, training in the broad range of
 21   Q So did you review the plaintiffs' medical records    21     the field, which sociology is somewhat included
 22     in your declaration?                                 22      within psychiatry. So psychiatry has some
 23   A I did review them. But I decided, it was decided     23      sociology included.
 24     to not, you know, include anything regarding those   24   Q Was there a specific course in sociology that you
 25      records in my report.                               25     took as part of your medical training?

                                                   Page 19                                                     Page 21

  1         So if that answers your question, I reviewed      1   A Well, since psychiatry deals with biopsychosocial
  2      the records. I did not, you know, formulate          2     phenomenon in people, sociology is a component of
  3     opinions or, you know, add anything into my report    3      how you are trained. So the social part is quite
  4      related to that. So I did review them, but I         4      important.
  5      didn't comment on them.                              5         As I said, what people think about how you
  6   Q Have you spoken to Diana Kenny, who is one of the     6      approach the patient is biopsychosocial. So
  7      experts in this case that Indiana has proffered?     7      social is a major component. In psychiatry we
  8   A No.                                                   8     frame our approach to patients as biopsychosocial.
  9   Q Have you spoken with Daniel Weiss, who is another     9      So social matters are essential and a large part
 10     of the Indiana experts in this case?                 10      of psychiatry. So there's a lot of psychiatric
 11   A No.                                                  11      training and medical school training.
 12   Q Have you spoken with Paul Hruz?                      12          So, yes, it is quite important to be up on
 13   A No.                                                  13     social matters and understand social interactions.
 14   Q Have you spoken with James Cantor?                   14     That is a large component of our training.
 15   A No.                                                  15   Q And how are you defining sociology?
 16   Q When we were talking earlier about your deposition   16   A Well, how am I defining sociology? In psychiatry
 17      in Decker you referred to part of the transcript    17     social matters are very important. Social
 18      where you discussed speaking with your wife,        18     interactions are the basis of sociology is my
 19     Dr. Olga Kaliebe, who is a board certified           19      understanding. So that is how I was applying
 20     endocrinologist, is that correct?                    20     them.
 21   A Yes.                                                 21   Q Fair to say that in psychiatry you are treating
 22   Q Have you spoken with your wife, Dr. Kaliebe, about   22     individual patients, correct?
 23     this case?                                           23   A Well, you do. You treat families. You treat them
 24   A No.                                                  24      within a context. You are also asked for input
 25   Q Did she assist in any way in your declaration in     25      regarding matters that are more broad. So, you

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  1      know, it depends. Yes. Typically our model is      1     involved in training when I was at LSU you do
  2      individual patients or families.                   2     learn about a lot of organizational stuff because
  3           COURT REPORTER: Doctor, I'm sorry. you        3     you do the trainings that the universities do to
  4      are cutting out and I am having a hard time        4     help understand how to run a residency and work
  5      hearing you.                                       5      with trainees.
  6            MR. SELDIN: Let's go off the record.         6         There is some organizational work, some
  7           (OFF RECORD AT 10:00 A.M.)                    7      organizational training that I received as part of
  8        (AT THIS TIME A SHORT RECESS WAS HELD OFF        8     that. Each medical school has a medical education
  9    THE RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS     9     department. They do trainings about other work
 10      WERE HAD:)                                        10     systems.
 11           (ON RECORD AT 10:01 A.M.)                    11   Q Anything other than that?
 12   BY MR. SELDIN:                                       12   A Not that I recall.
 13   Q Thank you, Dr. Kaliebe. Do you treat families in 13     Q And then in your declaration you said that gender
 14      your psychiatry practice currently?               14     dysphoria and its treatment were part of your
 15   A When you practice child psychiatry you typically 15       professional training.
 16     do see the family. Right? You have to see the 16               Do you recall that part of your declaration?
 17      family. So you are doing family work.             17   A Yes.
 18   Q I'm not asking typically. I'm asking do you 18          Q Okay. And what professional training did you
 19      specifically treat families currently in your 19         receive on gender dysphoria or its treatment?
 20      psychiatry practice?                              20   A Well, at the time it would have been called gender
 21   A Yes. I mean, when you work in child psychiatry 21          identity disorder. I use the modern term. But
 22      you work with the family, yes.                    22     when you are doing a general psychiatry residency
 23   Q And when you say you work with the family, you 23          your section of the training in medical school
 24     mean providing psychiatric treatment to the family 24      includes a section of training or learning that
 25     and consulting with the family about the child? 25         includes those disorders.

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  1   A Well, neither of those is the right way to frame    1          In child psychiatry residency, you have
  2      it. You work with a child and family together.     2      training that includes those disorders. So at
  3    The child may be the assigned patient, but you are 3        every level of training you get some education
  4      working with the entire family.                    4      regarding, you know, at that point it was gender
  5   Q Do you prescribe medication as part of your 5              identity disorder, but now it's called gender
  6      psychiatry practice?                               6      dysphoria.
  7   A Yes.                                                7   Q Did you take any specialized or targeted classes
  8   Q Are you prescribing medication to any of the 8            that dealt with gender identity disorder or
  9      parents or the family members of your child 9             gender dysphoria as part of your medical school
 10      patients as part of your practice?                10     training?
 11   A No.                                                11   A No.
 12   Q Do you provide psychotherapy as part of your 12         Q Okay. Have you done any continuing education on
 13      psychiatric practice?                             13      gender identity disorder or as it was previously
 14   A You would provide parent training. So, yes, you 14        called or gender dysphoria?
 15     are providing -- it's not, it's family work so you 15   A Yes.
 16    do some family therapy. Even when you are in a 16        Q What continuing education have you done?
 17     room with a parent and the child together that is 17    A Okay. So I attend meetings at the American
 18     a therapeutic interaction with both members. 18           Academy of Child and Adolescent Psychiatry, they
 19   Q Then other than the training in sociology that you 19     have CME meetings at every annual meeting. And I
 20     talked about as part of your medical training, do 20       attended in the last four years, five years, I
 21    you have any other training in group dynamics or 21        would guess about half a dozen, maybe more, of the
 22      organizational dynamics?                          22     presentations, or I bought the, you know, you get
 23   A We receive some of that training as, you know, in 23       the audio package later.
 24     medical school and during your residency and 24             With COVID it kind of got messed up so it was
 25      because I was the program director and was 25            not the usual conference. We were doing online


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  1     not real time so you could watch later. Because     1     That is considered continued medical education,
  2      of that I would not say that all of the ones I     2     taking the board review.
  3    watched every single minute of, you know, during 3       Q Doctors have a better deal than lawyers when it
  4     that online period.                                 4     comes to CLEs.
  5        When you are in person you know that you sit 5       A It's expensive.
  6    there through the whole presentation. So I would 6       Q Other than the ten hours we talked about and the
  7    estimate at least six presentations which are CME    7     education that you would have gotten in the
  8    presentations from the American Academy of Child 8         ordinary course as part of your board
  9     and Adolescent through the annual meeting. 9               certifications and continuing training, anything
 10        Most of them were at the time of the annual 10          else since 2005?
 11    meeting, but some of them were later because I get 11    A I do not believe anything else that was CME.
 12    the package where you can watch them later so if 12      Q Okay. How did you come to be an expert in this
 13    you miss something you can go back and watch. 13           case?
 14        I was at the American Psychiatric Association 14             MR. PATTERSON: I will object to the
 15     meeting last year and attended a CME meeting 15           extent it calls for attorney/client privilege
 16    related to gender dysphoria and adolescents. And 16        communication.
 17    I downloaded, or I also participated in one of the 17    Q Let me break it down a little more in smaller
 18    American Psychiatric Association trainings related 18      chunks to see if we can avoid the problem. This
 19     to gender dysphoria this year.                     19     is a yes or no question.
 20   Q So it sounds like those first six CME credits that 20         Did the state of Indiana reach out to you
 21     you were talking about, were those all related to 21      about becoming an expert in this case?
 22     gender dysphoria or its treatment?                 22   A Yes.
 23   A Yes.                                               23   Q So you did not affirmatively reach out to them, is
 24   Q Okay. So the past four or five years about how 24         that correct?
 25    many hours of CME training do you think you have 25      A Correct.

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  1     had on gender dysphoria or its treatment?          1    Q When was the first case -- excuse me.
  2   A About ten.                                         2           Prior to Decker, were you an expert in any
  3   Q Okay. And so six years ago and later about how     3      case involving gender dysphoria or its treatment?
  4    many hours of CME credit do you think you had 4          A No.
  5    related specifically to gender dysphoria or gender  5    Q Other than Decker and Boe v. Marshall, have you
  6     identity disorder?                                 6      been involved in any case involving gender
  7   A Only to the degree it was included in larger 7            dysphoria or its treatment?
  8     programs. So at that point I had not sought out 8       A No.
  9     any. So one answer to that question is none. 9          Q In your C.V. and in Boe and in your declaration
 10        Or only as it was included in course reviews 10        you listed your prior expert engagements.
 11    or other classes. Because when you do, when you 11            Fair to say other than Decker, Boe, and this
 12    go to the annual conference there's a performance 12        matter, none of the rest would pertain to gender
 13    and practice feedback that you do, which is asking 13      dysphoria or its treatment?
 14    and answering questions about different topics in 14     A Correct.
 15    child psychiatry. That includes topics related to 15     Q In which case did you become an expert first,
 16     gender dysphoria.                                 16      Decker or Boe?
 17        Then also when you do board review there are 17      A Decker.
 18     sections of board review that are also related to 18    Q Okay. In the Decker matter in Florida, did the
 19    gender dysphoria and gender dysphoria treatments. 19       state of Florida reach out to you about becoming
 20     That is a general review of all topics, but it 20         an expert?
 21     includes those.                                   21    A Yes.
 22        So I did retake my boards, I'm guessing in 22        Q Were any third parties involved in making that
 23    2005. Then in 2015 would have been my redo for my 23       connection between you and the state of Florida?
 24     child psychiatry boards. So I would have to 24          A I actually don't know.
 25    study. But you do get CME for taking the board. 25       Q Prior to Decker had you ever held yourself out as

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  1      an expert in gender dysphoria or its treatment?     1     and collaborative care back to Louisiana. But I
  2   A No.                                                 2      mostly moved from Louisiana to Florida, thereby
  3   Q Have you ever lobbied before a state legislature? 3        changing my work from mostly LSU to mostly the
  4   A No.                                                 4       University of South Florida.
  5   Q Have you ever testified before a state              5    Q Did your role at LSU involve clinical treatment?
  6     legislature?                                        6    A Yes.
  7   A No.                                                 7    Q Did it involve clinical supervision?
  8   Q The same question at the federal level, have you 8       A Yes.
  9     ever lobbied for federal legislature?               9    Q Did you teach?
 10   A No.                                                10    A Yes.
 11   Q Have you ever testified before Congress? 11              Q Did you perform research?
 12   A No.                                                12    A Yes.
 13   Q You are aware this case involves Senate Enrolled 13      Q Okay. Did you have any administrative
 14     Act 480 in Indiana, correct?                       14      responsibilities?
 15   A Correct.                                           15    A Yes.
 16   Q Have you made any public statements for or against 16    Q Here is the tough question, what percentage of
 17     Senate Enrolled Act 480?                           17      your job do you think was clinical treatment
 18   A No.                                                18      versus the other things we just talked about?
 19   Q Have you ever made any public statements for or 19       A So when I was at LSU my job involved, it changed
 20     against any other laws pertaining to the treatment 20      over time. That is not a question that I can
 21      of gender dysphoria in minors in other states?     21     answer easily because there were different times
 22   A No.                                                 22      with different roles.
 23   Q No op eds or letters to the editor? Nothing like    23         Mostly I would do clinical work. So, you
 24     that?                                               24     know, I was mostly a clinician. But I would say I
 25   A Correct.                                            25     was heavily a clinician educator. So I was always

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  1   Q Dr. Kaliebe, I will ask you some questions about   1        very involved with the training programs and
  2     your background. They come from the portions of    2       teaching. So I always had a large teaching role.
  3     your declaration and when we talk about it if you  3           In my clinical sites I would have students or
  4     would like to refer to those, let me know and we 4         residents come with me where I was working a lot
  5     will pull up Exhibit 1.                            5       of the time and people would, you know, sit in
  6          My questions will be what were the            6       with me. So I had a clinical role, which included
  7     circumstances of starting or stopping various 7            some resident supervision. Then if you want me to
  8     jobs. I'm not trying to trick you. If you want 8           breakdown the numbers --
  9     to refer to that for dates, just let me know.      9     Q I think that is a good answer. Thank you.
 10         According to your declaration you stopped 10         A Okay.
 11     being the assistant professor at LSU Health 11           Q In your current role at USF do you have roughly
 12     Science Center in 2016, is that correct?          12       the same mix of responsibilities in terms of being
 13   A Yes.                                              13       a clinician and teaching?
 14   Q What prompted the end of your employment there? 14       A Well, yes and no. When I moved to Florida I was
 15   A I moved to Tampa, Florida. It did not totally end 15       offered a number of contracts in corrections which
 16    my employment with LSU. I'm not exactly sure how 16          was actually a little bit more time in juvenile
 17    long I remained with some contracts in Louisiana. 17        corrections than I was spending in Louisiana. So
 18     I retained my medical license in Louisiana and 18          I do more correctional work in Florida than I was
 19    still had an LSU collaborative care contract when 19         doing in Louisiana hours-wise.
 20     I moved to Florida. I can't exactly say that it 20              Recently I'm doing more forensic cases so I'm
 21     ended.                                            21       doing more forensic work. My clinical role in
 22        I mostly became a University of South Florida 22        Florida was significantly decreased in terms of,
 23     employee and had moved to Tampa. I had a 23                like, having an individual patient clinic. Right?
 24     collaborative care contract, I believe it was for 24        So I have two resident clinics right now.
 25    one more year at LSU, you know, doing psychiatry 25             But that is, you know, a lot less sort of

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   1      direct patient care and, you know, very little    1       Q So twelve to thirteen were under eighteen? Then
   2     independent patient care compared to what I was    2         we will call it --
   3      doing in Louisiana.                               3       A I'm not sure how you count the people that you saw
   4   Q Dr. Kaliebe, how long have you been practicing 4             and they were below eighteen and now they are over
   5      psychiatry?                                       5         eighteen in that question.
   6   A Well, I finished my first residency in, which 6            Q When you started seeing those people under
   7     would be the general psychiatry residency as I 7             eighteen, if we use that definition, does the
   8     transferred into child psychiatry, that would be 8           twelve to thirteen still stand?
   9      in 2004.                                          9       A We will make it thirteen if it's when I started to
  10          At that point, because I was already         10         see them. You know, that is my, I'm, that is the
  11    moonlighting, which was an independent practice, 11           best estimate that I can give you.
  12     you know, I would say my first independent 12              Q I will spot you the one. We will call it
  13      practice was 2001 or 2002. So during your 13                thirteen.
  14     residency sometimes you are also independent 14                 Of those thirteen did you diagnose any of
  15     practicing. So I would have to say 2001 would 15             them with gender dysphoria?
  16    probably be my first year of independent practice. 16       A Yes.
  17      I graduated medical school in 1999.              17       Q How many of them did you diagnose with gender
  18         I know during your first year of residency no 18         dysphoria?
  19     one does any independent practice. That is one 19          A There are different ways to answer that question.
  20      way to answer the question.                      20         All of them are diagnosed with gender dysphoria
  21         Another way to answer is when I finished all 21          and had come to me with that diagnosis or some
  22     my fellowships and residencies, that would be 22              question regarding that diagnosis.
  23    July 2005 because I did general psychiatry. Then 23               Now, are you asking am I the first person to
  24      I did child and adolescent psychiatry.           24          diagnose gender dysphoria for that patient? Or
  25         So general for three years. Child psychiatry 25           are you asking me did I continue a diagnosis of

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   1      for three years. Forensic psychiatry for one         1      gender dysphoria?
   2      year. And finished in July of 2005.                  2    Q We will break it down into small chunks to get
   3   Q Fair to say then you have seen patients in some       3      exactly at that question. Of those thirteen
   4     capacity for about twenty-two years?                  4      patients how many of them when they arrived in
   5   A Correct. You could say my residency started on        5      your office already had a diagnosis of gender
   6     July 1 of 1999.                                       6      dysphoria?
   7   Q Round numbers, is it fair to say you have treated     7    A I would guess maybe ten.
   8     thousands of patients in that twenty plus year        8    Q Okay. Of those ten who arrived in your office
   9     period?                                               9      already with a diagnosis of gender dysphoria, how
  10   A Correct.                                             10      many of those did you also diagnose with gender
  11   Q Of those thousands of patients how many of them      11      dysphoria?
  12     have you treated that have had gender dysphoria or   12    A I'm trying to think back if there was any. I
  13     gender identity disorder?                            13      believe there was a continuation of a diagnosis in
  14   A As you have probably seen in my deposition, there    14      all patients.
  15     is a -- it is probably around sixteen or seventeen   15    Q So of those ten who showed up with a diagnosis of
  16     patients right now.                                  16      gender dysphoria, in none of them you said, I
  17   Q I believe you had a colloquy with the court in       17      don't think that is correct. You don't have
  18     Decker that led you to that number about sixteen     18      gender dysphoria.
  19     or seventeen.                                        19    A Well, you are asking me questions about when they
  20        Do you recall that part of your testimony?        20      present for treatment. You know, you see people
  21   A Yes.                                                 21      over time. So it may be a different answer at the
  22   Q Okay. Of those sixteen or seventeen patients with    22      end of the day did they always leave the practice
  23     gender identity disorder or gender dysphoria, how    23      also with a gender dysphoria diagnosis, you know,
  24     many of them were under eighteen?                    24       that is a slightly different question.
  25   A I would guess twelve or thirteen of them.            25          I believe there was continuation of the

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   1     incoming diagnosis in all ten.                      1        people come in with co-morbidities. So there's
   2   Q When the ten, when those ten who showed up with a   2       treatment for matters other than gender dysphoria,
   3     diagnosis of gender dysphoria at least at the       3        which could include medications or other
   4     beginning you thought all ten of these have, I      4        therapies.
   5     agree with that diagnosis of gender dysphoria. Is 5             Let me qualify, also, that I have a practice
   6      that fair to say then?                             6       of always recommending certain things for patients
   7   A Yes.                                                7       when they show up in my clinic. It includes a
   8   Q At the end of treatment for those ten, were there 8         number of matters that all patients get. So I
   9      any of them where you did not continue the 9               would recommend these things also for a patient
  10      diagnosis of gender dysphoria?                    10       who presents with gender dysphoria. So I don't
  11   A I would say no. That is a difficult question 11             just recommend people for psychotherapy and leave
  12    sometimes because you get people for, you know, at 12         it at that.
  13     the clinics for a certain amount of time. Then 13               Would you like me to tell you about what I
  14     they roll off of your clinic or they leave and you 14        recommend for all of the patients that I interact
  15     often don't know what happens next with them. 15            with?
  16         But I don't remember taking away that          16     Q Well, so I want to ask a clarifying question. Of
  17      diagnosis in any particular patient.              17       the general suite of things that you recommend to
  18   Q We talked about the ten of the thirteen who showed 18        all of your patients, is that fair to say that is
  19      up with a diagnosis of gender dysphoria.          19        part of general wellness? It is not specific to
  20        Of the three additional folks who were minors 20          any diagnosis?
  21    when you began seeing them, did you diagnosis all 21       A I don't think wellness is the correct word. I am
  22     three of those people with gender dysphoria? 22             talking about things that do promote wellness, but
  23   A Yes.                                               23        they also have an impact on mental health.
  24   Q Were you using the DSM-5-TR criteria to make that 24           So, you know, when I am, when I have someone
  25      diagnosis?                                        25       present to me with a mental health condition, the

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   1   A Yes.                                                 1       fact that I want them to get involved with
   2   Q I believe that leaves four adults who you have       2      physical activity, exercise, you know, perhaps
   3     seen or treated who had gender dysphoria.            3      sports. Perhaps, you know, yoga. Perhaps, you
   4        The same set of questions. When they showed       4      know, time in nature. Perhaps taking walks. I
   5      up in your office did all of those four adults      5      mean, all that physical activity and movement
   6      already have a diagnosis of gender dysphoria?       6       stuff has very good evidence base and is
   7   A Yes.                                                 7       important. I emphasize it with all my patients.
   8   Q Did you continue the diagnosis for all four          8       So it is true with a patient with gender
   9     adults?                                              9       dysphoria.
  10   A Yes.                                                10          I would talk about changing how people eat,
  11   Q I'm sort of zooming out to the sixteen or           11       food related issues. Once again, that is pretty
  12     seventeen people who you have seen with gender      12       strong evidence base, great risk and benefit
  13      dysphoria.                                         13       profile. It does treat and help with mental
  14         Did any of them have a gender identity          14       disorders.
  15     disorder diagnosis, or were they all post DSM-5?    15         Then the other component is managing what I
  16   A Post DSM-5, correct.                                16       call honoring silence. That is a general frame
  17   Q Did you recommend or prescribe any treatment for    17      for having some mediative or calming practice that
  18     the gender dysphoria that you diagnosed in these    18       you do all of the time.
  19     individuals?                                        19         And then, also, mindfully managing your
  20   A Yes.                                                20       exposure, especially for children these days, to
  21   Q What treatment did you prescribe?                   21       electronics. When I say honor silence, that
  22   A Well, I recommend when a child presents with        22       includes, you know, turning, coming to some
  23     gender dysphoria that they enter psychotherapy.     23      conclusion as a family about, you know, what is
  24   Q Anything other than psychotherapy?                  24      the relationship that this person is going to have
  25   A No. I mean, if you are talking about treating --    25      with electronics? Where do they go? How much


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   1     time do they spend on the different devices? What  1       A Correct.
   2     other activities, you know, might be better than   2       Q Is that patient included in your sixteen or
   3     the extra time online? Are there any things that   3         seventeen, or is that a separate person?
   4    are good or positive they are doing online? Those 4         A Actually it was not included.
   5     could be increased or the important part of it. 5          Q Who asked you for a second opinion?
   6         But that is advice that I do think is          6       A Well, at the time when I moved to Florida I still
   7      pertinent and I give to all patients. So that     7         had a relationship with the clinic with the
   8     would include, you know, that would include 8                correctional system in Louisiana. If you remember
   9    patients with gender dysphoria. They would get 9               what I said, I moved here. I kept the Louisiana
  10     the advice to, you know, basically eat food to 10             license. I was still doing work in Louisiana.
  11     improve their diet. Move their body, physical 11                  As the most senior clinician within the
  12    activity. Mixed in with mindfulness. Hopefully a 12            company that has all of the contracts for the
  13    mindful practice of moving their body and properly 13         juvenile justice in Louisiana, whenever they have
  14     managing, because today's kids are so heavily 14             challenging cases I was likely to get consulted.
  15     involved in electronics and it's so much of their 15            That was a patient who was moving facilities
  16      social world. So managing those things.          16         and so they asked my opinion. They asked, you
  17         That is not everything that I tell people, 17            know, basically what approach should they have.
  18     but that is a standard, you know, speech that I 18           So that was actually working for the company at
  19     give or discussion that I have with every single 19          that time and they consulted me.
  20     patient. It would be applicable in this case in 20         Q I take it that was because it was a juvenile
  21      addition to my referral for, you know,           21          correctional system that that person was under
  22      psychotherapy.                                   22         eighteen?
  23   Q And is it fair to say that you didn't say to any 23        A That person -- well, I don't want to speak too
  24    of those patients that I think if you do more yoga 24         much about individual patients because, you know,
  25    or are more mindful you will no longer have gender 25         especially when we get into specifics about where

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   1      dysphoria?                                           1      they are and how they move.
   2        It was just part of your general suite of all      2    Q Well, we can designate this portion of your
   3      your patients you see, you think that is a good      3      deposition transcript as confidential.
   4      plan for everyone to do yoga and limit screen        4    A Can we?
   5     time and be --                                        5    Q Yes.
   6   A No. I would not say it like that. I would say         6           MR. SELDIN: Mr. Patterson, I don't know
   7     there is a significant possibility that people can    7      if you are aware of the confidentiality order that
   8     help with their distress about their body through     8      we have in this case. We have been using that to
   9      the practices that I'm recommending and by           9       designate portions in other expert testimony
  10     managing, you know, what is coming into their        10       pertaining to the plaintiffs.
  11      brain through, you know, media.                     11           If it's appropriate here, we can designate
  12         So, yes, I do think particularly in these        12       this portion as confidential so I can inquire into
  13     cases this would be a part of the treatment plan.    13       his expertise.
  14     I think it is something that is important to         14             MR. PATTERSON: Yes. We can designate it
  15     communicate to the patients.                         15       confidential, but I would say to the extent he is
  16   Q Are there any randomized controlled trials,          16       under any obligations not to disclose any
  17     studies, regarding yoga as a treatment for gender    17      information even in a confidential setting he has
  18     dysphoria?                                           18      to abide by those. I'm okay with this being made
  19   A No.                                                  19       confidential.
  20   Q In your declaration you said that you were           20            MR. SELDIN: Great.
  21     consulted about providing a second opinion and       21    Q The particular individual about whom you provided
  22     coordinating care regarding a patient with gender    22      a second opinion, was that person a minor?
  23     dysphoria in the Louisiana Juvenile Correctional     23    A They, since this is not -- I mean, I don't believe
  24      System.                                             24       that in this context that this would be too, that
  25         Do you recall that part of your declaration?     25       I'm revealing too much. I do want to not speak

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   1     too specifically because, obviously, we are, when    1    Q What was your opinion on their competence to
   2      you talk about individual patients, any of this     2      assent?
   3     could be trackable. I do not want to say anything    3    A Well, my opinion was that at the age they were
   4     that would reveal anything about any patient that    4      that it seems unlikely that they would have full
   5      I'm treating. Right?                                5      knowledge or capacity to fully assent, you know,
   6         So I'm trying to keep it as general as           6      or if you want to say consent to the procedure.
   7     possible. Redacted                                   7          It seemed -- the particular wording of the
   8     Redacted                                             8      question was not can they assent or not. It was
   9   Q Redacted                                             9      more do they have the, you know, capacity to fully
  10     Redacted                                            10      understand what they are agreeing to.
  11       Redacted                                          11    Q Do you recall how old that person was?
  12     Redacted                                            12    A I don't, I don't remember for sure. But I do
  13   A Redacted                                            13      think it was twelve or thirteen.
  14     Redacted                                            14    Q And were you asked to provide an opinion on that
  15      Redacted                                           15      child's parents' ability to consent to the
  16     Redacted                                            16      treatment?
  17     Redacted                                            17    A No.
  18     Redacted                                            18    Q Did you have any concerns based on what you heard
  19     Redacted                                            19       in that consultation about the parents' ability to
  20   Q Redacted                                            20      consent?
  21     Redacted                                            21    A No.
  22     Redacted                                            22    Q You also said that you have been consulted
  23     Redacted                                            23      regarding psychotherapeutic approaches to young
  24   A Redacted                                            24       adult patients who detransition.
  25     Redacted                                            25          Do you recall that part of your declaration?

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   1     Redacted                                           1      A Correct.
   2     Redacted                                           2      Q When you say young adult, I take it you mean those
   3   Q Redacted                                           3        people were over eighteen?
   4     Redacted                                           4      A Correct.
   5     Redacted                                           5      Q You also said you collaborate in the care of
   6   A Redacted                                           6         patients with gender dysphoria as part of your
   7    Redacted                                            7        work with the Florida Medicaid psychiatric
   8     Redacted                                           8        hotline.
   9    Redacted                                            9            Do you recall that part?
  10     Redacted                                          10      A Yes.
  11   Q Also, in your declaration you said that you 11            Q And about how many patients have you collaborated
  12     provided an opinion about whether a pediatric 12            in the care with for those hotline calls?
  13     patient was competent to assent to the            13      A That also had gender dysphoria?
  14     administration of puberty blockers.               14      Q Yes.
  15         Doctor, do you recall that part of your       15      A I'm trying to think if it was two or one. Only
  16     declaration?                                      16        one that I remember. So one time.
  17   A Yes.                                              17      Q Did your involvement in that care go beyond that
  18   Q In what capacity were you consulted on that? I 18           phone call?
  19     guess which contract was that a part of?          19      A No.
  20   A It was within the USF, you know, child psychiatry 20      Q How many patients have you consulted about in
  21     realm.                                            21        connection with your work on the Florida Medicaid
  22   Q Okay. When you provided that opinion, was that to 22        psychiatric hotline?
  23     someone you were supervising or a lateral 23              A Good question. Twenty. Thirty.
  24     colleague?                                        24      Q Dr. Kaliebe, have you conducted any research about
  25   A Lateral colleague.                                25        gender dysphoria?

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   1   A  No.                                              1             That is the technical term. I don't know if you
   2   Q  Any research on gender identity generally? 2                   have encountered that in the practice with your
   3   A  No.                                              3            youth?
   4   Q  Any research focusing on the treatment of        4          A Yes, I have used that term.
   5     transgender people?                               5          Q Fair to say you fall more on that side of the
   6   A No.                                               6            continuum?
   7   Q Have you published any papers on those topics? 7             A That is fair to say, yes.
   8   A No.                                               8          Q Have you given any interviews in either
   9   Q Have you supervised any research on those 9                     traditional media or elsewhere on the topic of
  10     topics?                                          10            gender dysphoria?
  11   A No.                                              11          A Given any interviews? Yes.
  12   Q Have you ever had to retract a research paper? 12            Q What interviews have you given on the topic of
  13   A No.                                              13            gender dysphoria?
  14   Q Or issue a correction to a research paper? 14                A Well, I haven't, I was contacted by someone to do
  15   A No.                                              15            an interview. I talked briefly with the person.
  16   Q Have you ever been sued for medical malpractice? 16            I don't have their name in front of me. This was
  17   A No.                                              17            quite recently. So I was contacted by someone to
  18   Q Have you ever been the subject of professional 18               do an interview regarding some of the stuff I
  19     discipline?                                      19            guess that has gone on, you know, in this case or
  20   A No.                                              20            with professional organizations.
  21   Q Have you ever been sanctioned by a licensing 21              Q Do you recall the name of who --
  22     board?                                           22          A I don't. I don't.
  23   A No.                                              23          Q Do you recall what publication they were with?
  24   Q Have you ever had a professional complaint filed 24          A I don't.
  25     against you?                                     25          Q Do you recall --

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   1   A No.                                                 1        A I can tell you it was not a publication or place
   2   Q Have you ever been the subject of a Title Nine 2               that I had heard of. So, hence, maybe that is
   3     complaint?                                          3           part of why I don't remember actually who they
   4   A Not that I know of.                                 4          are. Yeah.
   5   Q Have you ever been arrested or charged with a 5              Q I take it you said no?
   6     crime?                                              6        A We briefly spoke. I said yes.
   7   A No.                                                 7        Q I'm sorry. What did you speak about?
   8   Q Are you on social media?                            8        A Well, they asked about things that are going on
   9   A Yes.                                                9           with the professional organizations that I have
  10   Q What social media do you use?                      10           written about in my report.
  11   A Use would probably be a strong word because I'm on 11              So they asked for details regarding those
  12     social media, but I do not use social media 12                  things and what is going on and I said that I
  13       generally. I have a Facebook account. I believe 13            would talk a little bit about it, but not, you
  14       I have an Instagram account that links to my         14       know, not at length.
  15       Facebook. I never actually go on Instagram. So 15                I said that it is accurate what I wrote in my
  16       it's very rare that I'm on Facebook. That would 16           reports that we have attempted to submit proposals
  17       be the only social media that I'm on.                17       that seem to have been squashed based on
  18           I will, I occasionally have gone on Twitter.     18       ideological grounds. I said that that is, you
  19       I don't make it a practice to go on Twitter. But     19      know, accurate. And basically, you know, I left
  20       I have gone on Twitter. I don't have a presence.     20       it at that.
  21       I don't post. I don't do any of those things.        21         I was, I had mixed emotions, of course, about
  22       Sometimes to access things I'm occasionally linked   22      getting myself involved. I've not previously and
  23     to Twitter. I would not say I really have a            23      I'm trying to not be involved with press related
  24     Twitter account, but I've gone on Twitter.             24      stuff. So I didn't want to talk at length. Yeah.
  25   Q I think the youth call people like us lurkers.         25    Q Was this on background with this person, or do you

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   1     anticipate there will be an article?                1         again, considering the stakes that I'm getting
   2   A I don't know if there will be an article or not.    2         asked, I mean, it's a tough discussion. But, yes,
   3     I asked to, you know, to not be named or, you 3               those are some of the factors that I thought
   4     know, so, yeah.                                     4         about.
   5   Q When you said your reports, were you talking about 5       Q In your answer you said you thought you had a duty
   6     your reports in Decker and Boe?                     6        to your patients in this regard.
   7   A Yes. You know, I guess those are public. I don't 7               Were you referring to the sixteen or
   8     know what is publicly available and what is not. 8           seventeen patients with gender dysphoria that you
   9     I have already made statements in these cases 9              have treated?
  10    regarding my opinion regarding what is going on 10          A Yes. And to all patients, yes.
  11     within the academia and our professional           11      Q And of the sixteen or seventeen patients with
  12     organizations.                                     12         gender dysphoria, you believed as a psychiatrist
  13   Q Fair to say, did you speak specifically about this 13        that they all, in fact, had gender dysphoria,
  14     case in that interview?                            14        correct?
  15   A No.                                                15      A Yes, that they had that diagnosis. Correct.
  16   Q How did that person get in touch with you? 16              Q You said you thought there, that you wanted to
  17   A I got an email.                                    17        participate in more academic dialogue about this
  18   Q Did you keep that email?                           18         topic.
  19   A Yes.                                               19            Do you believe that Senate Enrolled Act 480
  20   Q Why do you try not to get involved with press 20             furthers academic dialogue on this topic?
  21     around this?                                       21      A I think just, like anything else in life, there
  22   A Well, I guess there are a number of things. For 22           are trade offs. So it might. It might not. I
  23     one, it seems like if you are an honest broker of 23         guess we would have to see what the results of it
  24    information and try to work for more cautious care 24         are.
  25     and for people to be careful about transitioning 25        Q You said trade offs. Do you believe that the

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   1      minors, then you get painted as a right wing         1      trade off of banning medical treatment for gender
   2      extremist and hateful and transphobic. I would       2       dysphoria in minors in Indiana is an acceptable
   3      prefer myself and my family not to go through        3      trade off to possibly further academic dialogue on
   4      that.                                                4      this topic?
   5         So I'm trying to, you know, be honest with        5             MR. PATTERSON: Object. This is outside
   6      the courts. I was asked for an opinion so I feel     6      of the scope of his testimony.
   7      like I have to give my honest opinion. I feel        7           You can answer.
   8      like the safeguarding of children is very            8    A Well, I don't think, I think that is only one of
   9      important. I feel like I have a duty to my           9       the implications of the law. So, no, that is not
  10      patients to testify.                                10       the primary implication of the law. It is an
  11         Yet, you know, as I wrote in my report, there    11       implication of it.
  12      are a lot of thought levels and tribalism in our    12    Q I'm sorry. What is not a primary implication of
  13      society. People are using this issue to attack      13      the law?
  14      other people. And I don't want to be involved       14    A The law's effect on the academic or scholarly or
  15      with attacking other people.                        15       public dialogue is a secondary effect and not a
  16         I also would prefer for, I would prefer to       16      primary effect.
  17     remain within respectful academic-type dialogue.     17    Q Do you agree with the primary -- I take it then
  18      That is hard to get to happen in these things, as   18      that you are supportive, however, of the primary
  19      I've written in my report. But I feel like the      19       effect of Senate Enrolled Act 480, which is to
  20     dialogue of ideas would go best through medical      20       prohibit gender-affirming care for minors in the
  21     either journals and professional organizations and   21       state of Indiana?
  22     that is a, you know, the more ideal way to work      22              MR. PATTERSON: Object. The law speaks
  23     these things out rather than going through, you      23       for itself.
  24      know, the media.                                    24            You can answer the question if you
  25        Although, I do think that, you know, once         25       understand it.

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   1   A I will answer in that I was asked to give my       1       Q Redacted
                                                                       Redacted
   2     opinion about matters related to the treatment of  2
   3     gender dysphoria, what is going on in professional 3       A Redacted
   4     organizations, what is going on in the academia.   4       Q Redacted
   5     That is where my realm, you know, is that I'm      5         Redacted
   6     providing expertise.                               6       A Redacted
   7         So the effects of the laws, both good and 7              Redacted
   8     bad, is not something that I've given, that is 8              Redacted
   9     sort of a secondary effect.                        9            Redacted
  10         But, yes, I'm, I do believe that in all it's 10           Redacted
  11     better to stop these gender-affirming treatments 11        Q Redacted
  12    which in total I believe cause more harm than they 12         Redacted
  13     ameliorate.                                       13       A Redacted
  14   Q When you say in total cause more harm than they 14           Redacted
  15    ameliorate, do you mean at the individual level or 15         Redacted
  16     population level?                                 16         Redacted
  17   A Both.                                             17         Redacted
  18   Q Do you believe there are any individual patients 18          Redacted
  19    for whom gender-affirming care as a minor is a net 19       Q Dr. Kaliebe, you are testifying on behalf of the
  20     positive?                                         20         state of Indiana, right?
  21   A I'm not sure.                                     21       A Yes.
  22   Q Of the thirteen patients who you have seen with 22         Q They are defending a law that bans
  23    gender dysphoria, were any of them receiving care 23          gender-affirming care for minors.
  24     that would otherwise be banned by the state of 24               Part of your expertise is predicated in your
  25     Indiana?                                          25         representation to the court that you have treated

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   1   A If we are going to ask me about my patients I         1      some number of patients with gender dysphoria.
   2     would like to go off the record again.                2    A Correct.
   3           MR. PATTERSON: You mean confidential?           3    Q You told me that you believe that at the
   4   A Confidential, yes.                                    4      individual level the provision of the kind of care
   5   Q I think the way we have been doing this is that       5      that is banned by Indiana now for minors is more
   6     when we remember during the deposition we say it      6       harmful than it is beneficial.
   7     and then when we get the transcripts we mark it.      7          So I'm trying to ask so the court, when it
   8   A Okay. So you would like me to answer? As long as      8       sees the transcript, can assess what is it that
   9     its confidential then I will answer. Redacted         9      you have observed as a clinician that makes you
  10   Q Redacted                                             10       think this care is more harmful than it is
  11     Redacted                                             11       beneficial?
                     Redacted
  12     Redacted                                             12          So it would be helpful then to know -- let me
          Redacted
  13   A                                                      13       ask you small questions to see how far we get.
  14   Q Redacted                                             14         Were these long-term risks you were concerned
  15   A Redacted                                             15      about or short-term?
  16     Redacted                                             16    A Once, again, I would prefer not to talk about
  17     Redacted                                             17      individual patients.
  18   Q Redacted                                             18    Q Let's talk generally. What are the general risks
  19     Redacted                                             19      you believe outweigh the benefits for this kind of
  20     Redacted                                             20      treatment?
  21   A Redacted                                             21    A Well, so first off, there are risks related to
  22   Q Of the thirteen, how many of those patients were     22      mental health that are, especially long-term
  23     receiving care that would otherwise be banned by     23      mental health, that seem apparent based on
  24     the state of Indiana?                                24      long-term data. And especially would be apparent
  25   A Well, I mean, one at one time would have been.       25      in someone who has not gone through a proper

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   1      process of actually developing as an individual      1       in order to ensure that there is a proper process.
   2      before they moved on to consider such things.        2    Q I am asking two questions then.
   3         And in such cases, they should have a period      3         The first question is so you believe that
   4      of time where they are able to interact with         4      after some kind of proper evaluation process the
   5      mental health professionals and explore their        5      provision of this care may be appropriate in
   6     identity, explore how they got to the place where     6      adults, correct?
   7     they are, explore what possibly might be other        7    A Correct.
   8      things that could be involved that would lead        8    Q Setting aside what that process is, do you believe
   9     them, you know, to have this gender dysphoria.        9       that there is any age limit that should exist for
  10         So that should all be worked up prior to         10       folks who are even eligible to go through that
  11     initiation of these treatments. And as someone       11      process to then receive this kind of care?
  12     who is a growing, developing adolescent, they        12    A Well, I don't have a formulated opinion on what
  13     should finish their development or very close to     13       would be the pluses and minuses of a particular
  14     finishing it before they make permanent changes in   14       age limit.
  15      their bodies. Those are some of the                 15          But I do think, in general, we understand
  16      psychological.                                      16      that people are growing and developing and, you
  17         The physical risks is risk of surgery,           17      know, in other circumstances people are often, oh,
  18     hormones, cancers. Any kind of medical problems      18       the brain develops until twenty-five or until
  19      that could come.                                    19       twenty-one.
  20   Q Do you believe that there are any patients at the    20         You know, there is an active debate about the
  21     end of this process that you propose, that the       21      age where someone sort of becomes, you know, a
  22     provision of gender-affirming care, the benefits     22      fully developed complete person and, you know,
  23     will outweigh the risks?                             23      when their identity of any type, you know, would
  24   A Yes. Could I qualify since we have not gone on       24       have solidified.
  25      yet? I think you are asking me to opine on an       25          I think you can have -- I don't think we have

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   1     unknown that I would not say that I have a -- I'm   1        had enough quality discussion and debate in the
   2     saying yes based on that I think those who have     2         literature regarding those things to give me a
   3     gone through, you know, a proper process and are    3         sense of what would be a, you know, how to
   4      adults, you know, I think that that is a, that     4         approach that.
   5     it's unknown, it's unknown still overall about the 5       Q In the interim while this debate is continuing or
   6     risks and benefits of these transitions. I think 6           not, do you believe that there should be a ban on
   7     we do need more evidence on it. But that is my 7              this kind of care for folks who are over
   8      qualified answer. Go ahead.                        8         eighteen?
   9   Q Would you support a ban on this kind of care for 9         A A blanket ban for over eighteen? Well, as I was
  10      adults?                                           10        saying, I just think my belief would be with some
  11   A You would have to tell me what you mean by ban. 11           process and with some age bar which might be more
  12   Q Well, you are familiar with Senate Enrolled Act 12           than eighteen could be appropriate.
  13     480, which we are talking about in this case as 13         Q Okay. Well, I guess, earlier when we were talking
  14      pertains to minors.                               14         about how you think that there is not sufficient
  15   A Yes.                                               15         research or there has not been sufficient debate
  16   Q Would you support a law like Senate Enrolled Act 16           with respect to folks under eighteen so you
  17      480 if it applied to adults?                      17         support a ban in the interim.
  18   A You are saying starting at what age?               18            I am asking the same question for over
  19   Q Let's start with for anybody of any age, would you 19        eighteen. Do you think there should be an age ban
  20      support a ban on this kind of care?               20        above eighteen in the interim?
  21   A I mean, I think you can reasonably say there must 21       A I have not given it -- I think that it could be
  22    be some, there could be an age limit. There could 22          reasonable to have an age ban over eighteen,
  23      be a process that people have to go through. 23             correct.
  24          Yes. I mean, it may be in the current         24            I don't know what exactly, I've not given it
  25    climate that you need some legislative safeguards 25           a lot of thought, nor have I seen in the

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   1     literature what would be a proper way to approach  1             So, no. I would not say that I would agree
   2      this. What process would people have to go        2          with that statement in that it does not, it seems
   3     through. I mean, whenever you make an age limit 3             to reflect a it must be treated part. So I can't
   4      like sixteen for driving, or twenty-one for       4          agree with that.
   5     drinking, there are always problems with those 5                   MR. SELDIN: Joel, will you pull up
   6      strict age limits. There are those trade offs. 6             Exhibit 7? We will be at Page 157 of the PDF.
   7     There is a lot of complex calculation that would 7         Q Dr. Kaliebe, earlier I showed you Exhibit 7, which
   8      go into any such trade off.                       8         was your testimony at trial in Decker.
   9          And so I've not really seen any analysis of 9              Do you recall us talking about that?
  10     exactly what would be the best trade off in these 10       A Yes.
  11      situations.                                      11       Q Okay. You will see on this Page 1119 of the
  12             MR. SELDIN: We have been going for a 12              transcript starting at Line 11 you are asked
  13     little bit at this point. How would a five minute 13         questions.
  14      break sound?                                     14            "Q. Dr. Kaliebe, you would agree that gender
  15            (OFF RECORD AT 11:09 A.M.)                 15         dysphoria is a real condition that requires
  16         (AT THIS TIME A SHORT RECESS WAS HELD OFF 16             treatment?
  17    THE RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS 17              A. Correct."
  18      WERE HAD:)                                       18            Do you see that?
  19            (ON RECORD AT 11:15 A.M.)                  19       A Yes, I do.
  20   BY MR. SELDIN:                                      20       Q Was the testimony that you provided at trial in
  21   Q Dr. Kaliebe, welcome back.                        21         Decker that I just read truthful?
  22             MR. SELDIN: Joel, will you pull up        22       A Yes. In that I -- if you remember at the
  23      Exhibit 1 for us?                                23         beginning when you asked about did I make any
  24   Q Dr. Kaliebe, I would like to talk a little about 24          changes, as I looked at it and saw the wording of
  25      your declaration.                                25          this in both my previous, you know, as I was

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   1   A Okay.                                                 1       questioned, this is exactly what I was talking
   2   Q Dr. Kaliebe, in your declaration in Paragraph 25      2       about that now that I see how that was worded,
   3     you say, "Current discussions regarding               3       that I, in some ways, misunderstood about
   4     transgender care take place in the context of an      4      "requires treatment" because you can talk about
   5     unexplained and remarkable rise in minor patients     5       that in different ways.
   6     reporting gender dysphoria."                          6          Is it, do we normally -- would we like to
   7        Do you see where you wrote that?                   7      treatment something? Is it good if something is
   8   A Yes.                                                  8      treated? Sometimes that is what you mean by
   9   Q Would you agree that gender dysphoria is a real       9       requires treatment.
  10     condition that requires treatment?                   10          I just want to clarify there are lots of
  11   A Well, that is one of the things I was talking        11       disorders and problems that do not require
  12     about before in my preamble about things I was       12       treatment that for most people most of the time
  13      asked before.                                       13       they solve their problems without medical or
  14          So is it is a real disorder? Correct. But       14       psychiatric treatment.
  15      the "requires treatment" part is a complicated      15          Now that I have had time to think about it
  16     matter. So I would say, no. Even though before I     16       and looked at it in print, that is what I was
  17      sort of automatically said yes, that sounds         17      mentioning that I think I was, you know, I believe
  18     reasonable. Lots of times in our business there      18       that "requires" is a word that I was misreading.
  19     are problems people have that they mostly work       19          And now I can see that if that is the, if
  20     through on their own and do not get treatment for.   20       that is how you are asking it, "must be treated",
  21         So that is the standard, you know, mental        21       no, I don't, I want to add some nuance to that
  22     health, most of the things that people have that     22       question.
  23     might meet criteria for a disorder or a problem do   23    Q So, Dr. Kaliebe, earlier you were talking about
  24     not usually get solved by therapy or the medical     24       your deposition in Decker, which was like this,
  25      community.                                          25       just lawyers, no court.

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   1          We talked about how you reviewed your            1      accurately with what my opinion is.
   2      transcript for errata. In that case you pointed      2    Q So you believe that your views have evolved since
   3     out misquotes, but not sot of substantive changes     3      May 18 when you provided this testimony?
   4     that you were thinking about after reflecting upon    4            MR. PATTERSON: Objection.
   5      the testimony.                                       5      Mischaracterizes his testimony.
   6         What we just read was testimony that you          6          You can answer.
   7     provided live in court from Decker a few weeks        7    A I don't think, I think, you know, my views have
   8      ago. Are you saying the testimony I just read        8      not changed on it. I just, the word "requires" is
   9      that you provided to the court in Florida is, in     9      an overly strong word that now I'm realizing I had
  10      fact, not true?                                     10      agreed to and now would be, I would add nuance. I
  11   A I'm saying that I would add nuance to it because     11      should have at that time added the nuance to my
  12     the word "requires" can be seen in different ways.   12      answer.
  13      I don't want to be boxed into a corner of saying    13    Q All right. Further down on this page, you know,
  14      something that I didn't.                            14       right after this question I will read you part of
  15        Now that I read it, as I said about the           15       this testimony.
  16     deposition, I am now reflecting an opinion that      16         On Line 14 you were asked the question, "You
  17     the word "requires" can mean different things in     17       provided some testimony just earlier about the
  18     different contexts. So I'm just clarifying.          18       number of people presenting for care. Do you
  19   Q Do you feel like given what you have just told me    19       recall that?"
  20     you will need to correct your testimony in Decker?   20          You said, "Correct."
  21   A I don't know what you mean by correct my             21          Then you were asked, "You previously
  22     testimony.                                           22      testified that the fact that more people have been
  23   Q Well, in Decker you said in court in front of a      23      showing up in clinics could be, could be explained
  24     judge, just like the judge that we have in our       24       by, (a), that the care is more available; and,
  25     case in Indiana, you were asked "You would agree     25       (b), that more people feel comfortable seeking

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   1      that gender dysphoria is a real condition that     1        care; is that correct?"
   2      requires treatment?"                               2           And you said, "Yes."
   3         You said, "Correct."                            3      A Correct.
   4         Then you moved on being questioned. So the      4      Q Do you have any nuance that you want to add to
   5      judge in that case heard you say that it's         5        that testimony?
   6      correct.                                           6      A Well, I would assume if you have specific
   7          Do you think that judge needs to know that, 7           questions, you could ask me. So I think that that
   8     in fact, you want to add nuance to that because 8             speaks for itself.
   9      it's not the answer that you wanted to give? 9            Q So when I asked you correct -- when we were
  10             MR. PATTERSON: Objection.                  10        talking earlier you said you had some nuance to
  11            You can answer.                             11         add to your answer in Line 16 of "Correct."
  12   A I think the judge is plenty intelligent to siphon 12             So I'm asking the same question here, which
  13     out these things himself. He saw the rest of my 13            is, did you understand the question then and
  14    testimony. I'm pretty sure that he was capable of 14           answer truthfully, I guess? Then, is there
  15    coming to conclusions about what I felt and how I 15          anything that you need to change now to make that
  16      approached treatment.                             16        the case?
  17           So I think, I don't think it's necessary for 17      A No. I mean, I think that those are factors which
  18     me to go and, you know, try to have something 18             are involved. So I still would believe -- I
  19     amended. I don't see it as a matter that would 19            believed at the time and I still believe the --
  20      reach that level of importance.                   20        no, that's -- I will stick with that.
  21           But, once again, since I noticed it and I 21         Q In your report or your declaration you talk about
  22    have evolved or became more mindful of exactly how 22         how you had not seen any patients for gender
  23    the words are asked to me to, you know, and could 23          dysphoria between 2005 and 2016.
  24    be perhaps used to twist or change what my opinion 24            Do you recall that?
  25     is, I wanted to make sure here I'm on the record 25        A Yes.

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   1   Q Okay. And you are aware that there was at least       1       were not holding yourself out as having a
   2      one clinic in the United States as early as 2007,    2       particular expertise on that topic, right?
   3     correct?                                              3    A No. Because I work with residents and medical
   4   A Yes.                                                  4      students and primary care doctors on all sorts of
   5   Q Is there a particular reason you didn't include       5       patients. So if we were seeing those patients
   6     that fact in this declaration?                        6      they would have brought them to me because I was
   7   A I don't understand the question.                      7      working with them as a supervisor under many
   8   Q Okay.                                                 8       circumstances.
   9           MR. SELDIN: Joel, will you pull up              9          So, no, it would not have to be that I was an
  10     Exhibit 4?                                           10       expert. I was the expert as the attending
  11   Q Look at Paragraph 102. We were earlier talking       11      clinician or the person who ran the clinic or the
  12     about the report that you provided in Decker.        12       person doing the consultative service.
  13     This was filed with the court on April 7.            13          So I would disagree with that
  14         In Paragraph 102 if you read maybe two-thirds    14       characterization.
  15     of the way down the paragraph you said, "The first   15    Q You would agree then that from 2005 to 2016 just
  16     gender clinic in the United States just opened in    16      because you were not encountering patients with
  17     2007."                                               17      gender dysphoria, that does not mean that no one
  18        Do you see that?                                  18      was encountering patients with gender dysphoria,
  19   A Correct.                                             19      right?
  20   Q So is there a particular reason that you did not     20    A Well, I think I was very clear that it was just
  21     include that fact in your declaration in this        21      nobody in my sphere that I worked in at all and my
  22     matter?                                              22       personal interaction.
  23   A No.                                                  23          So I didn't ever claim that no one anywhere
  24   Q Earlier we talked about how Decker was the first     24      ever saw a patient with gender dysphoria.
  25     case you had been an expert in that involved         25    Q Okay.

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   1     gender dysphoria, correct?                          1             MR. SELDIN: Then, Joel, take to us
   2   A Yes.                                                2         Paragraph 30, please.
   3   Q You said you had not held yourself out as having    3      Q You wrote, "Never before have there been large
   4    any particular expertise in gender dysphoria prior   4        cohorts of individuals seeking medical services to
   5     thereto, correct?                                   5        alter their secondary sex characteristics."
   6   A Well, other than I have obviously testified on, in 6             Do you see that?
   7     many cases being a forensic psychiatrist. I have 7         A Yes.
   8     repeatedly held myself out as an expert in          8      Q What do you base that statement on?
   9     psychiatry and in child psychiatry.                 9      A Well, we are looking right at a graph of the
  10        So my expertise is as a psychiatrist and as a 10          increases. I know that is Sweden. We could make
  11     child psychiatrist.                                11         a similar graph in other places.
  12   Q But you did not specifically hold yourself out as 12            You know, as I mentioned in my report also,
  13     having an expertise in gender dysphoria, is that 13          you know, the base rate of gender dysphoria was
  14     correct?                                           14         seen as very low even by the DSM-5, which I
  15   A Correct.                                           15         believe is a pretty reputable source, two to
  16   Q Okay. So turning back to Exhibit 1, Paragraph 26, 16          fourteen per 100,000.
  17     you will see in Paragraph 26 that you talk about 17              So, you know, clearly there was not large
  18     how from 2005 to 2016, that eleven year period, 18            amounts of patients seeking services until
  19     none of the medical students or residents you 19              recently.
  20     supervised presented you with cases involving 20           Q The question that I have is in that sentence you
  21     gender dysphoria.                                  21        say just seeking medical services to alter
  22        Do you see where you wrote that?                22        secondary sex characteristics.
  23   A Yes.                                               23           You are referring to a chart about gender
  24   Q It would not be surprising if no one came to 24              dysphoria children, adolescents in Sweden. I
  25    specifically ask you about gender dysphoria if you 25         guess what I'm asking is when you make that broad


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   1      statement, are you considering the history of     1      of other disorders or problems that are seemingly
   2      cosmetic surgery and plastic surgery globally     2      acquired online or contributed to online which we
   3      which does often, in fact, alter secondary sex    3       have, it has been shown that there is a
   4      characteristics?                                  4       relationship between online viewing and
   5   A Okay. Yeah. I mean, I think point taken. People 5          suicidality, self-harm, multiple personality
   6     do have voluntary surgeries for those things and 6         disorder, tic disorders.
   7     that has existed for a while. Yes.                 7            So we have a significant literature that does
   8   Q So would it be fair to say that there have been 8          show the influence of online habits and
   9     large cohorts of individuals seeking medical 9            presentations to child psychiatrists for problems.
  10     services to alter their secondary sex             10      That whole idea of culture and disorders and how
  11     characteristics.                                  11       the medical system's theories and naming of
  12        They just may not have had gender dysphoria 12          disorders and treatments influence patient
  13     for that, correct?                                13       presentations has gone back a long time.
  14   A Well, you know, this report is related to gender 14           I referenced the Shorter book which goes back
  15     dysphoria. So I assume, you know, and these 15            to the Victorian era. So we have known for a long
  16     charts are related to children.                   16       time that the way the medical establishment or
  17        So I would assume that it was understood that 17        clinics see problems can bleed out into the
  18     we were talking about children presenting to 18            community and affect it.
  19     change their secondary sex characteristics to the 19          In addition, there are currents in our
  20     other gender, which is accurate.                  20      society that are, you know, reflect viewpoints or
  21        You are correctly pointing out that there are 21        ideologies that often are flowing through the
  22    other circumstances where people have sought out 22         media. And those seem to, you know, have
  23     surgeries to change their sex characteristics. 23          influence on how people see themselves. That
  24   Q In Paragraph 28 you talk about referrals to 24            could be any number of ways. And I don't think
  25     certain gender clinics in England and elsewhere. 25       that gender identity or gender dysphoria would be

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   1       Do you see that?                                 1      immune to any of those influences.
   2   A Yes.                                               2    Q So the multiple lines of evidence you are
   3   Q Would you agree that there is a difference between 3       referring to then is by inference or analogy that
   4     having gender dysphoria and being referred to a 4          you would think that also applies to gender
   5     gender clinic?                                     5       dysphoria?
   6   A Yes.                                               6    A Well, it would be a pretty incredible coincidence
   7   Q Okay. So it's -- the base rate of gender           7      that right at the same time that social media came
   8     dysphoria and referrals to clinics is not apples 8        on the scene and became widely adopted by children
   9     to apples, right?                                  9       and adolescents and that the popularity of
  10   A Well, you know, very likely they are related. 10          influencer and ideology related to transgender and
  11   Q Very likely, but you were not certain?            11      gender dysphoria sort of came on the scene, that
  12   A No.                                               12       that was right at the same time that we had this
  13          MR. SELDIN: Joel, would you take us to 13             large rise in presentations to gender clinics.
  14     Paragraph 33.                                     14          So it seems that there is very likely an
  15   Q In your third line of Paragraph 33 you say, "Yet 15       interaction between the two. Certainly we should
  16     multiple lines of evidence point to direct social 16      be skeptical and cautious when, you know, there is
  17    influences and online and social media contagion 17        such a change so quickly.
  18     as major contributors to the remarkable rise in 18      Q You would agree that is correlation and not
  19     gender dysphoria in adolescents."                 19      causation at this point?
  20         Do you see where you wrote that?              20    A Correct.
  21   A Yes.                                              21    Q When you say influencers, who were you referring
  22   Q What multiple lines of evidence are you referring 22      to.
  23     to here?                                          23    A Well, I don't have specific names of people
  24   A Well, I go on in the report to talk about the 24          online. Although over time we have heard many
  25     increase in presentations to child psychiatrists 25       names. There are TV shows. There are people that


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   1     are online. There's a number of individuals who       1      have gender dysphoria to be more open about it?
   2     are transgender who are well-known personalities.     2    A Yes, it's possible.
   3         There are also subgroups. You know,               3          MR. SELDIN: Joel, please take us to
   4      influencers might be a strong word for this, but     4      Paragraph 52.
   5      there are a lot of people who are active on the      5    Q You wrote, "Yet most child and adolescent
   6      online communities, Reddit, and these type of        6       psychiatrists I speak with admit to me that they
   7      places where adolescents and children can be         7      will not speak publicly on this subject due to how
   8     influenced by what they encounter online.             8       sensitive the topic is, expressing fears of
   9   Q Do you believe that a celebrity who is on social      9      hostilities from activists along with condemnation
  10     media merely existing as openly transgender is a     10      and retributions from others with their
  11     source of social contagion?                          11      universities and organizations."
  12   A Well, they may be or may be not. I don't, I would    12         Do you see that?
  13     not say merely existing. Definitely it would         13    A Yes.
  14     depend on how they present themselves and how they   14    Q Can you tell me which child and adolescent
  15      are talking about themselves.                       15      psychiatrists have said this to you?
  16         It could be -- no, not by merely existing.       16    A Are you asking me to out the people who said they
  17   Q When you say it would depend on what they said and   17      do not want to speak publicly?
  18     how they are presenting, what do you mean?           18    Q You represented to the court here that most of the
  19   A Well, I think that we would have to be cautious      19      people you talk with have said this to you. I
  20     about the presentation of individuals who may have   20      would like to know who said this to you.
  21      a large influence over children and adolescents     21            MR. PATTERSON: I object. There could be
  22      who may take celebratory views regarding            22      First Amendment issues here.
  23      transition.                                         23           At a minimum, we should go confidential on
  24        That may have a large influence on minors.        24       this part of the transcript.
  25      And so I think that there's a potential for those   25             MR. SELDIN: I think it is presumptively

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   1     who are celebratory to have an influence in a way     1      confidential for two days so we can work it out.
   2     that, you know, can especially for minors who         2    Q Dr. Kaliebe, who said this to you?
   3     already have mental health problems or are very       3    A So this is confidential? Is that what you are
   4     easily influenced, could lead them to believe or      4      saying?
   5     develop a belief that transition is a solution to     5    Q Yes. We can designate this portion as
   6     the problems that they have, or that their gender     6      confidential.
   7     dysphoria, the solution to that would help them,      7           MR. PATTERSON: You will not object to
   8     could contribute to the development of gender         8      maintaining confidentiality of this portion,
   9      dysphoria or contribute to the belief that a         9      correct?
  10     transition would be, you know, a good source for     10           MR. SELDIN: No, I won't.
  11     them.                                                11    Q Redacted
  12   Q Do you believe that to be the case even if there     12    A Redacted
  13      is no mention by that particular celebrity about    13      Redacted
  14      any other co-morbid conditions?                     14      Redacted
  15         You said celebratory. If someone really          15      Redacted
  16      celebrates the fact that they have medically        16         Redacted
  17      transitioned, do you believe that that is           17      Redacted
  18     sufficient to cause social contagion in youth such   18      Redacted
  19     that they will then believe that they also have      19      Redacted
  20     gender dysphoria?                                    20      Redacted
  21   A Well, I don't know that is sufficient. It could      21      Redacted
  22     be a contributor.                                    22       Redacted
  23   Q Is it possible that a celebrity who is celebratory   23       Redacted
  24     about their medical transition really creates a      24          Redacted                                     ,
  25     more welcoming environment for people who already    25      Redacted


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   1      Redacted                                              1    Q So it's, are they affiliated with a medical
   2         Redacted                                           2       institution or association, or is this like a CME
   3     Redacted                                               3      company?
   4     Redacted                                               4    A It's like a board review CME company.
   5     Redacted                                               5    Q Right. Was the topic of the conference you
   6   Q Let's start with the folks you just named. You         6      presented at specific to gender dysphoria?
   7     first named, I think, you counted five or six          7    A No. The topic of the conference was specific to
   8     people.                                                8      child psychiatry. I presented three topics.
   9         Is that most of the psychiatrists that you         9       Gender dysphoria was one of the three topics.
  10     have talked to? I'm trying to understand how you      10    Q What were the other two?
  11     are coming to this conclusion of "most"?              11    A Traumatic brain injury and social media.
  12   A I talk to many more. I talk to many, many more        12    Q Had you presented any version of this presentation
  13     psychiatrists. When I go to the child psychiatry      13      on gender dysphoria before?
  14     meetings I'm trying to talk to people about these     14    A No.
  15      issues so that we can come up with more.             15    Q Have you presented it again since May 2 or 3?
  16         I just have not prepared a list to provide to     16    A No.
  17     out people who do not want to be outed during my      17    Q Have you presented other CMEs on gender dysphoria
  18     deposition due to their fears of recrimination and    18      prior to May 2 or May 3?
  19      hostility.                                           19    A No.
  20         That was not something I thought I would be       20    Q Okay.
  21      asked to reveal. If you want me to make a list       21    A The date might be a little off. I'm not sure. It
  22      and give it to you later, you know, but like I       22      was May. It was early May.
  23      said, as I am representing in my report, that it's   23    Q Okay. How many people attended your session on
  24      many people.                                         24      gender dysphoria?
  25   Q You were talking just a minute ago about a talk       25    A There were probably sixty to eighty in the room.

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   1     you gave in Puerto Rico. When was that?                1    Q Okay. And about how many people attended the
   2   A May 2 or May 3 I would guess.                          2      conference?
   3   Q What was the conference you were presenting at?        3    A I would assume somewhere around that same number.
   4   A It was the Oasis Child Psychiatry Conference.          4      It's also online.
   5   Q What is the Oasis Child Psychiatry Conference?         5    Q The entire conference you think was under one
   6   A A continuing medical education conference that is      6      hundred practitioners?
   7     presented in different places. Basically people        7    A Yeah. On site I would guess so. Yeah. I'm
   8     pay a fee and they travel to wherever it is. This      8      not -- it's a guess.
   9      one was in Puerto Rico.                               9    Q Did you reach out to Oasis about this presentation
  10         People like me who are experts provide talks      10      or did they reach out to you?
  11      on different things. I gave three talks at the       11    A I have spoken for them before. This was the third
  12      Child Psychiatry Conference.                         12      time that I have spoken for them. I spoke some at
  13         You didn't ask me about presenting CMEs. I        13       the adult psychiatry one contiguous with it.
  14     did present this CME talk on child, on gender         14          I have done it twice before for them for
  15     dysphoria. So if you want to add that to my           15       child. They have an adult and then a child
  16     expertise, you can. But this was at the Oasis         16       conference. I spoke a little at the adult and
  17     Child Psychiatry Conference.                          17       then also the child conference this time. They
  18   Q Who organizes that conference?                        18     request me as a speaker. They reached out to me.
  19   A It's a larger, it's under the umbrella of a large     19    Q Did you discuss your involvement as an expert
  20     organization that does many different, they have a    20      during your presentation?
  21      psychiatry conference. They have a child             21    A No.
  22      psychiatry conference.                               22    Q I would assume when you say most of the
  23         They have many other things. I don't              23       psychiatrists that you speak with, and this may
  24      remember the name of the company. I don't            24       seem like a silly question, but you don't speak
  25      remember the company of that organization.           25       with most psychiatrists in the U.S. I take it,

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   1     right?                                             1       they show straight teenagers dating, do you think
   2   A Correct.                                           2        that that has an influence on how American
   3   Q You have stated you believe that it is             3        teenagers date or their expectations of dating as
   4     controversial to take the position that you take 4         straight teenagers?
   5     regarding gender dysphoria, correct?               5     A It could, yes.
   6   A Not controversial among psychiatrists or           6     Q All right. For teenagers who are not straight,
   7     physicians, yet controversial in the public        7       who have a different sexual identity, do you think
   8     sphere. Yes.                                       8        that media influences their expression more or
   9   Q So would it surprise you then that once you 9              less than heterosexual teenagers?
  10    express some receptiveness to this view of gender 10      A I would not have an opinion more or less. I'm not
  11     dysphoria, would it surprise you then that what 11         sure.
  12    appears to be an unusually large number of folks 12       Q Okay. And then do you think everyone has a gender
  13     would come to you expressing the same one? 13              identity?
  14   A Well, mostly these are regular private            14     A I think that is an open scientific question. I'm
  15     conversations from people that I know. It's not 15         not, I would not say that that is a settled
  16    like I was approached by the names that I gave you 16       question. That has been an assumption that most
  17    or the people that I'm speaking about when I say 17          people are going on.
  18     that child psychiatrists are afraid to talk about 18           That seems to be a common assumption. I'm
  19     this, but feel supportive of my approach.         19        not sure that it is a settled scientific question.
  20   Q Dr. Weiss, let's go to Paragraph 53 of your 20           Q Do you think that most people have an internal
  21     declaration. We will scroll down a little bit. 21          sense of whether they are male or female or
  22            MR. PATTERSON: Did you say Dr. Weiss? 22            something else?
  23   Q Sorry. My mind is still in last week.             23     A I think we are getting into nuance about internal,
  24         Dr. Kaliebe, you will see in this paragraph 24         what you mean by internal sense. Most people can
  25     you talk about social media as an influence 25             identify themselves as either male or female. So

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   1      regarding teenagers.                               1       I would say that is correct because that does
   2         Do you think that heterosexuality is a sexual   2       exist in their brain. Yes.
   3      identity?                                          3    Q When you say sense of themselves you mean as male
   4   A Could you repeat the question?                      4      or female? We will start there.
   5   Q Is heterosexuality a sexual identity?               5    A Correct.
   6   A Yes.                                                6    Q Okay. Do you think that -- okay. In Paragraph 54
   7   Q Do you believe that social media has an influence 7        of your declaration you talk about the -- I'm
   8     in how teenagers who are heterosexual express 8            sorry. I lost my place here.
   9      their identity?                                    9          Yes. In Paragraph 53 you talk about
  10   A Identity, no.                                      10      Dr. Weigle's publication in the Psychiatric
  11   Q You believe that teenagers who use social media 11         Times.
  12     who are heterosexual or straight, the way they 12              Do you see that about three lines up from the
  13     express being straight is not influenced by social 13      end of Paragraph 53?
  14      media?                                            14    A Yes.
  15   A It could be. It could be.                          15    Q Is the Psychiatric Times a peer reviewed journal?
  16   Q Are you familiar with the movie genre of the teen 16     A No.
  17      rom com?                                          17    Q Dr. Kaliebe, in Paragraph 54 you say -- in
  18   A Is that romantic comedy?                           18      Paragraph 55 you say in my opinion --
  19   Q Right. You are generally familiar with the fact 19               MR. SELDIN: Joel, can you scroll down to
  20    that a decent amount of media television or movies 20       Paragraph 55, please.
  21    revolve around teenagers in high school who date. 21      Q You say, "In my opinion, technological,
  22         Is that a fair description of a certain part 22         ideological, and social factors underlie much of
  23      of American media?                                23       the recent increase in gender dysphoria in
  24   A Yes.                                               24       adolescents."
  25   Q Do you think that those movies and TV shows when 25            Do you see that?

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   1   A Yes.                                                  1      populations that tend to otherwise be isolated
   2   Q We will take a look at your report in Decker.         2      would find each other online?
   3         MR. SELDIN: Joel, will you pull that up?          3    A Yes.
   4     That is Exhibit 4, Paragraph 44. You say there,       4             MR. SELDIN: Joel, will you take us to
   5     "It is plausible and probable that ideological and    5      Paragraph 57, please.
   6     social factors underlie the increase in gender        6            I'm sorry. Can you take us back to
   7     dysphoria."                                           7      Exhibit 1 and then go to that Paragraph 57. I
   8          Do you see that?                                 8      apologize.
   9   A Yes.                                                  9    Q Dr. Kaliebe, in Paragraph 57 you provide what you
  10   Q My question is in this earlier report in Decker      10      call, "A prescription for open exchange and
  11     you said it's plausible and probable that            11      deliberate consideration regarding gender
  12     ideological and social factors underlie the          12      dysphoria treatments..."
  13     increase.                                            13          Do you see that?
  14        Then in your declaration here you say, "In my     14    A Yes.
  15      opinion technological, ideological, and social      15    Q Where does that prescription come from?
  16      factors underlie much of the recent increase in     16    A Well, I don't know exactly where it comes from. I
  17      gender dysphoria in adolescents."                   17      feel like it's an amalgam of thoughts that come
  18         My question is, is this two ways of saying       18      from John Haidt, who I cited just below. He is a
  19     the same thing? Or are you holding this opinion      19      public intellectual who has commented about group
  20     to a different degree of certainty from April to     20      think, the squashing of opinions within academia.
  21     now?                                                 21       He is a social scientist. That is in part from
  22   A I guess it was just the -- it seems to me that I'm   22       him.
  23     pretty much saying the same thing on both            23          It is in part from Jonathan Rauch, who
  24     occasions. I'm just perhaps fine tuning it. I        24      wrought a book called The Constitution of Ideas,
  25     don't know that it really adds more or less          25      which is a quite thoughtful recent book that lays

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   1     certainty, the change.                              1         out, I think, even a list of something similar.
   2   Q All right. In the Decker report you said it is      2         This could come from Jonathan Rauch.
   3    plausible and probable that ideological and social   3        Steven Pinker has written extensively on this same
   4    factors underlie the increase in gender dysphoria. 4           topic and the importance of rationality and the
   5         Is it fair to say then that you are not sure, 5           importance of a dialogue of ideas.
   6     but this could be true?                             6           You could take this as far back as
   7   A Well, I'm saying it is probable. So, yeah, I 7               John Stuart Mill, who was originally one of the
   8     mean, I think in either case, you know, if it's my 8         originals who sort of brought forth a lot of our
   9     opinion, I think the -- I mentioned it is           9        ideas that underpin what some people call liberal
  10     plausible because of it's so, you have had such 10            science or scientific exchange today.
  11    panic in the academic community when there has 11                 So this list is a time tested list and it's
  12     been talk of social contagion that it's, you know, 12        reflecting of much of the underpinning of how we
  13     it has been really remarkable how people have 13              have achieved, you know, science and moved
  14     fought against the idea that there possibly are 14            knowledge forward.
  15     social or online influences driving these things 15              As Jonathan Rauch talked about in his book,
  16     or having a large influence.                       16        there is no one person who has a monopoly on the
  17         That is why I put in the word plausible there 17         truth. We get to the truth by exchange, which is
  18     because there are academics who are saying that 18           conflict, and we need that in order to understand
  19     it's not plausible. But I think it is an           19         both our opinions better and the opinions of
  20     extraneous word, so I did not use it in the next 20           others. And each of us, hopefully, with this
  21     report.                                            21         conflict will help us all get closer to the
  22   Q As a general matter, would you expect teens who 22            truth.
  23    had something in common to find each other online? 23            So I know that was a long answer for where
  24   A Yeah, they could. Yes.                             24        that list comes from. I'm pretty sure if I looked
  25   Q And would you generally expect that small 25                  in those sources I could find a list that is

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   1      similar. I don't know exactly where it comes      1      numerous topics within academia."
   2      from.                                             2         Do you see that?
   3   Q Have you evaluated any other areas of medicine 3        A Yes.
   4    that you believe have a credible evidence base to 4      Q What are the other numerous topics you are
   5     assess whether this prescription was followed? 5          referring to here?
   6   A Well, I believe in a lot of medicine these things 6     A I think in general many of our academic
   7    are broadly followed. So, yes, I believe in many 7         institutions and professional organizations
   8    places we have a rigorous scientific exchange on 8         included have gotten behind ideas of social
   9      multiple matters within medicine. Yes.            9      justice.
  10   Q I guess, have you personally examined any 10                 I think social justice ideas at some point,
  11     particular treatment in the field of medicine to 11       you know, may or may not reflect the truth. So if
  12     say I wonder if they follow this prescription and 12       your goal is social justice, it can bump up
  13      have done this analysis?                         13       against rigorous science.
  14   A Yes. I think that the best example -- there are 14               So I would say that in general that would be
  15    many examples, but I think the scholarly exchange 15       the one good example.
  16     regarding antidepressant medications is really a 16     Q Which social justice topics do you think are
  17    prime example of how we have a robust exchange of 17       bumping up against empirical science?
  18      ideas.                                           18    A Well, it could be any number of them. I think
  19   Q At the end of that robust exchange of ideas that 19       this is a case in point. So I think this is part
  20     you believe took place with antidepressants, did 20       of why it's in my report.
  21      any state ban the use of antidepressants in 21               Rather than being seen as a dialogue related
  22      minors?                                          22       to what is the science and ensuring a rigorous
  23   A No.                                               23       scientific dialogue, it has been treated as if
  24   Q Okay. Do you think they should have?              24       it's a social justice issue rather than an issue
  25   A No.                                               25       of what is good medical practice.

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   1   Q Is that an area with what we know now about        1             But I think, you know, the issues related to
   2     antidepressants where you think individual         2      hot button topics, race would be one.
   3     clinicians have sufficient guidance to make        3    Q In what way?
   4     decisions about their particular patients?         4    A Well, I think that when -- I think that after
   5   A I think that we still are affected by some         5      George Floyd's murder and other events that there
   6     distortions of that scholarly dialogue in the      6      has been, but that in particular, there was a call
   7     past.                                              7      for a special influence on matters of race. Which
   8         It's in my report regarding undue influence 8          is a great thing for people to be more attune to
   9    of pharmaceutical companies which have swayed       9       and to have scholarly dialogue.
  10      people in a different direction. Thankfully, 10             But they asked for a certain viewpoint. I
  11     there was enough rigor and enough people took 11          think a good example is Ibram Kendi's, you know,
  12      interest, although, it took outside pressure 12           antiracism sort of viewpoint on it to be put
  13    because it was the lawsuit asking for a release of 13      forward as the way that we are supposed to handle
  14      full information that helped lead to that.       14       it.
  15         But, yes, at this point those who are looking 15         So a lot of our journals, in fact, the Child
  16     can find a rigorous dialogue of ideas and make 16          Psychiatry Journal, they declared itself an
  17      decisions for themselves.                        17      antiracist journal, which is joining an ideology
  18   Q Do you think that that evolution would have 18            on how to approach race, rather than calling for
  19    benefited from a ban on the use of antidepressants 19      more open and rigorous dialogue about race, which
  20      in any population while it took place?           20      would have been the more appropriate viewpoint for
  21   A No.                                               21      a medical journal.
  22   Q In Paragraph 58 you say, referring to this        22    Q I think you just described antiracism as a
  23    prescription, "This framework would depersonalize 23       particular ideology about race.
  24      the search for truth and esteemed empirical 24                  What are the other ideologies about race that
  25     dialogue, which has been in short supply on 25             you believe exist?

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   1   A Well, like I said, I don't have a countervailing      1       of an editor or a journal would be.
   2     ideology of it. Like I said, the journal in our,      2          They can call for more viewpoints and
   3     in child psychiatry declared itself to be an          3      discussions which would be great, but not to call
   4     antiracist journal, which is an affiliation with      4       out or prefer a certain viewpoint.
   5     that ideology.                                        5    Q Do you think there are any viewpoints about race
   6         I'm actually against affiliations with            6      that journals should not seek to include?
   7     ideology. I don't know that there is a                7    A Well, I think that there, I think that certainly
   8     counter-ideology. We prefer it to just be a           8      you are not going to, you know, considering where
   9     rigorous scientific dialogue about important          9       the dialogue is and who would be writing to
  10      issues. That is what we would be aiming for if      10       psychiatry journals, you are only going to have
  11      you follow the prescription that I've laid out      11      thoughtful academics writing in and trying to talk
  12      here.                                               12       about a nuance.
  13   Q Are there any particular principles in antiracism    13          So not within the, not that I, not that a
  14      as an ideology that you think are antithetical to   14       psychiatrist would write into a journal. I find
  15      the search for the truth or scholarly dialogue      15      it would be highly unusual that there would be any
  16      that you think that journal should have             16      idea written in or someone who would submit for an
  17      undertaken?                                         17       article that would be outside of the bounds of
  18   A Well, I didn't, you know, I'm not prepared to go     18       what would be acceptable dialogue.
  19     into a, you know, in depth into that. I would say    19          I would say maybe, you know, in theory there
  20     there's a, there are some broad narratives about     20      could be. In practice, there is not.
  21     the world included in that, which is that certain    21    Q Do you believe that there is, as a normative
  22      groups are oppressors and other groups are          22       matter, a view on race that a psychiatrist could
  23      oppressed.                                          23       seek to present to a journal that without
  24         That would be a primary narrative that is,       24       hampering the search for truth the journal could
  25      can be accurate. But yet we would have to be        25       say that is actually outside of the bounds of

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   1     nuanced about how we approached those things and    1        discussion?
   2      that we should be very careful to make             2      A Well, if they were overgeneralizing, which is
   3      generalizations especially in the realm of         3        exactly what I'm talking about. Yes, so. I'm
   4      science.                                           4        against people overgeneralizing.
   5         The more broad your generalization, the more    5            So a journal editor should knock down any
   6      likely that you are over inclusive and             6         article that overgeneralizes.
   7      overgeneralizing. And so that would be the 7              Q Dr. Kaliebe, in the middle of Paragraph 62 in your
   8     oppressor versus oppressed narrative, that would 8           declaration you say, "Supporters of
   9      be a good example.                                 9         gender-affirming treatment want to believe they
  10         Another example of that would be the whole 10            have found an ethical and evidence based
  11     idea of race being codified into a more important 11         solution."
  12      marker of people's identity. Whereas, it's not 12              Do you see where you wrote that?
  13      actually a very scientific idea. It is a really 13        A Yes.
  14      complex idea.                                     14      Q What do you think is unethical about
  15         People come from different backgrounds and 15            gender-affirming treatment?
  16     origins. You know, where do you draw the line? 16          A Well, gender-affirming treatment as an actual
  17     How do we sort of determine this? And what do you 17          clinical treatment can do harm. So I think it is
  18     do about mixed race couples? What do you do about 18         unethical to do harm.
  19     people who look like they are one race, but they 19        Q What harm do you think it does?
  20      are the other? I mean, it's very complex.         20      A Well, when you are asked to evaluate a child or an
  21          So the broader narratives embraced are 21               adolescent, they need to be seen in the context of
  22     problematic when you come to, when you come to 22             a total individual and their total environment.
  23      science. Then, also, it's a call for, I mean, 23              You would have a biopsychosocial formulation.
  24     when editors call for a certain viewpoint, once 24           They are in the process of identity development.
  25      again, I just think that that is not what any job 25         So to see someone through just the lens of

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   1      affirming can be harmful and can turn the            1      experiencing gender dysphoria, is that fair?
   2     discussion just towards gender identity or gender     2    A Well, you could get to it after providing
   3     dysphoria rather than away from the traditional       3       appropriate care, you know. Would there be a
   4      way that you would approach a patient.               4      place down the road where you could decide that,
   5        So it's trying to, it is, I believe it's poor      5      you know, and I'm not quite sure what exactly you
   6     medical care to move to affirming automatically       6      are meaning by affirmative care, but I assume you
   7     patients who present with gender identity issues      7       mean for, like, going along with the patient's
   8     or gender dysphoria.                                  8      conceptualization of what is going on, which would
   9   Q So is the harm from the diagnosis of gender           9       not be what we usually do in mental health.
  10     dysphoria, or from the possibility that the          10         We usually remain neutral about what is going
  11     evaluation process does not discover other           11       on rather than joining a patient's
  12     co-morbid conditions?                                12       conceptualization.
  13   A There is not a problem with the diagnosis of the     13          If at the end of the day, you know, would
  14     gender dysphoria. But there is a problem with an     14       that mean is it okay for a clinician to use the
  15     overemphasis on one component of people's identity   15      pronouns that are requested by a patient, then I'm
  16      and a turning away from the typical therapeutic     16       saying, yes. You know, that is perfectly
  17     approach which we have always used which does not    17      reasonable and under certain circumstances, you
  18      jump towards affirmation, but lets a person         18       know, yes.
  19     develop in their own way and would be broadly        19          But is it appropriate to ever completely go
  20     based and notice what is the context, what other     20       along with the patients' narratives or views of
  21     disorders, what else is going on, what traumas       21       the world so that is, you know, a clinical
  22     have occurred, you know. What other family issues    22       decision that maybe you could get to.
  23      are going on?                                       23            MR. SELDIN: We have been going for
  24         So, yes, I feel like that when this is           24      another hour. I think most of the folks here are
  25     proposed as a way to approach these patients, that   25       on East Coast time.

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   1     it distorts care away from what would be a proper     1           Do we want to take a short break now and
   2      and traditional psychiatric approach.                2      then go for an hour and then do lunch? How are
   3   Q Do you think that the care can be ethical if all      3      folks feeling?
   4     of the traditional psychiatric or                     4          Dr. Kaliebe, will you be okay with a five
   5     psychotherapeutic approaches that you are             5      minute break and then another hour?
   6     referencing had already happened or are happening     6    A I will do whatever the group wants.
   7      concurrently?                                        7           MR. SELDIN: Let's do that. We will come
   8        Could then treatment that is gender-affirming      8      back at 12:27 Eastern.
   9     be ethical?                                           9          (OFF RECORD AT 12:21 P.M.)
  10   A Well, if you are -- yes, it could be. It could be    10         (AT THIS TIME A SHORT RECESS WAS HELD OFF
  11     if they have had a proper workup and have, you       11     THE RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS
  12     know, that that is the approach that the clinician   12      WERE HAD:)
  13     has decided after working with the patient for a     13          (ON RECORD AT 12:27 P.M.)
  14      long period of time.                                14    BY MR. SELDIN:
  15         But I'm talking about a psychotherapy            15    Q Dr. Kaliebe, welcome back after that short break.
  16     approach. I assume that is what you are talking      16          In Paragraph 65 you describe a dynamic, "In
  17     about, too. When you say gender-affirming care       17       fact, sophisticated language skills enable
  18      that can include medicalized care.                  18       virtuosity in creating and promoting false
  19         I want to be clear. I'm not talking about        19       narratives."
  20      medicalized care. I think we are talking about      20          Then you go on to say, "These dynamics have
  21     therapy and therapeutic approaches.                  21      arisen before in medicine, and it is my assessment
  22   Q I think we will talk about both. For                 22       this has occurred again with regards to medical
  23      psychotherapeutic approaches you believe it is      23       interventions to treat gender dysphoria in
  24      possible to provide gender-affirming                24       minors."
  25     psychotherapeutic approaches to minors who are       25          Do you see that?

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   1   A Yes.                                                 1      heterosexuality a disorder in the DSM would rise
   2   Q What is your methodology for assessing that that     2      from moralized environments where people took what
   3     has happened here?                                   3      should be a scientific or medical issue and turned
   4   A Well, I think if you look at a lot of the journal    4       it into a disorder based on social or cultural
   5     articles, the press releases from national           5       elements.
   6     organizations, the sort of what I would call         6    Q So with your homosexuality example, do you think
   7     cheerleading for affirmative care, that it seems     7      the moralizing environment led to its inclusion in
   8     to be that it's like a, more of a tribal dynamic     8      the DSM or its removal from the DSM?
   9     than an actual usual discussion, a very complex      9    A Inclusion in the DSM.
  10     nuanced evidence based and a new treatment          10    Q Do you agree with its removal from the DSM?
  11      population.                                        11    A Yes.
  12        Within that environment clearly there is some    12    Q Okay. In Paragraph 66 you talk about emotional
  13      who are, I believe, very caught up in a group      13      reasoning. In the last sentence you say that it
  14      think regarding these issues. So I can give you    14      "helps explain opinion cascades, partisanship, and
  15      more details. But basically, the things that I     15      group think."
  16      put in my report sort of speak for themselves.     16         Do you see that?
  17          The way the professional organizations are     17    A Yes.
  18     framing their arguments, the way the people write   18    Q Those are terms that come from sociology, is that
  19      the guidelines all speak to a moralized type of    19      correct?
  20     environment rather than the usual dialogue          20    A I mean, there's a, they -- I'm not sure exactly.
  21     regarding medical evidence.                         21       They jump from field to field. So you can get
  22   Q Is your primary concern the consensus or the        22       those terms in a number of different fields.
  23     enthusiasm?                                         23          Behavioral economics is a field that uses
  24   A Well, the false consensus is definitely a problem   24      those terms. You know, we do talk about them some
  25     because they are, without really undergoing the     25       in medicine, too. Yes, I believe sociology and

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   1      standard academic debate, they are sort of         1       behavioral economics would be the, would be where
   2      pretending like there is a consensus and this is   2       I found them.
   3      all settled science.                               3     Q Is it fair to say these are not conditions that
   4          Then the level of enthusiasm is also very 4            you diagnose as a psychiatrist?
   5    problematic because the level of enthusiasm should 5       A Behavioral economics was sort of founded by a
   6      be proportional to your confidence in your         6       psychologist. The only psychologist who won the
   7      argument and the safety of your argument.          7       Noble Prize, Daniel Kahneman, so it's within the
   8          So when people are coming out very             8       realm of people who are experts in how the mind
   9     enthusiastic for something that, you know, is not 9          works and how we make decisions.
  10      settled and unclear clinically, that then,        10          Is it directly psychiatric? I think it's
  11      those -- so I would believe those are both        11        important for you to size up the person in front
  12      problems.                                         12       of you and where they get their information and if
  13   Q Then you say that these dynamics have arisen 13             they have cognitive distortions related to groups,
  14      before in medicine.                               14       you know, and the information that comes to them
  15          When have they arisen before?                 15        in groups they affiliate with.
  16   A Well, when for a time lobotomies were popular and 16            I think modern psychiatrists should
  17     were sort of celebrated as curing a very difficult 17        understand and know these things.
  18      patient population with serious problems.         18     Q Do you think you have expertise beyond that of a
  19        The person, you know, won the Nobel Prize for 19         well-trained psychiatrist to assess whether
  20     lobotomy. In retrospect it sounds horrible, but 20          opinion cascades, partisanship, and group think
  21      that is an example.                               21       are occurring?
  22         I think your, I mean, I think whenever you 22         A Well, I think I was mentioning that I would hope
  23    have intermixing of moralized environments -- on 23          that all psychiatrists should understand these
  24      the flip side you could also say, like,           24       phenomenon and be able to see when they may apply.
  25      pronunciations against, you know, making 25              Q Do you, yourself, believe above that level that

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   1     any psychiatrist should have, do you believe you        1      dysphoria like the treatment of pain is a complex
   2      have particular expertise in identifying when          2      area?
   3      these things are happening?                            3    A Yes.
   4   A Well, I put in a lot of work. As I mentioned in         4    Q Okay. And in response to the opioid epidemic, the
   5     my report, I did present on misinformation at the       5      states have implemented greater controls, is that
   6     child psychiatry conference. If you look at some        6      fair to say?
   7     of my articles, like my article on child obesity,       7    A Yes.
   8      I bring in a lot of the ideas related to               8    Q But they have not banned them entirely?
   9     behavioral economics and how to approach the world      9    A Correct.
  10      and how we, how human beings tend to fool             10    Q Dr. Kaliebe, before the break we sort of talked
  11      themselves.                                           11      about, we touched on this and I want to dig a
  12         Yes, I probably put in more work than other        12      little deeper.
  13     psychiatrists on these matters.                        13          So you say in Paragraph 83, you talk about
  14   Q Okay.                                                  14      "affirmative treatment." You put that in quotes.
  15   A I will say I read a lot. So, you know, I probably      15        What is affirmative treatment?
  16     read a lot more than almost any psychiatrist that      16    A Well, I believe it has two major components. I
  17      you will talk to.                                     17      mean, one would be the idea that when someone
  18          So, yes. I do pull from lots of different         18      presents with -- well, specifically we are talking
  19      things, but I think that what I'm pulling from        19       children and adolescents here.
  20      here is important and most psychiatrists              20          If a child presents and declares a gender
  21      understand these dynamics.                            21      identity that the clinician should agree with that
  22   Q Doctor, look at Paragraph 79. Dr. Kaliebe, in          22       identity. That is one component.
  23      this paragraph you are talking about the opioid       23          And then the other part of affirmative
  24      epidemic.                                             24      treatment is medicalized treatment such as puberty
  25         On the bottom of Page 27 there is a sentence       25       blockers, hormones, and surgeries.

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   1     that starts, "While a small number of patients may      1    Q Where do you get that definition from?
   2      have achieved better pain control as a result, it      2    A Of affirmative treatment?
   3      came at the cost of creating legions of addicts."      3    Q Yes.
   4       Do you see where you wrote that?                      4    A I mean, I have seen much more complex descriptions
   5   A Yes.                                                    5       of affirmative treatment. I think that is what it
   6   Q And so is it fair to say that you have identified       6      boils down to.
   7     opioid prescription as an area in which providers       7    Q You say in Paragraph 83 there is a push for
   8     were practicing either outside of the guidelines        8      affirmative treatment.
   9     or recklessly?                                          9          How do you think the groups that you list in
  10   A Well, what I was saying was, in fact, the              10       this paragraph are pushing the treatment?
  11     guidelines were pushing them towards, they were        11    A Well, if you look at the guidelines from WPATH, I
  12      exerting pressures on them to prescribe               12      think those are clear. The Endocrine Society and
  13      inappropriately.                                      13      the American Academy of Pediatrics came out with
  14         So, no, you know, this was my whole point.         14       guidelines that specifically advocate for them.
  15     You get, you get ideas that come from, you know, a     15          American Psychiatric Association has, I
  16     small group, yet then can get taken up and become      16       believe, they didn't come out with treatment
  17     popular. Especially when you have the idea of you      17      guidelines, but they have come out in support of
  18     are being more compassionate so this is the right      18      it in multiple ways, press releases, stuff on the
  19      thing to do. You are a bad person to ignore           19       website, publicity things and in their journals.
  20     someone's pain without realizing at the end of the     20          So there's, you know, the way that they
  21     day these are complex matters and you can do harm      21       selected articles and the articles that they
  22     by opioid prescribing.                                 22       publish all, they all seem to reflect an idea that
  23        I believe that was pretty clear in what I           23       those are the, that this is the approach that they
  24     wrote.                                                 24      favor as institutions.
  25   Q Do you believe that the treatment of gender            25    Q When you say push for affirmative treatment, do

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   1     you mean just the organizational support around       1       that tend to lean in one direction. That is -- I
   2      the existing guidelines?                             2       put examples in my report.
   3        Or do you mean push for affirmative treatment      3    Q Based on that definition of certain kinds of care
   4      at the individual level?                             4      being politicized, do you think that as a
   5   A Well, it seems clear to me that they want us to       5      clinician that is a reason to provide or not
   6     adopt this as treatment.                              6      provide certain kinds of care?
   7   Q And what is your basis for saying that this kind      7    A Well, I think that it is not a reason you should
   8     of care is politicized?                               8      be providing care based on what is good care. But
   9   A Well, I think, for one, if you look at a survey,      9       it could make you more skeptical of these
  10     opinions about these matters tend to clump in        10       professional organizations' support for certain
  11     lines that go along political affiliation.           11       care because you know that they come out and
  12        So for one, it's just a fact that is based on     12       support things that happen to lean in their
  13     the surveys. There has been a number of surveys.     13       political or within their, you know, thought
  14     It tends to be that people who are in, you know,     14       level. They are very accepting of things that
  15     in one political party have certain feelings about   15       are, in that case, left-leaning.
  16      this and people in another political party have     16          Therefore, they are susceptible to
  17      certain feelings about this.                        17      confirmation bias, group think, group dynamics
  18         So I cited a Regenerist article that did         18       that would lead them to move away from a
  19     questions after people came out of polls. That       19      scientific, more clinical approach towards an
  20     was sort of a direct peer view published line of     20       ideological approach.
  21     that evidence. There have also been a number of      21          Unfortunately, I put in my report that is
  22      opinions polls.                                     22       what I feel has occurred.
  23         The political parties, you know, have, I         23    Q Are there other areas of psychiatry where you
  24     don't know that the, I don't know if the, to what    24      think the political alignment of psychiatrists or
  25     degree the Republican party has come out, you        25      their organizing groups has negatively influenced

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   1     know, with strong statements or push for these      1        care?
   2     things. But if my memory serves me correctly,       2      A Yes and no. I mean, there are different
   3     their administrative, I mean, political parties,    3         priorities that the organizations have. I mean,
   4     whoever is in political power has some control      4         my priority and what I was trying to push for
   5      over administrative issues.                        5         within the American Academy of Child and
   6         So, I mean, I think that some aspects of the 6           Adolescent Psychiatry and the American Psychiatric
   7     general idea or rights for transgender individuals 7         Association with some of the articles that I wrote
   8      is a politicized idea. So I think that that is     8         and, you know, supporting in meetings, was a
   9     where I say that. I would also say that if you 9              collaborative care, particularly working in
  10     look at the organizations -- I put some data in 10            federally qualified health centers.
  11      there.                                            11            So what I would love to see is for them to
  12          These organizations, particularly the         12        put an emphasis on getting primary care support to
  13     psychiatric ones, and the American Academy of 13              deal with mental health issues. Getting an
  14     Pediatrics, I could say that for sure, too, tend 14          emphasis on us growing more federally qualified
  15     to be a left-leaning organization. They tend to 15           health centers which are primary care clinics that
  16     support politics that are, you know, to the left 16          provide like WIC and dental and, you know, mental
  17      of the center.                                    17        health care to communities. You can only open an
  18          And also it's true if you will look at just 18          FQHC if you are an underserved or disadvantaged
  19     even polls of who in what medical specialty aligns 19         community.
  20     with what political party. One of the polls I saw 20            So that is what I was pushing for us to do.
  21     had psychiatry was second to the most left-leaning 21        We do do that some as an organization, push for
  22     of all of the specialities with only public health 22         that. I just feel like that would be a much
  23      being more left-leaned.                           23         better priority for an organization. So
  24          So not surprising that the professional       24        unfortunately, you know, they seem to be more at
  25     organizations follow the politics of the members 25          times interested in other things rather than what

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   1      I think would be the most helpful approach.        1    Q Let's look at Paragraph 85 and 86 together.
   2         It seems that sometimes the other things that   2      Dr. Kaliebe, you talk about your time
   3     they are interested in are things that are hot 3            co-chairing -- is AACAP the way you say that?
   4     button political items rather than the actual, a 4       A Yes. People say AACAP.
   5     great thing you can do like supporting primary 5         Q When you co-chaired AACAP's media committee, it
   6     care in disadvantaged neighborhoods.                6      seemed like in Paragraph 86 you characterize that
   7   Q So relative ranking of priorities aside, is there 7         as a committee of content experts, is that fair?
   8    any individual kind of care in psychiatry that you 8      A Yes. Yes.
   9    think is being provided and should not be because 9       Q And then in Paragraph 85 you are talking on the
  10     of the political alignment of psychiatrists or the 10       second line about special interest groups. You
  11     organized medical groups?                          11      put that in quotes.
  12   A No. I think gender medicine has been the first 12             Do you see where you wrote that?
  13     time that this type of ideological care has        13    A Correct.
  14    actually come in and affected, you know, patient 14       Q Is there a difference between special interest
  15     care on a wide level. Yeah. I have never seen 15           groups and content committee and content?
  16     that before.                                       16    A Well, I was trying to differentiate that there are
  17   Q In Paragraph 84 you say in the third sentence, "I 17       groups of people that do, that are attracted
  18     have directly observed over the last decade, but 18        towards certain approaches. And so they could be
  19     particularly the last 5 years, that these          19       a group of people that are not officially a
  20     organizations have prioritized a politicized, 20            committee.
  21     narrow vision of social justice advocacy." 21                So you could self-select in more ways than
  22         Do you see where you wrote that?               22      one. The committees are vehicles within the
  23   A It is kind of cut off at the bottom. Yes. I        23      professional organizations.
  24     remember writing it.                               24    Q What I'm trying to get at, your concerns about
  25   Q Other than what you just called gender medicine, 25         group think and opinion cascades, do you think

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   1      what else have you directly observed in the last  1       that was in affect when you were co-chairing the
   2     five years that falls into this category?          2        AACAP committee on media?
   3   A Well, I think we talked about race, so I think     3     A Yes and no. I think in the media committee we
   4     that is an issue that, you know, while an          4       were always mindful to bring in diverse opinions
   5     important issue and I'm glad that they want to 5           of people. So we didn't want -- there are a lot
   6     emphasize it, the way that they have emphasized 6          of people who are generally negative about the
   7      that has also has been very, it has been          7       media. They would want to present or talk about
   8     politicized. And the sort of policing of, or the 8          media in negative ways.
   9     curation of what goes in the journal, at least of 9            We were very conscious that humans seem to
  10     the psychiatric organizations, does seem to be 10           have a negativity bias and negative stuff gets
  11      very narrow.                                     11        noticed more. There are also positives with
  12         But that would be the other main thing that I 12        media. We are trying to cultivate in our
  13     can think of. There are probably more. That is 13          presentations and in our output a balanced look.
  14      what I can think of right now.                   14          So, you know, I don't think by any estimation
  15   Q When you referenced just now narrow curation, are 15       anyone would think that our committee became
  16    you talking about articles regarding the treatment 16       one-sided or too, you know, too negative. But
  17      of gender dysphoria or something else?           17        once again, you deal with clinical issues. So
  18   A Something else. I'm saying I do believe they do 18         there is always some bias towards negative. That
  19     that. But since I was asked about what else is 19          is something that we were cognizant about.
  20      sort of politicized and the social justice, we 20       Q Are there other committees in AACAP that you feel
  21    spoke before about how they have come out with 21           didn't do as good a job providing that kind of
  22     becoming antiracist journals rather than just 22           balanced view other than the ones dealing with the
  23    saying we would like to focus more on race. Race 23         treatment of gender dysphoria?
  24     is a really important topic. It is an important 24       A Well, I think I had mentioned previously that at
  25      component of what goes on in society.            25       one point those who wrote -- or had in my

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   1     report -- that those who wrote the pharmacology     1        members had a special interest in media issues?
   2     guidelines were overly enthusiastic, influenced,    2              MR. PATTERSON: Objection. Assumes facts
   3      or excited or however you want to say it,          3        not in evidence.
   4      regarding psychopharm.                             4             You can answer.
   5         So I think at times any of these committees 5          A Yes.
   6     can be somewhat overconfident or have opinions      6      Q Generally speaking, in your evaluation of group
   7      that lean towards interventionalism towards 7               dynamics, if you have a small committee you would
   8     whatever intervention that the committee is about. 8         prefer folks who were interested in the topics
   9          So I think that, yes, you know, the            9        rather than disinterested, correct?
  10     psychopharmacology committee would tend to be too 10       A Well, no. I would give some nuance to that. I
  11     much focused on psychopharmacology from the 11               mean, I would really love to see -- I actually
  12      perspective of a regular psychiatric practitioner 12        thought that it probably would be really quite
  13      that has to take the different patients and use 13          helpful for -- let's go back to the
  14      all sorts of different modalities and not just 14           psychopharmacology committee -- for there to be
  15      pharmacology.                                     15        some, like, regular bread and butter practitioners
  16         The group dynamics have some affect on the 16            on that committee so that the committee would be
  17     other committees. I mean, I would probably guess 17          mindful of what is happening in the real world and
  18      that, or it is possible that there is some other 18         how, you know, their proclamations on, you know,
  19      committees that they also may interact with. I 19            medications play out.
  20      have not been to the, I think it's, like, I will 20            You know, especially as I've served in
  21      probably mess up the name. I think there is, 21             disadvantaged and underserved communities, you
  22      like, a race and diversity committee.             22        know, the idea that there is a medication solution
  23         Is it possible that they would be, you know, 23          for people's problems, you know, the guidelines
  24     could that committee be overly politicized? It is 24         were very heavy into pharmacologic, you know,
  25      possible.                                         25         solutions. And it just is not, it's just

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   1        Other than the gender committee I have never       1       unrealistic on a massive level.
   2     seen it affect clinical care in this way.             2         No, I think it would be best if there was a
   3   Q Dr. Kaliebe, at the end of Paragraph 87 you           3      way to make sure that there is broad inclusion of
   4     characterize the group that works in the area of      4       people. But in reality, that is not how
   5     gender dysphoria as "a well-intentioned but           5      committees are formed. It is people that tend to
   6     homogenous group of supporters."                      6       be enthusiasts.
   7        What do you mean by homogenous?                    7         So I think there is some advantage to people
   8   A I am talking about at the beginning of the            8       being enthusiasts, but I think there are
   9     paragraph, they have self-selected into providing     9      disadvantages, too. You know, as I mentioned the
  10      this type of care and are enthusiastic about it.    10      psychopharmacology example, you know, it would be
  11        And so when you have a group of like-minded       11      nice for there to be a counterbalance of people in
  12      individuals that support it without really a --     12      the field who are not so enthusiastic.
  13     more skeptical people end up not being on that       13    Q Do you think that is true for every field?
  14     committee. So that is my impression.                 14    A Yes.
  15   Q Just to describe a similar dynamic, the              15    Q Dr. Kaliebe, in Paragraph 89 you talk about
  16     psychopharmacology committee, that they would have   16      watchful waiting.
  17     bias toward intervention using certain kinds of      17         What do you -- is watchful waiting the
  18     medication, is that also what you mean by -- would   18      approach that you prefer for treating minors with
  19     homogenous be a way to describe that as well?        19      gender dysphoria?
  20   A Yes.                                                 20    A Well, I think a component of the approach,
  21   Q Okay. Would you generally agree that a group of      21      regarding certainly medicalization-wise I would
  22     people that have a special interest in a topic       22      say yes. I think that would make the most sense
  23     is -- I guess, what I'm trying to ask you is when    23      to let people grow up and then once they, you
  24     you were the chair of AACAP's media committee, did   24      know, are adults to make decisions about hormones
  25      that committee benefit from the fact that its       25       and surgeries when they are fully developed

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   1      humans.                                            1        that would be a better way to say it.
   2        So medicalization-wise, yes. But I think as      2      Q So are you aware that some of the original
   3     I mentioned before, I believe that it is ideal for  3        proponents of the watchful waiting approach were
   4     people to get other types of, you know, to have a   4         the Dutch and Ken Zucker in Toronto?
   5    well-rounded approach to life which would include 5         A I mean, I would step back and just say, you know,
   6    a number of things and potentially psychotherapy. 6           watchful waiting is a term that we use in medicine
   7   Q And so you, in this paragraph you say that the 7              all of the time. It was used for decades before
   8    policy statement at issue from the AAP contained     8         it was adopted by gender medicine.
   9      citation errors, overstatements, and               9            So I would say this is an old term that has
  10     mischaracterizations of the -- sorry -- you say it 10        lots of uses in medicines. So, yes, I would, I am
  11      mischaracterized the long-standing and            11         aware that both Ken Zucker and those in the
  12     well-regarding clinical approach of watchful 12               Netherlands have used that approach.
  13      waiting.                                          13      Q Both the Amsterdam Clinic and Zucker's Toronto
  14         How do you think they mischaracterized it? 14            clinic both treated adolescents with blockers
  15   A Well, they say it right there. "Watchful waiting 15          and hormones once they reached puberty, is that
  16      is based on binary notions of gender."            16        right?
  17         I mean, to translate, that sounds like saying 17       A Yeah. I mean, I don't have data about Zucker's
  18    well, those people who do watchful waiting, they 18           treatment protocol or what was going on there. I
  19     are just those old rubes who don't know any 19               can't speak to what treatment they were getting in
  20      better.                                           20         the clinic. The Dutch clinic has published a lot
  21         We're the sophisticated new people that want 21          of articles so we are familiar with that.
  22     to do this intervention. We are going to get rid 22        Q So in that respect, watchful waiting would apply
  23    of that approach is what we want to do because we 23          to prepuberty at those clinics?
  24      know better now.                                  24      A Correct.
  25          And I think that that right there kind of 25          Q And so even those proponents of watchful waiting,

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   1      shows that they are failing to appreciate the        1      they still recommended medical interventions when
   2     nuance and difficult realities of when you have a     2       the incongruence of distress persisted into
   3     developing situation and you don't know where it's    3       puberty?
   4      going to go, it's often better to not intervene      4    A Yes, I know the Dutch did. I don't know that
   5      than to intervene and potentially do harm.           5      Zucker's protocol, I have not seen exactly how it
   6   Q Do you agree that there are instances where not       6      was treated or what his approach was.
   7     intervening can actually also cause harm?             7    Q Do you oppose social transition for minors with
   8   A Are we talking about with gender dysphoria or just    8      gender dysphoria?
   9     in general?                                           9    A Well, I think it's a complex subject. I think,
  10   Q First, we will start in general. Do you agree        10      yes, in that children with gender dysphoria it
  11     there are situations where the choice not to         11      seems would be wise for them to be thought of as
  12     intervene can also cause harm?                       12      children with gender dysphoria, not transgender
  13   A Correct. Yes.                                        13       children.
  14   Q Do you think that there are instances in the         14          We don't know what their, in the end
  15      treatment of gender dysphoria in minors where       15       development is going to be, so why not, I think
  16     declining to intervene can cause harm?               16       it's most wise to keep them developing within
  17   A I would not frame it as causing harm. So I would     17       their biological sex, be honest that they are a
  18     not use those words.                                 18       person with gender identity issues with gender
  19   Q What words would you use?                            19       dysphoria.
  20   A Well, I would say that the not intervening would     20          They may grow up to be a transgender
  21      allow a patient to grow and develop. And then       21      individual as an adult. They may also grow up to
  22      once they have a sort of fully developed self,      22       be not transgender as an adult. Since we don't
  23     then they can make decisions about medicalization    23       really know, why don't we more conservatively
  24      of their body.                                      24       approach this and not socially transition them
  25          So I don't, I just, I think you have got --     25       when they are young. That would be my

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   1      recommendation.                                      1    A My guess is that we, since we never know about
   2         That being said, you know, families can           2      what will happen with any one child we can't
   3     decide to do whatever they want to do and, you        3      really say if any individual would have been
   4     know, I don't know that there could not be some       4      better or would have been worse.
   5     exceptions to that recommendation. But that would     5         I would not frame it in terms of harm.
   6     be my recommendation.                                 6      Children have been growing up all through human
   7   Q It sounds like you would agree that individual        7       history. We have generally not been socially
   8     families might decide that for their particular       8      transitioning them and it has not been a major, I
   9     child the appropriate way to address their gender     9      think in general societies they have decided that
  10     dysphoria would be to allow them to socially         10       not transitioning is the better trade off.
  11     transition?                                          11          So continuing with that approach seems wise
  12   A Well, they do decide that. Yes. I mean, like I       12      until we know better.
  13     said, I don't think that is a wise decision. But     13    Q What do you base that statement on, that
  14     once again, that is a family decision. Whatever a    14      assessment of the trade off?
  15      psychiatrist says cannot change what a family       15    A Well, for one, through all of human history we
  16     does.                                                16      have used biological sex as a main marker where
  17   Q Would you support a ban on social transition among   17       we, how we divide children.
  18     minors?                                              18          Children with gender dysphoria do have a
  19   A Well, I do think that the society has always used    19       harder time and are going to have significant
  20     biological sex as the main marker of what a minor,   20       problems. I think it's one of those issues of,
  21      you know, how a minor is classified.                21       like we often have in medicine where there is
  22        So I don't see a compelling reason to stop        22      only difficult choices. There is no easy choice
  23      using biological sex as the marker which we --      23      and no, like, clear that this is going to lead to
  24      especially considering these are children with      24       some great solution.
  25      gender dysphoria. They are not transgender          25          However, since we know so many of these kids

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   1     children. Right? We don't know what the end of      1         will grow up to be -- like I said, I consider them
   2      their trajectory will be so why are we going       2        children with gender dysphoria. I do not consider
   3      through this at this point?                        3         their identity to be fixed. I would like everyone
   4         Like I said, through human history the marker 4          to have the opportunity to grow up and then become
   5     of biological sex has some, it has trade offs, but 5         an adult and then decide about what their identity
   6     it has generally worked well for us. I would say 6           is.
   7      that is the most sensible approach right now. 7           Q What do you base that statement on that most of
   8   Q So my question was, I guess, do you think that 8             the children with gender dysphoria do not grow up
   9      there should be a ban on parents taking the        9        to be transgender?
  10     approach of allowing their children to socially 10         A That has been traditionally the data, that most
  11      transition prepuberty?                            11        childhood onset gender dysphoria children grow up
  12   A I don't know that I have an answer to that 12                and are typically, more likely the adult outcome
  13     question because I've not thought about a ban. I 13          is being a same sex attracted adult.
  14      have a clinical impression or what I would 14             Q Is that a particular study you are thinking of
  15      recommend. But I've not gone through the 15                 when you say that?
  16      implications of that.                             16      A I have seen it referenced many times.
  17   Q You said that some of the children who have gender 17              MR. SELDIN: Joel, will you take to us
  18      dysphoria you believe may grow up to be           18        Paragraph 91.
  19     transgender and some may not be transgender, is 19         Q Dr. Kaliebe, in this paragraph you talk about
  20      that right?                                       20        political activisms around laws pertaining to
  21   A Correct.                                           21        gender-affirming care.
  22   Q For the children who do grow up and are            22            Do you see that?
  23     transgender, do you think they will have been 23           A Yes.
  24    harmed by not being allowed to socially transition 24       Q You characterize it as political activisms.
  25      while they were children?                         25            Do you think it's political advocacy for

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   1     endocrinologists who treat diabetes to take a         1    Q Do you think an endocrinologist who testifies
   2     position on the affordability of insulin?             2       before a legislative body about a particular bill
   3   A No.                                                   3       is engaged in political advocacy?
   4   Q Why not?                                              4           For example, if there were a bill to make
   5   A Well, that is not an issue that aligns with any       5       insulin free and an endocrinologist testified in
   6     particular politics. I have not seen any data         6       favor of that bill, do you think that
   7     that makes me think that Republican                   7     endocrinologist is engaging in political advocacy?
   8     endocrinologists and Democrat endocrinologists see    8    A It would depend on how they testified and in what
   9     that differently. So, once again, it would not be     9      way and exactly what the bill was. I could not
  10     a political issue because that seems to be a         10      say. I would not make a blanket statement that it
  11     general medical care issue.                          11      was or wasn't.
  12   Q And so when you say political, do you mean           12    Q So you think that the content of the opinion
  13      measurable difference in opinion by a political     13       determines whether it is political advocacy or
  14      party?                                              14      not?
  15   A Yes. Well, I don't -- I'm saying political saying    15    A That is one component of how I would decide, yes.
  16     these organizations seem very willing to get         16    Q What other components would help you decide
  17     involved with political activism from a certain      17      whether that was political advocacy?
  18     viewpoint. There could be any number of things       18    A Well, depending on the issue. Right? The issue
  19     where they -- you would think at least once maybe    19      at hand here is an issue that does have clumpings
  20     they would get, have some issue that is not from     20       of political support in different parties and
  21     that same viewpoint, but it does not seem very --    21       different sides.
  22      they seem very willing to make things more          22         So clearly, whenever you are talking about an
  23      political than they really are.                     23      issue that does have clear political implications,
  24         I believe that questions about                   24      then that would make you at least be skeptical or
  25     gender-affirming care are clinical questions. And    25      consider that there is something political going

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   1      so I don't think that these organizations should   1        on.
   2      be condemning people who see the evidence          2      Q Do you think clinicians who provide legislative
   3     differently or want to be cautious.                 3        testimony about bills like Senate Enrolled Act 480
   4         But it seems like that is in the press          4        are engaged in political advocacy?
   5    releases where they would want to approach it. So    5      A It would depend on the testimony they are giving.
   6     I can't think it's anything other than political 6           So possibly or possibly not.
   7     because they usually, let's say, the American 7            Q What would make their testimony political
   8     Academy of Pediatrics would be respectful of 8               advocacy?
   9     people who want a cautious approach or parents 9           A Well, I don't know if you are asking me about are
  10     that do not agree with this approach.              10        they providing, you know, references to studies?
  11         So, yes, I believe the way that they are 11              Are they talking about -- you know, I'm not sure
  12     approaching seems that it must be political. 12               what they are bringing up.
  13   Q Earlier you were talking about how you wish some 13             If they are trying to portray evidence as
  14     medical organizations prioritized things like 14              more than it really is or kind of, you know, if
  15     access to primary care through federally funded 15           they use political language. I mean there are any
  16     health centers.                                    16        number of ways that someone can reveal that they
  17        Do you remember when we were talking about 17             are more interested in advocating for a certain,
  18     that?                                              18         you know, tribal political viewpoint than an
  19   A Yes.                                               19         actual sober discussion of what is the situation
  20   Q Do you believe that that is a political issue? 20             at hand.
  21   A Not so much because it has bipartisan support. So 21            I think most clinicians who would get up and
  22    I believe that would be an issue that would not be 22         testify should be able to remain respectful about
  23     politicized because I think individuals on both, 23           the other side of the opinion and realize the
  24     on both on the left and the right could get behind 24         trade offs and difficulties and nuances.
  25     those things. So it's a less politicized issue. 25               So if that is what they are doing and getting

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   1     up and admitting all those things, then I would,      1       call for reasoned dialogue to evaluate the moral
   2     you know, lean towards it not being so political.     2      claims on each side and examine the logic and data
   3         If that is not what they are doing, then I'm      3      behind these moral frameworks and treatments."
   4      leaning in towards it being more political.          4         Do you see where you wrote that?
   5   Q In Paragraph 91 you are talking about this press      5    A Yes.
   6     release. You say, "Yet the press release frames       6    Q Is your issue that, I guess, do you think the
   7     these limits as discrimination based on gender        7       competing moral frameworks in this particular
   8      identity, a moralized characterization of            8      instance are equally worth debating?
   9      restrictions on care."                               9    A Well, I think there are multiple moral frameworks
  10          Why do you think that is a moralizing           10      so you would have autonomy of patients. You would
  11      statement?                                          11       have parental decision rights. You would have
  12   A Well, if I accuse you of discriminating I think      12      whether an analysis of an evidence base is a moral
  13     that is a morale accusation. Right?                  13       one or a discriminatory one.
  14       Whereas, normally when you are talking about       14          So there's multiple moral issues at play.
  15     medical care you would be talking about what is      15       There would be the moral issue of can someone
  16      the evidence base for this medical care. Or let     16       consent or not consent? Is it moral to allow
  17     me show you this study that strongly supports my     17       those things?
  18      opinion.                                            18          So there are just a number of ethical and
  19         That is what I would think that a medical        19       moral issues that could be wrapped into any
  20     organization would be doing, rather than claiming    20       discussion.
  21     that this is discrimination.                         21    Q So in the realm of pediatrics generally you have
  22   Q So back to my example of an endocrinologist and      22       issues of assent and consent, is that fair to say?
  23     insulin. If I am an endocrinologist and I testify    23    A Yes.
  24     before a legislative body, I treat a lot of people   24    Q So in that respect, every decision about pediatric
  25     with diabetes. They need insulin. The cost of        25       medicine involves the moral issue of assent and

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   1     insulin means some of them don't get it. That is   1         consent, right?
   2     a negative outcome. I think this bill should pass  2       A Yeah. I mean, you know, I would not quite -- I
   3     because it will make insulin free.                 3         would say there's almost no moral issue for many
   4        Do you think any of that is political and 4                or most regular pediatric treatment issues.
   5     moralizing?                                        5          Whether to get an antibiotic or whether to brace
   6   A No. Because they are talking about a clear-cut 6              an arm after it's broken, you know, this is what
   7     medical, you know, situation that seems            7          most medical decisions are.
   8     apolitical.                                        8           Most of them do not have difficult competing
   9   Q What if they then say, And I think it's            9         moral frameworks like permanent treatments to
  10    discrimination against people with diabetes not to 10         minors with gender dysphoria. That is a lot more
  11     make insulin free? What then?                     11         complex.
  12   A I mean, they could say that. I think that that 12          Q Let's talk about some other medical interventions
  13     would be a, I mean, they would be trying to 13               in pediatrics.
  14     moralize the argument. I don't think it would be 14             Are you familiar with Cochlear implants?
  15     a compelling argument.                            15       A Somewhat.
  16        I'm guessing that people who are deciding 16            Q Do you think that there is any moral valiance to a
  17    about what could be paid for and not paid for are 17          decision about whether to provide those to a
  18    mostly working on economic arguments and not on 18            child?
  19     discrimination arguments.                         19       A Well, not being my area of expertise, I don't know
  20          MR. SELDIN: Joel, in Paragraph 92 about 20               what the statistics are and how successful they
  21    two-thirds of the way down, if you could show us 21            are and how established they are.
  22     Paragraph 92. Thank you.                          22             There may or may not be on different
  23   Q You are critical of the American Academy of 23               treatments depending on all those things. If it's
  24    Pediatrics. You say, "As such, a more appropriate 24          a well established treatment and they have a great
  25    perspective from a medical organization would be a 25         evidence base on, then the amount of the moral

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   1      dilemma is small.                                 1       outcome, then it reduces the moral or ethical
   2        When you have unknowns in a treatment or it's   2       dilemma.
   3     an experimental treatment, that is much more of a  3     Q You don't believe that all interventions that
   4     moral dilemma. I don't know Cochlear implants      4       alter the bodies of minors involve moral dilemmas?
   5     enough to tell you where I fall on that.           5     A I just said there are degrees. There would be a
   6   Q Do you believe then that the level of moral 6              degree.
   7     dilemma is inverse to the evidence base?           7     Q In terms of what should inform moral
   8   A Well, the less evidence base and the more          8       considerations around the provision of treatment
   9    potential harm would raise the moral implications. 9        to minors, we have talked about evidence based.
  10     Yes.                                              10        We have talked about assent and consent.
  11   Q Okay. So then in any area of medicine where there 11           Are there any other things that you think
  12     is an uncertainty about the evidence base or 12             should factor into that moral calculus?
  13     outcomes you believe there is a moral issue? 13          A Evidence base. Assent and consent. Family and
  14   A Well, specifically, I mean, yes. Especially when 14         parental viewpoints. There are any number of
  15     we are talking about lifelong changing of         15       possible other inputs.
  16     characteristics of a developing adolescent. 16           Q What do you mean by family?
  17         So, yes. I mean, yes. But there is, you 17           A I think if a family -- in a family there may or
  18     know, we are talking about something quite 18               may not be agreement with procedures. I think
  19     significant.                                      19       that is something to take into account.
  20   Q Well, are you familiar with ear pinning as a 20          Q Would that fall under assent and consent?
  21     medical intervention in children?                 21     A I guess it could. Yeah.
  22   A I mean, not very.                                 22     Q In Paragraph 93 --
  23   Q Well, I will represent to you that for children 23       A I could say there is some -- you are asking about
  24     whose ears stick out there is a surgical          24       what moral dilemmas possibly you would have. I
  25    intervention where you can pin their ears back so 25         think, you know, we talked about the evidence

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   1     they stick out less.                                1       base. But, also, you know, we don't really have
   2        Are you familiar with that?                      2       an evidence base about a, you know, human
   3   A Okay. Yes.                                          3      developing identity, which is also something that
   4   Q Okay. Have you heard of such a thing?               4       we are treating. I just want to throw that out
   5   A I have heard of it. Yes.                            5       there. We are sort of fiddling with something
   6   Q Okay. Do you think that that has moral              6      which that is important and fundamental in human
   7     implications?                                       7       beings.
   8   A Not -- I don't know. But it sounds like that is a   8          I just think that also raises caution beyond
   9     low risk surgery. So to me, I'm guessing that       9      what a typical discussion of evidence base would
  10    it's a low risk procedure which, you know, seems 10         be.
  11     to be well received or work out the way that 11          Q Are you offering an opinion in this case about the
  12     individuals who have gotten in the past want. I 12         evidence base?
  13     don't know how long it has been around for. 13           A Regarding gender-affirming care?
  14          So it could be a significant moral issue if 14      Q Yes.
  15     it's the first patient that it's ever been done on 15    A Well, I mean, yes. I've put, I did not
  16     and there are some potential downfield negative 16         concentrate on that in my report, but I think I
  17      effects that could be serious.                    17       make it clear in my report my assessment of the
  18          If it's a standard procedure that is done all 18       evidence base.
  19    of the time without much problem, then that makes 19              MR. SELDIN: Joel, can you pull up
  20      it less of a moral issue.                         20       Exhibit 4. Take us to Paragraph 4, please. I'm
  21   Q Even though it permanently alters the appearance 21         sorry. Can you scroll up to the first page so we
  22     of the child you don't believe that that by itself 22       can see the caption.
  23      raises a moral issue?                             23    Q Dr. Kaliebe, this was your report in the Decker
  24   A Well, is the outcome -- you know, if this is an 24         case that we were talking about.
  25     established procedure that has a known good 25                Do you see the case caption?

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   1   A Yes.                                               1           (ON RECORD AT 2:15 P.M.)
   2   Q Then Paragraph 4 (b) and (c), Dr. Kaliebe, in your 2      BY MR. SELDIN:
   3     Decker report you offered the opinion at 4 (b), 3         Q Dr. Kaliebe, welcome back.
   4     "There is no consensus in the field regarding the 4               MR. SELDIN: Joel, could you pull
   5     treatment of gender dysphoria, nor is there an 5            Exhibit 1 back up for us.
   6     evidence base sufficient to lead to any confident 6       Q This is your declaration that we have been talking
   7     recommendations."                                  7        about in this case.
   8         Do you see where you wrote that in your 8                     MR. SELDIN: Joel, can you take us to
   9     Decker report?                                     9        Paragraph 121.
  10   A I don't. Okay. Yes. Yes, I do.                    10      Q Dr. Kaliebe, in Paragraph 121 of your declaration
  11   Q Then in 4 (c) you said, "Multiple reviews of the 11         you have some criticisms of SOC-8. I take it that
  12     evidence base regarding treatment of gender 12              is WPATH's Standards of Care 8?
  13     dysphoria indicate that the evidence for          13      A Correct.
  14     affirmative treatment is low quality."            14      Q And in Subsection A you say, "SOC-8 makes no
  15        Do you see where you wrote that in the Decker 15         analysis for why it prioritizes affirmation of
  16     report?                                           16        gender identity over affirmation and acceptance of
  17   A Correct. Yes.                                     17        the physical sexed body."
  18   Q There do not appear to be corresponding opinions 18            Do you see where you said that?
  19     of this nature in your declaration in this case. 19       A Yes.
  20         That is why I'm asking, are you offering 20           Q What is affirmation and acceptance of the physical
  21     these opinions in this case here?                 21        sex body?
  22   A Well, yeah. I'm not sure how to answer that in 22         A Well, it would be the concept that it is important
  23     that I believe there are other experts in this 23            for people to come to accept and work with the
  24     case that are reviewing the evidence base. 24                body that they have, which is a time tested
  25        Those are my opinions. But my -- in terms of 25           approach, you know, in individuals who have

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   1      this case, I wrote in my report the things that I   1       challenges and disorders, distress related to
   2     was emphasizing.                                     2       their body.
   3   Q So is it fair to say that you, Dr. Kaliebe, the      3    Q When you say time tested, what do you mean?
   4     individual, hold these views, but you,               4    A Well, I mean in many other psychiatric disorders
   5     Dr. Kaliebe, Indiana's expert in this case, are      5      we have patients that are uncomfortable or
   6      not offering yourself as an expert on these two 6          distressed by the body that they have.
   7      points?                                             7         Someone with anorexia will starve themselves
   8   A I would not commit to that. Since I have put this 8         in order to, you know, not go into development or
   9      in my report even though it's not exactly these 9          because they don't want to, because they have a
  10     same statements, I have mentioned the low quality 10        distorted view of themselves, a body dysmorphic
  11      evidence base.                                     11       disorder.
  12         Since I have mentioned that in my report and 12             During development, of course, many people
  13     I am already speaking as an expert and I've gone 13          are uncomfortable or distressed by the body that
  14      on the record, I think I am affirming that this is 14      they have.
  15      my opinion and this opinion is in my report. 15          Q In prior declarations you refer to this as body
  16            MR. SELDIN: I wonder if now is a good 16             affirmation.
  17      time to take a little longer break for lunch. 17                Is affirmation acceptance of the physical sex
  18          Dr. Kaliebe, Mr. Patterson, would that work 18          body the same as body affirmation?
  19      for you?                                           19    A Yeah. I mean, I think they are part of the same
  20             MR. PATTERSON: Fine with me.                20      concept, yes.
  21   A Fine with me.                                       21    Q Did you come up with this distinction between body
  22          (OFF RECORD AT 1:31 P.M.)                      22      affirmation and gender affirmation?
  23       (AT THIS TIME A SHORT RECESS WAS HELD OFF THE 23        A Did I come up with it? Well, I think that this is
  24    RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS WERE 24         a noticeable discrepancy by the way that we are
  25      HAD:)                                              25      asked to approach gender dysphoria compared to


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   1     other disorders like I was, like I was mentioning     1         Do you see that?
   2      previously.                                          2    A Yes.
   3         So, yes. I don't have a clear source from         3    Q There is a whole section of SOC-8 that talks about
   4      where that comes from. It's just that I've noted     4      detransition, correct?
   5      that this is a very different approach to affirm     5    A Correct. I think if you look at the amount of
   6     and emphasize, you know, a psychological concept      6      pages devoted to it, and I do see 260 pages on the
   7     about self over the physical body.                    7      document, that is why I was saying underemphasized
   8   Q Is there any literature where researchers             8      the component.
   9     discussed this distinction between gender             9    Q What would be an appropriate emphasis in the SOC-8
  10     affirmation and body affirmation?                    10      for detransition?
  11   A There probably is. You know, since we are in such    11    A Well, I think a more realistic approach in
  12      a new field right now, you know, I don't think      12      regarding the new patient population, which has
  13      that there has been much on this regarding          13      recently emerged. And we do not know what the
  14      particularly this issue.                            14       rates of detransition will be in this new
  15          But I think there is significant literature     15       different patient population.
  16      in other disorders regarding patients, healthy      16          And so I think while it generally downplays
  17     patients, learning to come to peace with or love     17       it, reporting it to be rare, which I think, you
  18     the body that they have or reducing their distress   18      know, once again, we are not totally clear on, the
  19      about the body that they have.                      19       data is not so clear on how rare it really is.
  20   Q So it sounds like you are not aware of any studies   20          But, secondly, it's especially pertinent
  21     on body affirmation versus gender affirmation as     21       considering the large rise in these treatments
  22      it pertains to gender dysphoria, is that correct?   22      among minors and minors that are very different
  23   A Correct.                                             23      than the minors that were in the Dutch protocol or
  24   Q In Paragraph 121, Subsection (d) another one of      24       other early interventions.
  25     your criticisms is that, "SOC-8 downplays concerns   25            MR. SELDIN: Can you take us back to

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   1     related to detransitioning."                        1        Exhibit 1, please.
   2        Do you see where you wrote that?                 2      Q In Paragraph 122, Doctor, in Paragraph 122 you
   3   A Correct.                                            3         say, "There have been several other episodes I
   4           MR. SELDIN: Joel, can you please pull up      4        have learned about that have caused me to conclude
   5     Exhibit 14.                                         5        that I do not feel comfortable relying on WPATH or
   6   Q Dr. Kaliebe, have you seen this document before?    6         its U.S. affiliate, USPATH, to guide my care of
   7   A Yes. It's the Standards of Care for the Health of   7        gender dysphoric patients."
   8    Transgender and Gender Diverse People, Version 8. 8         A Yes.
   9         I was referring to that in my report as the 9          Q What do you rely on to treat your gender dysphoria
  10     SOC-8.                                             10        patients?
  11           MR. SELDIN: Joel, can you take us to 11              A My experience as a child psychiatrist. And I
  12     Page 43 of the PDF, please.                        12        think patients are all human beings. They all
  13   Q Dr. Kaliebe, do you see where it says              13        share a lot of qualities. We have a wealth of
  14     Statement 5.7?                                     14        clinical and other research data, which gives us a
  15   A Yes.                                               15        general approach on how to approach patients.
  16   Q Do you see, "We recommend health care              16             And so when a new population and a new
  17     professionals assessing adults who wish to 17                 treatment model comes in and asks you to do
  18     detransition and seek general-related hormone 18             something a different way and you see that it has
  19     intervention, surgical intervention, or both, 19              flaws and it's not, it has not, it does not have
  20     utilize a comprehensive multidisciplinary          20        the evidence base that it claims to have, then you
  21    assessment that will include additional viewpoints 21         have to use your, you have to use what you know
  22     from experienced health care professionals in 22             about other treatments, which are, of course, you
  23     transgender health and that considers, together 23           know, which are generalizable in order to approach
  24     with the individual, the role of social transition 24        that patient population.
  25     as part of the assessment process."                25      Q Earlier we talked about how in total you have

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   1     treated maybe sixteen or seventeen patients with    1        treatment with any of my patients. I just provide
   2      gender dysphoria.                                  2        recommendations and treatment.
   3        How many of those are you currently treating? 3         Q Is it fair -- have you ever had a conversation
   4   A I would guess half that number.                     4        with these patients or their parents in which you
   5   Q Are they aware you are not using USPATH or WPATH 5           have explained what you explain here, that there
   6      standards of care in their treatment?              6         is gender affirmation and there is body
   7   A I don't know that patients are ever aware of what 7          affirmation and you are going to prioritize body
   8     guidelines or treatments or what approaches that 8           affirmation?
   9      you use as a clinician.                            9      A I have, in a manner, yes. I think that as I have
  10        That would be no regarding any of my patients 10          spoken with parents they have -- I have
  11      with any of my approaches.                        11        communicated to them what my approach is. I don't
  12   Q Do you think a patient would want to know if you 12           use those words. I will tell parents what I
  13     were intentionally not using consensus guidelines 13         emphasize and don't emphasize in my treatment.
  14      to treat their condition?                         14           Once again, these are not the conversations,
  15   A Well, I don't believe these to really be consensus 15        I mean, this is not usual -- you know, out in the
  16     guidelines. So, you know, there is no reason to 16           community as a treater or in the clinics that I
  17     inform patients exactly where you are getting your 17        work in, I mean, this is not the level of
  18      clinical approach from.                           18        conversation that you are typically having.
  19         You take it from all sorts of places. So I'm 19              So I am not usually talking about which
  20      not -- no, I don't think it's necessary. I never 20         guidelines I use or what approach I use with
  21     inform my patients in other circumstances what 21            patients. This is quite unusual.
  22      guidelines I use or don't use. I don't think 22           Q Doctor, you have not told them there is no
  23      these patients are really any different.          23        research about body affirmation versus gender
  24   Q Are any of the patients you are currently treating 24        affirmation?
  25      for gender dysphoria minors?                      25      A Well, hold on. Because you are claiming that

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   1   A Yes.                                                  1       there is some research, which is not accurate.
   2   Q Do you think their parents would want to know that    2       There is research in all sorts of things. You are
   3     you were not using WPATH and USPATH guidelines to     3       just saying in the exact specific condition of
   4      treat them?                                          4      gender dysphoria, which we have almost no research
   5   A Once again, parents have never ever in the past       5      on anything in regard to any kind of therapy with
   6     asked me about what guidelines I use for my           6       gender dysphoria.
   7     treatment. So I think that it would be a              7          It's such a new condition with this
   8     discussion to have perhaps if there is a              8      population with this large amount that we only now
   9     discussion about medicalization. So in those          9       are starting to be able to roll out studies.
  10     situations I'm more than happy to tell them what     10          Once again, you are mischaracterizing what is
  11      my perspective is.                                  11       going on. But, yeah. So, no, I don't have
  12         But, once again, you know, you really don't      12       exactly that conversation because that is not an
  13     usually go into treatment guidelines when you are    13      appropriate framing of it.
  14     discussing matters with parents or with patients.    14    Q Well, have you had the conversation with parents
  15   Q Are you treating these particular patients with      15      or patients where you have said there is not any
  16     what you call body affirmation?                      16      specific research on the use of body affirmation
  17   A Well, as I mentioned before, I think whenever you    17      to treat your condition, gender dysphoria, but
  18     are referring people for things like physical        18       there is research for other conditions?
  19     activity, exercise, mindfulness approaches, those    19          So what I will recommend in the absence of
  20     all have some elements of coming to peace with and   20       that research on your specific condition is that
  21      using the body, appreciating the body that you      21       we use body affirmation instead of gender
  22      have.                                               22       affirmation.
  23         I think that approach is known because those     23          Have you had any kind of conversation like
  24      are things that I talk about. I think it would      24       that with your patients?
  25      be, I don't think I talk about my philosophy of     25    A Well, you know, once again, I think we are talking

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   1     about these large, you know, concepts rather than   1      Q Dr. Kaliebe, in Paragraph 129 you are discussing
   2      talking about specifics.                           2        Dr. Shumer.
   3          I mean, you know, you could still be           3            Do you recall writing this paragraph?
   4    affirmative, meaning use the pronouns the person     4      A Yes.
   5    was working with, and be affirmative in that you 5          Q In this paragraph at the very end you say, "This
   6    are supporting them. But, also, want to work with 6           virtuous sense of self must at least raise
   7     them in coming to peace with the body that they 7            concerns as to whether Dr. Shumer and other
   8      have.                                              8        advocates engage in sober reviews of the
   9   Q Is that your general practice with your minor 9              evidence."
  10     patients that have gender dysphoria, to use the 10               Do you see where you wrote that?
  11      pronouns that they want to be known by?           11      A Yes.
  12   A Yes.                                               12      Q Would you generally agree that patients should
  13   Q Earlier you were talking about how you treat 13              receive competent and compassionate care, medical
  14     patients given your desire not to use WPATH or 14            care?
  15      USPATH guidelines.                                15      A Yes.
  16         Is it fair to say then that you consider your 16       Q Do you generally agree that transgender people are
  17     clinical practice sufficient to sort of establish 17        emerging and demanding specific kinds of care?
  18      guidelines for yourself?                          18      A Emerging and demanding specific types of care?
  19   A Well, I think when you are a child psychiatrist 19               Yeah. I mean, this is, I think some of the
  20     and you treat all of the different conditions that 20         questions that we have is a child, you know, a
  21    could come in, people come in with autism. People 21           transgender person, or are they a child with
  22     come in with psychosis. People come in with 22                gender dysphoria? Or is this a teenager with
  23    bipolar disorder. They come in with PTSD. They 23              gender dysphoria or a transgender person?
  24     come in with all number of different problems. 24                  So I think, you know, as your identity is
  25        And then they have problems in development. 25             still developing I think it's important for us to

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   1      They have problems of identity that are not          1      step back and look that we are not necessarily
   2      related to gender. They have problems                2      dealing with someone who at the end of the day
   3     academically. They have neurocognitive problems.      3      should be best conceptualized as a certain person.
   4     They have problems related to school. They have       4          And that the fact that someone, that there
   5      problems relating to getting into fights. They       5      are some demands for care, once again, is detailed
   6      have family conflict.                                6       elsewhere in my report. Yes, people should be
   7         So when you approach a patient clinically,        7       compassionate and we should be competent.
   8     you are putting together a treatment plan and an      8          But often the type of care that patients
   9     assessment that speaks to them specifically. So       9       request is often not the best type of care for
  10     I'm using what, you know, is the, I would say,       10      them. So, you know, I am somewhat agreeing with
  11     mainstream psychiatric approach with all these       11       your characterization. But I think there is some
  12     patients, including the patients with gender         12      nuance there.
  13     dysphoria.                                           13    Q We talked about this a little bit earlier. I
  14   Q So your description then of your clinical            14      wanted to clarify.
  15     experience, that is sufficient you think to          15         You said you prefer to treat, to consider
  16     establish good clinical practices?                   16       children with gender dysphoria as children with
  17   A I don't think that patients with gender dysphoria    17      gender dysphoria and not as what you called
  18     are that different than other patients that I        18      transgender children, is that accurate?
  19      should throw out all my training for everything     19    A Correct.
  20      else I do and do something that WPATH has           20    Q You would agree, though, that some, that at least
  21     determined to be the right approach even though my   21      some children with gender dysphoria are, in fact,
  22      assessment of the evidence is that it's not the     22       transgender, right?
  23      right approach. So, correct.                        23    A No. Because we don't know what their identity
  24           MR. SELDIN: Joel, will you take us to          24      really is or what it will be at the end. I don't
  25      Paragraph 129, please.                              25       think we are, I mean, putting a label on a child

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   1      that is still developing, I mean, that's not, I   1    Q Dr. Kaliebe, you will see at the bottom there is a
   2      don't think it's a wise practice.                 2      photo of Dr. Daniel Weiss, Senior Fellow.
   3         So I would not call them transgender as I      3         Do you see that?
   4      have stated. I would call them a child with       4    A Yes.
   5      gender dysphoria.                                 5    Q And I think we were talking earlier today, are you
   6   Q And would you agree that some children with 6              aware that Dr. Weiss is one of Indiana's experts
   7    gender dysphoria come to identify as transgender 7         in this case?
   8     adults?                                            8    A I am now that you are asking me that question.
   9   A Yes.                                               9    Q Would his membership in this group give you some
  10   Q Earlier we were talking about your concerns about 10      pause about his ability to soberly review the
  11     some of the moralizing language that you think 11         evidence?
  12     exists in discussions about the treatment of 12         A No. I mean, I think that your, you know, the fact
  13     gender dysphoria.                                 13      that someone has joined a group which is calling
  14        Do you remember us talking about that earlier 14       for cautious care under the circumstances would
  15     today?                                            15       not necessarily, you know, give me pause.
  16   A Correct.                                          16          So, no, I think, I mean, yes, is it possible
  17   Q And it seems like based on Paragraph 129 that you 17       that this could also have some group think or
  18    have some concerns about folks who use what you 18         group identity issues, you know, distorting their
  19     term, folks who use what you characterize as 19            viewpoint, it's possible.
  20    moralizing language that they can't soberly review 20          I, you know, as I said before, it just means
  21     the evidence.                                     21      that you should look at what the person says and
  22         Is that fair to say?                          22      examine the evidence and the idea about ideas
  23   A Well, they may or may not be able to. It would 23          competing with each other.
  24     raise, it would raise a level of skepticism.      24         Rather than personally attacking the person,
  25           MR. SELDIN: Joel, will you pull up          25       you should identify the idea and evaluate the

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   1     Exhibit 11.                                        1      quality of the evidence or the idea.
   2   Q Dr. Kaliebe, this is a printout of a website for   2    Q And so for clinicians like Dr. Shumer, do you
   3     an organization called Do No Harm.                 3       think the same applies, that rather than simply
   4         Have you heard of Do No Harm before?           4       judging him by his participation or any kind of
   5   A I have heard the name. I'm not familiar with it,   5       group or gender clinic you should look at his
   6     no.                                                6      ideas and evaluate them on the merits?
   7   Q You will see in the "About Us" section it says,    7    A Correct.
   8    "We are a diverse group of physicians, health care 8     Q Okay.
   9     professionals, medical students, patients, and 9               MR. SELDIN: Joel, will you take us back
  10    policymakers united by a moral mission: Protect 10         to Exhibit 1, please.
  11     health care from a radical, divisive, and         11    Q Look at Paragraph 130. Dr. Kaliebe, in
  12     discriminatory ideology."                         12      Paragraph 130 you talk about what you perceive to
  13         Do you see where I read that?                 13      be a chilling effect on scholarly dialogue.
  14   A Yes.                                              14          Do you see where you wrote that?
  15   Q Do you consider this the kind of moralizing 15          A In 130? I don't use those words there.
  16    language that gives you pause about an ability to 16     Q Sorry.
  17     soberly review the evidence?                      17    A It's not in Paragraph 130.
  18   A Well, I think they are using language similar to 18             MR. SELDIN: Joel, are you on Exhibit 1?
  19    Turban and Karasic and Shumer. Yeah. I would 19                  JOEL SCHERER: Yes, this is Exhibit 1.
  20     think that those who look at any sort of group 20               MR. SELDIN: Okay. I have something wrong
  21    that has a mission, you know, you would have to 21         with my pagination.
  22     be, you have to be skeptical and understand that 22     Q You do recall that there is some scholarly
  23     they are potentially a part of a group.           23      dialogue missing, right?
  24           MR. SELDIN: Joel, scroll down, please, to 24      A Yes.
  25     Page 6 of the PDF.                                25    Q What specific articles do you think should have

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   1     been published that have not been?                  1         colleague told me about a difficult experience
   2   A Well, I think I say in the report there are many    2        with editors of the American Academy of Psychiatry
   3     articles that should be published and many issues 3          and the Law Newsletter."
   4     to be explored. We are in the infancy of medical    4            Do you see that?
   5     and hormonal treatments for young people and we 5          A Correct.
   6     don't really have good long-term outcome data. We 6        Q Who is the colleague that --
   7      don't have any control data.                       7      A Josh Sanderson.
   8          So, you know, we should be still debating 8           Q Okay. Do you know if he tried to get this article
   9     what is the right approach considering the actual 9          published anywhere else?
  10     level of the evidence. We should be careful about 10       A It got published. He just, they just asked him to
  11      promoting one type of care or the other and, 11              remove the actual behavior of the transgender
  12      obviously, be talking about what evidence base 12            individuals on the inpatient unit.
  13      supports it.                                      13            So the whole, you know, part of the article
  14          I think specifically in the, in the arena of 14          was to communicate that these are difficult
  15     gender-affirming care what we should talk about, 15           situations that we are having on the inpatient
  16     we should have articles in major medical journals 16         unit with individuals who identify as transgender.
  17      about informed consent in relation to that. We 17               They forced him to take out the part about
  18     should have articles regarding psychotherapy. We 18          what was actually happening on the inpatient unit,
  19     should have articles regarding special populations 19        thereby, stopping clinical exchange of information
  20      like traumatized individuals, personality         20         related to caring for individuals on inpatient
  21      disorders, autism.                                21         units.
  22         I mean, we have so much to explore. There is 22        Q Did this colleague try to get his unedited article
  23     so much more we don't know than what we do know. 23          published somewhere else?
  24     To, you know, to only sort of allow one type of an 24      A I'm not aware.
  25      article or one perspective on this seems quite 25         Q In Paragraph 144 at the end you say, "Former sex

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   1     misguided.                                            1      researchers have left the field due to the
   2   Q Just to make sure we are talking about the same       2      harassment and intellectual bullying they
   3      thing, in your declaration you list some specific    3      received."
   4      instances of some specific articles that you         4         Do you see where you wrote that?
   5     believe should have been published that were not.     5    A Yes.
   6        Just in your answer now you are talking more       6    Q Who has left the field?
   7     broadly about kinds of papers you wish you had        7    A I gave the one example of Debra Soh. I don't
   8      seen.                                                8      have a list in front of me. She is not the only
   9         Were you referring to anything specific?          9      one.
  10   A I don't know exactly what has been submitted that    10    Q Who else do you think has left the field?
  11      has not been published. So it is impossible for     11    A I don't have that in front of me. I think you
  12      us to know what articles were rejected. I'm not     12      could read Debra Soh's book and it would provide a
  13      quite understanding the question.                   13       lot of detail about the harassment and
  14   Q Well, fair to say you don't know if these, you are   14      anti-scientific atmosphere in which she endured.
  15     not sure if maybe these articles don't exist at      15    Q Other than Soh, there is no one you can
  16     all or they are being submitted and just not being   16      specifically remember?
  17     published?                                           17    A There are examples in her book. And if I could
  18   A Correct. Other than my letters to the editor         18      add on, I mean, it's not just about leaving the
  19     which I know were rejected.                          19      field. It's about staying away from areas of
  20   Q Do you know the rejection rate for letters to the    20       scholarly exploration, which there are plenty of
  21     editor?                                              21       examples. Right?
  22   A No.                                                  22           So, for one, it's difficult to get grants or
  23          MR. SELDIN: Joel, can you take us to            23       to then be able to study things that are
  24     Paragraph 142, please.                               24       controversial in universities, especially
  25   Q Dr. Kaliebe, in Paragraph 142 you talk about, "A     25      controversial and related to gender dysphoria or

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   1      transgender care.                                    1    Q Earlier in one of your answers you said clinicians
   2        So, unfortunately, that is, you know, we are       2      were obliged to accept gender identity.
   3     reducing the amount of information flow due to        3         What did you mean by obliged?
   4      these things.                                        4    A Well, as I have said before, we typically in
   5           MR. SELDIN: Joel, will you take us to           5      mental health -- let's say you are working with an
   6      Paragraph 145, please.                               6       adult client and they come in and say I want to
   7   Q Dr. Kaliebe, in Paragraph 145 you talk about your     7       have a divorce.
   8     personal interactions with psychiatrists.             8          You know, you are usually not going to be, I
   9         Do you recall writing this paragraph?             9       mean, any reputable therapist would be, like,
  10   A Yes.                                                 10       let's sit down. Let's talk about it. Let's see
  11   Q Would you agree that your personal interactions      11      what is going on. Let's understand your history
  12     with psychiatrists is a form of anecdotal            12      and your current situation. Let's, I mean, let me
  13     evidence, right?                                     13       hear more about this.
  14   A Correct.                                             14        You don't, you know, a mental health provider
  15   Q In Paragraph 145 you use the term automatic          15      would not be yes, you should get a divorce, or no,
  16     affirmation.                                         16       you should not. Right? I mean, that would be
  17   A Yes.                                                 17       inappropriate. Certainly we would not offer
  18   Q What is automatic affirmation?                       18      anything like suggestions in matters of, you know,
  19   A As I mentioned earlier, when a patient comes to      19       major life choices like a divorce.
  20     you and has a certain perspective on something, it   20        At some point by getting to know a person you
  21      is not typical within mental health for you to      21      may get a sense of whether that would be a wise
  22      automatically agree with their perspective.         22      course for them or not. I'm just bringing that up
  23          So that is not what we do in any other          23      as an example of what normally, how normally you
  24      situation, but for whatever reason with gender      24      would approach a patient in mental health when
  25     dysphoria we have been asked to, or there seems to   25       they say I have this situation.

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   1     be pressures that if someone says that they have a  1            So you don't, you would not necessarily say
   2      certain gender identity that we are obligated to   2         yes, do something, or no, don't do something.
   3      agree with that. That is just a departure from     3      Q Are you aware of any clinicians who are not asking
   4     typical mental health care.                         4        follow-up questions when patients present
   5   Q Where does the term automatic affirmation come 5             themselves saying I think I have gender dysphoria
   6     from?                                               6        or I might be transgender?
   7   A Well, that seems to be the approach which is being 7       A Yeah. If you look at the Hannah Barnes book, Time
   8     pushed. I don't know that term, I'm                 8        To Think, or you look at the whistleblower
   9     characterizing the affirmative approach as          9        report, you can see that there is sufficient,
  10    automatic or some component of it. I'm sure that 10           significant evidence that within gender clinics
  11     there are people who consider themselves 11                  there are a lot of pressures to automatically, and
  12    affirmative who do not automatically affirm or do 12          there are people in the community who say the
  13     not consider their affirmation automatic, yet it 13           first thing that you should do is immediately
  14    seems that there is some pressure to automatically 14          affirm. You have to go with it. This can never
  15     affirm. So that is why I put that in there.        15         be challenged.
  16         It seems very unusual that you would           16             So, yes, I feel that clinicians, therapists,
  17     necessarily agree with a patient when in mental 17            have a lot of pressure, especially if they are,
  18    health care we don't affirm or agree with patients 18          if, especially probably in places like gender
  19     in general.                                        19         clinics to automatically affirm.
  20   Q So automatic is your descriptive modifier based on 20      Q Based on your secondhand review of the literature
  21     your experience --                                 21        you believe this is happening?
  22   A Well, yes. It is one of the fundamental problems 22        A Well, based on what I read in WPATH guidelines,
  23     with gender-affirming care. So it's an             23        and based on what I have read in Hannah Barnes'
  24     underlying, you know, unstable base that           24        book, and based on my experience talking with
  25     gender-affirming care has in my assessment. 25               other psychiatrists, and based on my experience

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   1      going to meetings and listening to child              1      based on a specific patient or a hypothetical?
   2      psychiatrists who are presenting on gender            2    A Well, that is, that particular vignette would be a
   3      dysphoria, yes, I believe this is what is             3      hypothetical.
   4      happening.                                            4    Q So you are aware of that happening. That is an
   5   Q If a patient presents themselves and says, you         5      example that you came up with --
   6     know, I think I have gender dysphoria or I think       6    A There is evidence there is increased gender
   7      I'm transgender and I want you to use male            7      dysphoria after sexual assault. That is in my
   8      pronouns for me, do you think it is automatic         8      report. This is part of the concern that after a
   9     affirmation to begin using male pronouns for that      9      sexual assault there is evidence that there is
  10     person?                                               10      more likely to be gender dysphoria.
  11   A It may or may not be. It depends on the               11    Q That is a vignette that you came up with based on
  12     circumstance.                                         12      your reading of data, not a specific patient?
  13   Q In what circumstance would it not be automatic        13    A Correct.
  14     affirmation?                                          14    Q Okay. In Paragraph 145 you talk about some
  15   A Well, if you are, if their request to use male        15      psychiatrists who are, many psychiatrists are
  16     pronouns is in a situation where you, you know,       16      "willing to use affirmative approaches
  17     there has been a long history of gender dysphoria     17      selectively."
  18     or issues related to it and this is a well thought    18          Do you see where you wrote that?
  19     out process that emerges in therapy, or someone       19    A Yes.
  20     has already done a bunch of therapy work, if they     20    Q Is that what we talked about just now where you
  21      are older, I mean, there are all sorts of factors    21      said depending on the therapeutic history it might
  22      that you may consider whether to go with that.       22       be warranted to affirm someone by using their
  23        Or the next question might be why do you feel      23      pronouns?
  24     that way? What's going on? Tell me about that.        24    A Yes.
  25         Usually in therapy you are asking questions       25    Q Do you think in a patient that had that kind of

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   1      regarding what is the experience of the patient       1      long therapeutic history it would be warranted to
   2      and why they feel a certain way.                      2      provide them with gender-affirming care, medical
   3   Q Would you agree that it's possible to do both? To      3      care in the form of puberty blocks or hormones?
   4      say great, thank you, I will use male pronouns.       4    A I think that we have already discussed this. I
   5     Can you tell me a little more about that?              5      mean, if they are fully grown into adulthood that
   6   A That would be one choice, yes.                         6       that would be worth considering.
   7   Q Would you consider that automatic affirmation?         7          Yes, if they are done developing and they are
   8   A It could be. Yeah. If you are going to go with         8       still not in a process of identity development
   9     it, right, at the first request of a patient I         9       that could make sense.
  10     would consider that automatic affirmation.            10    Q Do you think there are seventeen year olds who are
  11   Q What do you think you should do instead?              11      sufficiently developed in their identity and have
  12   A Once again, it depends on the clinical situation.     12     a long enough history that gender-affirming care
  13     I mean, I have written that in the report.            13      in the form of hormones would be appropriate?
  14     Someone, you know, if someone comes up and they       14    A I don't think that we have enough data about if
  15     were just sexually assaulted and now they say, I      15      seventeen year olds will maintain their identity
  16     want to, I want to use male pronouns. I'm going       16      that they have in order to justify that.
  17      to change to this male name.                         17    Q Can you imagine any circumstance in which it would
  18       I would be, like, hold on. What's going on?         18      be appropriate to provide hormones to a seventeen
  19     You know, let me hear more about this. Let me         19      year old?
  20      hear what's behind your decision.                    20    A I don't think it is a good clinical decision. So,
  21         Yes, we want to talk about it because we want     21      no, I don't. In my opinion, it would not be wise.
  22     to know, and I would want to explore what exactly     22            MR. SELDIN: Joel, will you take us to
  23     is happening.                                         23       Page 53, please. Can you scroll down a little
  24   Q That example that you just referred to about a        24       bit. Go to Page 53. Thank you.
  25      patient recently being sexually assaulted, is that   25    Q Paragraph 131 appears out of order. It is on the

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   1      bottom of Page 53.                                   1    Q Do you feel that way about any minors?
   2         Do you see where you are discussing here          2    A What I would prefer to conceptualize this as is
   3      Levine's list of assumptions misrepresented as       3      that a minor is a developing individual with
   4     facts.                                                4       gender dysphoria. So I don't think clinically it
   5        Do you see that?                                   5       is the right approach to consider them a fixed
   6   A Yes.                                                  6       transgender individual.
   7   Q Then the third bullet down says, "All gender          7          And only time will tell if they end up being
   8      identity variations are biologically determined      8       an adult who, you know, does have that fixed
   9     and inherently healthy."                              9       identity of a stable transgender identity. So,
  10        Do you see that?                                  10       you know, for any one individual teenager or
  11   A Yes.                                                 11      child, I mean, we don't know what their life will
  12   Q Do you believe that there are some gender identity   12      bring them or how they will develop.
  13     variations that are inherently unhealthy?            13    Q If you could predict with a hundred percent
  14   A Do I believe there are some -- well, yeah. I         14       certainty which children with gender dysphoria
  15     mean, I think we have an open scientific question    15      would grow up to become transgender adults, would
  16     if some patient's gender identities are unhealthy    16       you have the same objections to provision of
  17     for them, correct.                                   17       gender-affirming care, medical care to minors?
  18   Q What do you mean by unhealthy for them?              18    A If you could predict with a hundred percent
  19   A Well, we could go back to the data related to        19      certainty?
  20     trauma and increased gender dysphoria. I mean, is    20         Well, I guess I would have a number of
  21      the, you know, is this really an avoidance          21      caveats with that. We are saying someone without
  22      strategy to shield someone, you know,               22       co-morbidities or other problems that possibly
  23      psychologically from the trauma that they had.      23       could be a contributing factor to developing it.
  24      Right?                                              24          So I think, yes, I think you are -- then we
  25         So if someone develops a transgender identity    25      would, you know, everyone would feel much more

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   1      or gender dysphoria after a sexual assault, it    1         comfortable if we knew for sure or we knew what
   2     could be an unhealthy response to that. And that   2          the person's individual development trajectory
   3      could end up being a, you know, you know, 3                  would be.
   4    nonproductive, nonfunctional way for them to cope 4              So, you know, I have never thought of that
   5      or react to that.                                 5          question before exactly like that. But, yeah,
   6   Q Do you think having a transgender gender identity 6          perhaps if we knew, if we knew a hundred percent.
   7      is inherently unhealthy?                          7       Q Is there any other medical condition for which you
   8   A No, not across the board. So I think that, you 8             think we should have a hundred percent certainty
   9    know, in an adult with an established transgender 9           as to outcome before we provide it?
  10     identity, the -- you would have a, a transgender 10        A You know, well, not that I know of. I do think
  11     identity -- everything in life is -- you know, so 11         this is an exceptional case because of the
  12     first of all, there are people that seem to just 12          permanent changing of a person's, you know,
  13     feel this very strongly. And it comes, and it has 13         trajectory with a, you know, low quality evidence
  14     come from not a place of another disorder or 14               base.
  15      trauma and it has been persistent for a long 15                 So that is the challenge here, is that we
  16      period of time.                                  16         don't really know who is going to have what type
  17          So I think that is the group of patients     17          of identity as an adult. We don't know the
  18     where we are saying that that does not seem so 18            long-term outcomes. Yes, other situations where
  19     much like this is an unhealthy or problematic 19             we were talking about things that do not have this
  20      identity.                                        20          risk level, sure, we don't demand such a high
  21   Q So you would agree then that there are at least 21            certainty.
  22     some transgender adults for whom there is no 22                  I'm not saying that I'm demanding a hundred
  23      traumatic etiology for their transgender         23         percent certainty. I'm saying I am demanding a
  24     identities? It is just the way they are, correct? 24         lot more certainty than we have with the current
  25   A Correct.                                          25          patient population that we have.

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   1   Q Would you support studies that would bring us        1           A lot of patterns in gender dysphoria are
   2     closer to certainty about the, about what you        2       classic patterns that you have in all psychiatric
   3     believe would be --                                  3       disorders. If they seem quite amenable to
   4   A Yes. Yes.                                            4      treatment and if you can get patients to engage in
   5   Q You are aware that Senate Enrolled Act 480 does      5      such treatment, then they could be less disturbed.
   6     not include any carve outs for research?             6      Yes.
   7   A Yes.                                                 7    Q So you were talking about the dreaded puberty as a
   8   Q Do you think that that is a mistake?                 8       potentially irrational self-defeating or harmful
   9   A I don't know all of the factors that go into         9      belief?
  10     making the bill. I would say, in general, I wish    10    A Yes.
  11     we would be studying things more. Especially if     11    Q But you believe there are some children with
  12      we were studying one pool of patients with         12      gender dysphoria who do grow up to be transgender
  13      psychotherapy and psychosocial treatments.         13      adults, right?
  14          As long as we are actually studying            14    A Correct.
  15      alternatives, then I think studies are great. If   15    Q So for those youth, their fear of puberty is not
  16      all you are going to study is medicalized          16      irrational, right?
  17     treatments, then we are going to be in the same     17    A Well, it may be irrational because it may be out
  18     boat down the road because we are not going to      18      of proportion. So just because a possible outcome
  19      really know what treatments are better.            19       is that puberty will be bad, I mean, you know,
  20   Q If I understand, you have opinions about study      20       puberty may be good.
  21     design.                                             21          That person does not know until they
  22         Generally speaking, you would support           22      experience it. So they are assuming the worst and
  23     studies?                                            23      making themselves suffer more. This is a lot of
  24   A Correct.                                            24      what you do in therapy, is help people to have
  25   Q Okay.                                               25      realistic and flexible thought patterns and accept

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   1          MR. SELDIN: Joel, will you take us to           1       what they have to accept and not making things
   2      Page 55, please.                                    2       worse for themselves.
   3   Q Dr. Kaliebe, you will see in Paragraph 151 you       3         You don't want people catastrophizing the
   4     talk about in the third sentence, "Psychotherapy     4      worst and focusing on negatives. That is amenable
   5     involves getting patients to recognize their own     5       to therapy. I think those could be quite helpful
   6     thought patterns, disturbed emotions, and, when      6      in patients with gender dysphoria.
   7     appropriate, includes challenging irrational,        7    Q You might disagree with the amplitude of their
   8     self-defeating, and harmful beliefs."                8      distress, but it would not be irrational to be
   9        Do you see that?                                  9       worried about going through puberty that didn't
  10   A Yes.                                                10      match your gender identity, right?
  11   Q Do you think gender dysphoria is an irrational,     11    A It is not all about rational. That is one
  12     self-defeating or harmful belief?                   12      component of it. An overfocus on negative things
  13   A I believe that what I have seen in many patients    13      makes people more upset and causes them to do
  14      with gender dysphoria is that it includes those    14       worse.
  15      types of beliefs, yes.                             15        So there are many different components of how
  16        So when you have a patient who is saying, you    16      your thought patterns contribute to suffering. So
  17     know, who is so fearful of puberty, and they are    17      we want to minimize suffering from people having
  18     saying this will be the worst thing. This will be   18       flexible thoughts, alternative seeking, remaining
  19     so horrible. They are predicting a future that      19       realistic.
  20     they don't know. They are assuming the worst.       20           And so just the overfocus itself, even if it
  21      Right?                                             21       is rational, can be a harmful approach.
  22         That is a classic assuming the worst            22    Q You talk about minimizing suffering as a generally
  23     cognitive distortion. Right? They don't know        23      good goal. We talked about, you know, children
  24     what will happen, but they feel it's bad. They      24       with gender dysphoria, minors with gender
  25      have thoughts related to that.                     25      dysphoria who grow up to be transgender adults.


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   1         Would you agree that it's good to minimize         1      between this regular psychotherapy that you are
   2     their suffering of going through puberty that does     2       talking about and affirmative therapy.
   3      not match their identity?                             3          Earlier you said it would not necessarily be
   4   A I don't know that we know enough right now to say      4       affirming for a therapist or psychiatrist to say,
   5      whether that is -- even for the ones who end up       5       Great, I'll use those pronouns. Can you tell me
   6      being adults, I don't know that we know that it's     6       more about that?
   7      not a better path, even if it's difficult, to go      7         I mean, what is the difference between
   8      through puberty, become an adult, have a              8      regular psychotherapy and affirmative therapy in
   9      solidified identity and then make a choice to         9      that instance?
  10     transition when you have gone through that even if    10    A Well, that would be fine. It's fine to choose
  11      it was painful or difficult or there was suffering   11      that approach. But as long as we are getting to
  12      involved.                                            12      the, Can you tell me more about that, and we are
  13         So while, yes, we want to minimize suffering,     13      really truly going down that road it seems like
  14      I don't know that in your hypothetical that we       14      many proponents of medicalized transitions for
  15      would be. I think that is one of the many            15      youth are not emphasizing how important it is for
  16      unknowns.                                            16      there to be a true process of actual exploration
  17           MR. SELDIN: Joel, will you take us to           17      and a completion of identity development before
  18      Paragraph 154 on the next page, please.              18       medicalized treatment.
  19   Q Five lines down you say, "Yet, the false binary of    19          And I just think that, you know, the, calling
  20     affirmative psychotherapy versus conversion for       20       therapies for gender identity or addressing
  21     gender dysphoria is being used to push therapists     21      elements of gender identity conversion therapy is
  22     away from consideration that acceptance of one's      22       an inappropriate attempt to, it's, it makes
  23     biological sex or resolution of gender dysphoria      23      therapy a pejorative and it argues against therapy
  24      is a positive event."                                24      for kids who really could benefit from therapy.
  25          Do you see where you wrote that?                 25            MR. SELDIN: Joel, will you take us to

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   1   A Yes.                                                   1      Paragraph 168.
   2   Q This false binary, what do you base that on?           2    Q Dr. Kaliebe, in Paragraph 168 you say in the
   3   A Well, a lot, there have been many attempts to call     3      second sentence, "Beyond standard psychotherapies,
   4     different types of therapy for gender dysphoria or     4      more specific and nuanced approaches for gender
   5      approaches to people who are transgender as           5       dysphoria exist, such as Exploratory Therapy."
   6      conversion therapy.                                   6      Then you include the URL for
   7        Conversion therapy usually was thought of as        7      genderexploratory.com.
   8     attempts to force changes in sexual orientation.       8          Do you see that?
   9     Those are not any -- I mean, in the distant past       9    A Yes.
  10     those occurred. They were rejected by the mental      10    Q Have you studied Gender Exploratory Therapy?
  11     health community a long time ago. They may exist      11    A I don't know what you mean by "studied." But I've
  12      in certain religious sects or in other parts of      12      looked at the site and the approach, yes.
  13      society.                                             13    Q What is the evidence base for this approach?
  14          But to then associate regular, you know,         14    A Well, it's based on long-standing principles of
  15     psychotherapy with conversion I think has done a      15      psychotherapy. And as I note in other parts of my
  16     lot of damage in that people don't want to engage     16       report, the evidence base in general for
  17     in deep regular therapy with patients because for     17       psychotherapy is quite good.
  18      fear of this.                                        18         So since we are using lots of the techniques
  19         And because patients hear that therapy is not     19      from standard therapy, my guess is that it would
  20      the solution to their problems. That they really     20       generalize and be quite good. Just like
  21      just need to be affirmed and get medical             21      everything else, there are very few studies as we
  22      treatments. So that can also interfere with the      22       have a very new patient population.
  23     patient's willingness to do therapy when therapies    23    Q You have a hypothesis that can work, but there is
  24     are called conversion therapy.                        24      not an evidence base specifically for gender
  25   Q So I'm trying to understand the distinction           25      dysphoria?

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   1   A There is a huge evidence base for psychotherapy.    1           distress related to their secondary sex
   2     I don't see any reason that patients with gender    2           characteristics and physiology.
   3     dysphoria would be so different from all of the     3        Q And even though you have talked about evidence for
   4     other patients. So we can look at the massive       4          things like cognitive behavorial therapy as a
   5     evidence base that there is for psychotherapy and   5          treatment for other conditions, you are not aware
   6     assume that all human beings with struggles and     6          of any studies regarding the effectiveness of CBT
   7     problems and distress could benefit from talking.   7           for the treatment of gender dysphoria, is that
   8         People have been fine tuning and honing 8                   correct?
   9     therapy for quite a while and there are lots of 9            A Yeah. I'm not aware of any studies that don't say
  10      really well proven techniques. I have cited 10                it treats it. But I'm not aware of any studies
  11      cognitive therapy in my report.                   11          that say it does treat it.
  12         I mean, there is a really strong substantial 12                There are lots of studies that say it works
  13     base for this being a very effective tool. So I 13             for a lot of things. It just has not been
  14     don't see any reason why it would not work in 14               studied, correct.
  15      gender dysphoria.                                 15                MR. SELDIN: Joel, will you take us back
  16   Q You think you have a really good hypothesis, but 16            to Page 56, please.
  17      there is not a study showing that --              17        Q Dr. Kaliebe, in Paragraph 154 you say, "It is
  18   A Yes. Yes. There is no study showing it does not 18             surely reasonable and compassionate for a
  19     work, right. There are a lot of studies that show 19            psychotherapist to prefer a patient no longer to
  20     it works for everything else. But, no, we do not 20            suffer with gender dysphoria."
  21      have a specific study in this.                    21              Do you see where you wrote that?
  22   Q Right. Would you agree that gender dysphoria is 22           A Yes.
  23     distress based on the existence of psychological 23          Q It's your belief that gender dysphoria can
  24     characteristics that don't align with their gender 24          resolve? Or it's your belief that gender
  25      identity?                                         25           dysphoria can possibly be resolved by a person

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   1   A That is a complex question. I'm not sure that           1      accepting their biological sex, is that fair?
   2     that is the primary driver for most of or --            2    A I believe that a component of resolution of gender
   3   Q Doctor, I don't mean to cut you off. I think            3      dysphoria could be in many cases, and maybe in all
   4     maybe you misunderstood my question. I'm not            4      cases, that acceptance. So yes, that could be one
   5      talking about etiology. I'm just talking about         5      component of it.
   6      what it describes.                                     6    Q Would you agree that gender dysphoria can also be
   7         As a descriptive matter, gender dysphoria as        7      resolved by treatments that bring a person's body
   8      a distress because of having psychological             8      in line with their gender identity?
   9     characteristics that don't align with your gender       9    A I'm not so -- I think when you talk about the
  10      identity, is that fair to say that is a               10      patient population of adolescents that we are
  11      descriptive matter?                                   11       treating, I'm not, I don't think that the evidence
  12   A I'm not sure. I mean, I think those are elements       12       is overwhelming that that does resolve their
  13     of what is going on. But, in totality, we are not      13       gender dysphoria.
  14     really sure what the children and teens, what          14          There's mixed evidence on that. So I would
  15     factors are causing them to have the, you know,        15      not say that that is a uniform response to gender
  16      thoughts and feelings that they have.                 16      affirming treatment. I would agree it does seem
  17         But, yes, I mean, I would agree to that, you       17      there is evidence in some cases it resolves gender
  18      know, that part of the criteria is that there is      18      dysphoria.
  19      distress about their physical characteristics.        19    Q So I guess my question is if it's -- and we can
  20         So I think that there are some qualifications      20      disagree about the frequency. But if it's
  21      and that we really sort of have not fully             21      sometimes resolution through accepting their
  22     developed theories and knowledge about what is         22      biological sex, or through changing physical
  23      driving gender dysphoria.                             23      characteristics to match gender identity, is it
  24         But, yes, I would agree that just by the           24      ethical to totally ban one of those two?
  25     criteria, you are talking about someone who has        25    A Well, I would add there is a third that sometimes

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   1      these would just resolve on their own.             1      come to peace with their natal sex because then
   2         So, yes, I think that we also have to           2      they don't have all the problems that come from
   3     understand and consider that gender dysphoria 3            not having that, and the distress from not having
   4    could just resolve without treatment. So we don't 4         that. But I'm okay with -- obviously, there are
   5    necessarily have to do a medicalized treatment for 5        going to be people that are going to go on and be
   6      all individuals with gender dysphoria.             6      transgender and not be comfortable with their
   7          So would it appropriate? Well, I think in 7           natal sex, so you could support that."
   8      the case of developing minors, I think it is       8         Did I read that correctly?
   9      proper to argue that they should wait until        9    A Yes.
  10     complete development, and then have sufficient 10        Q Do you still agree with that testimony that you
  11    psychotherapy and other supports that would help 11         provided in Decker?
  12     them get to a place as an adult and with enough 12       A Yes, I think that was very similar to the
  13    time that they have stayed gender dysphoric before 13       conversation that we just had.
  14      moving on to medicalized treatments.              14    Q Earlier we talked about a situation in which you
  15            MR. SELDIN: Joel, will you pull up          15      were comfortable with the certainty of the
  16      Exhibit 7. Take us to Page 1130, which is 16              prediction.
  17      Page 168 of the PDF.                              17         For those children, for minors with gender
  18   Q And so, Dr. Kaliebe, we were talking earlier about 18      dysphoria who go on to be transgender adults there
  19    your testimony in the Decker trial that took place 19        may be a role for medical gender-affirming care
  20      recently.                                         20      for those people, would you agree?
  21         Do you remember we were talking about that? 21               MR. PATTERSON: Objection. It has been
  22   A Yes.                                               22      asked and answered several times.
  23   Q This is going to be a long portion of me reading. 23            You can answer again.
  24     My question at the end will be did I read that 24        A You are saying as adults?
  25      correctly.                                        25    Q Yes. We will start with as adults.

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   1   A Okay.                                               1    A Repeat the question then before I answer it.
   2   Q So you know where we are going. So on Page 1130     2    Q So we talked about before those minors with gender
   3     of this transcript at Line 11 the Court said -- or 3        dysphoria who go on to be transgender adults.
   4      rather we will start at Line 9.                    4         Do you believe that there is a role for
   5         "THE WITNESS: Yes, I do not believe that we 5          gender-affirming medical care in the form of
   6      should be doing hormones and surgeries for 6              hormones for those individuals?
   7      developing adolescents."                           7    A Yes.
   8         "THE COURT: My question was therapy. And I 8         Q Is it your belief it is ever appropriate to
   9     think I take it from your answers that you don't 9         provide that kind of medical care to someone who
  10     think therapy that would make an adolescent 10             is under eighteen?
  11     comfortable with gender identity different from 11               MR. PATTERSON: Objection. Objection
  12      the sex assigned at birth is ever appropriate. 12         asked and answered.
  13      Did I misunderstood it?"                          13           You can answer.
  14         "THE WITNESS: I would say a little bit. I 14         A My belief is that there is no evidence base to
  15     think that we wouldn't have a goal of trying to 15         support that practice.
  16     change someone's gender identity in therapy. I'm 16             MR. SELDIN: Joel, will you take us back
  17      not trying to get to one particular result. It's 17       to Exhibit 1.
  18     more you want to -- so if that's the end result 18       Q Dr. Kaliebe, we were talking earlier and you were
  19     that they have a, you know, a gender identity 19           talking about conversion therapy in the context of
  20      opposite from their natal sex, I am fine with 20          sexual orientation.
  21      that. I'm not opposed to that.                    21          Do you remember that?
  22         "I do think that you would have a leaning 22         A Yes.
  23     towards or it is sort of a better outcome for most 23    Q You said it was rare. Do you recall saying that?
  24      kids most of the times, considering the           24    A Yes. I qualified that conversion therapy was, if
  25     co-morbidities and everything going on, that they 25       it is carried out these days, it's typically

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   1      carried out within parts of our society that are  1     A Yes.
   2     not related to mental health care or medical care. 2            MR. SELDIN: Joel, will you scroll down.
   3   Q What do you base that statement on?                3       Keep going.
   4   A That in all of my experience I've not encountered 4      Q I believe this is -- does this look like the
   5    medical or mental health professionals who would 5            agenda from the conference that you were talking
   6     attempt to change anyone's sexual orientation. 6           about?
   7    Nor have I ever seen any compelling evidence of it  7     A Okay. Hold on. This is the adult conference.
   8     in any of our medical journals.                    8     Q Okay. The adult conference. Okay. There was a
   9   Q Any evidence of it happening, you mean?            9       separate child conference?
  10   A Correct. Within the medical community or mental 10       A Correct.
  11     health community, correct.                        11     Q Well, let's stay here for a moment. So,
  12   Q We will look at Page 59.                          12       Dr. Kaliebe, you said that you provided three
  13        Dr. Kaliebe, earlier you had mentioned that 13          different CME lectures at this weekend in
  14     you thought trauma might have a role in gender 14          Puerto Rico, is that right?
  15     dysphoria in some minors.                         15     A Of the child. Two for adult and three for child.
  16   A Correct.                                          16     Q Okay. So are these the two for the adult that you
  17   Q For minors who have no history of trauma this 17           were talking about?
  18     hypothesis would not be applicable, right? 18            A Correct. Yes.
  19   A Correct.                                          19     Q So the agenda would be listed separately for the
  20   Q And would you agree, or rather, do you think that 20       child conference?
  21    there are people who have gender dysphoria who 21         A Yes.
  22     separate and unrelated have had some kind of 22          Q I'm asking because I only saw two of the three. I
  23     trauma in their life?                             23         was not sure where the third had gone. We will
  24   A Correct. You can see if something occurred before 24         take a look at that in a second.
  25    the development of the gender dysphoria or at the 25               MR. SELDIN: Joel, will you pull up

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   1      same time as the development of the gender         1      Exhibit 16.
   2      dysphoria.                                         2    Q Earlier you said you had a Twitter account. Is
   3         We would call that a co-occurring disorder if 3        that your handle?
   4     it occurred at the same time or around the same 4        A It must be ancient. Maybe I just joined to read
   5      time, but after the trauma.                        5        some things. I don't know that I have a handle.
   6   Q Would you agree then that -- once someone's trauma 6         I don't ever tweet anything. Maybe when I logged
   7     has been adequately addressed it is possible that 7          in it connected to me through Google or some other
   8      that person could still have gender dysphoria? 8            way. Like I said, I have gone on to read things.
   9   A Yes.                                                9    Q    Is that photo there --
  10   Q Okay.                                              10    A    That is me in the photo.
  11            MR. SELDIN: We have been going a little 11        Q    Is that a New Orleans Saints jersey?
  12      over an hour. Is now a good time for a five 12          A    It is a Saint's jersey, yes.
  13     minute break for folks? Let's come back at 3:37 13       Q    So that is you. The bio says "psychiatrist and
  14      Eastern.                                          14        sceptic."
  15           (OFF RECORD AT 3:31 P.M.)                    15           Does that sound like something you would
  16        (AT THIS TIME A SHORT RECESS WAS HELD OFF 16            write?
  17    THE RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS 17       A It is. I don't remember -- anyway. Yeah. I
  18      WERE HAD:)                                        18      would write that. I don't remember.
  19           (ON RECORD AT 3:37 P.M.)                     19    Q Okay. You don't have any reason to believe this
  20   BY MR. SELDIN:                                       20      is a different Kristopher --
  21   Q Let's look at paragraph -- sorry.                  21    A That is me.
  22            MR. SELDIN: Joel, will you bring up 22            Q Okay. All right. And then we will scroll down.
  23      Exhibit 15. Click us through to that link.        23        You said you used Twitter to read some things.
  24   Q You recall earlier you mentioned this conference 24              It looks like that this profile liked this
  25      you spoke about. Oasis.                           25        tweet by Dr. Jordan B. Peterson that says, "Why


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   1     can't we tell the truth about Lia Thomas?"       1         ask him how he justifies winning among women? In
   2        It links to an article on spiked-online.com. 2          a free society, that interview would have already
   3        Do you see that?                              3         happened."
   4   A Yes.                                             4            Do you see that?
   5   Q Do you recall liking this tweet?                 5       A Okay. Yes.
   6   A I believe that is accurate that I probably did. 6        Q Do you recall why you liked that tweet?
   7   Q Do you recall reading this article?              7       A No. I think it speaks for itself.
   8   A I don't know that I ever read the article, no. 8         Q What do you mean?
   9   Q Okay.                                            9       A Well, I think that we should have a close look at
  10   A I may have. I may not have.                     10         what is going on. And, you know, to me this is a
  11           MR. SELDIN: Joel, scroll down.            11         problematic issue when someone swims as a
  12   Q You liked another tweet on March 28, 2022. This 12         biological male for three years in college and
  13     was posted by communik8e to Jordan Peterson. It 13         then transitions and then swims as a female.
  14      says, "The Party told you to reject the evidence 14           So, once again, this is something that I
  15      of your eyes and ears. It was their final, most 15        think is challenging, but there is a clear answer
  16      essential command."                            16         that most people would support. And I support
  17         That is a George Orwell quote from 1984     17         that biological sex when it comes to sports is
  18      superimposed on a photo of Lia Thomas.         18          very important.
  19         Do you recall liking this tweet?            19             It is quite unfair for female participants if
  20   A No. I don't doubt that I did if it showed up in 20         someone who is a biological male and gone through
  21     my profile.                                     21         biological puberty is then allowed to compete with
  22   Q What do you think this graphic means?           22         biological females.
  23   A What does the graphic mean? Well, I think there 23       Q You would agree that Senate Enrolled Act 480 has
  24     is, the graphic means that there seems to be a 24          nothing to do with sports?
  25     problem with inclusion of biological males in 25         A Correct.

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   1     women's sports and that we, you know, that this is  1    Q Okay. And you will see that this tweet uses male
   2      an issue that seems, I think, important and that   2      pronouns to refer to Lia Thomas.
   3    we should have an honest proper discussion about 3             Do you think that is appropriate?
   4      it.                                                4    A You know, once again, I don't think it's a big
   5          And my opinion is that it's important to keep  5      deal. I don't know that I noticed whether it used
   6     women's sports to those who are biologically 6             male pronouns or not. I mostly was liking things
   7     female with whatever, you know, definition that 7           that brought up this issue of fairness and, you
   8     you have. Yes, I would agree that is the main 8            know, basically allowing women to compete fairly
   9      part.                                              9      in women's sports, which I think is an important
  10          The bigger part, though, is the, you know, 10          issue.
  11     there is an Orwell quote. As I was mentioning 11                 MR. SELDIN: Joel, I'm dropping into the
  12     regarding, regarding, you know, silencing of 12             chat a link which I will call Exhibit 17 for
  13     debate, it seems like that we have not had any 13           purposes of this exercise. If you can take us
  14     sort of proper dialogue, especially in the medical 14       there.
  15    journals and within medical societies about how we 15     Q Is Exhibit 17 the agenda for the child portion of
  16      are going to handle these complex issues.         16      the Oasis conference?
  17          So, you know, therefore, the George Orwell 17       A Yes. You would have to scroll down to see the
  18     quote I think is, you know, part of why I tweeted 18       rest.
  19      it. Or why I liked it. I have never tweeted 19          Q You will see -- Dr. Kaliebe, do you see there are
  20      anything as far as I know.                        20      two CMEs listed with your name next to them?
  21            MR. SELDIN: Joel, scroll down to the last 21      A Yes.
  22      page.                                             22    Q "Social Media and Cyberbullying: Prevention."
  23   Q You will see you liked a tweet from Andre MCato on 23    A Yes.
  24     March 28, 2022. The tweet that you are liking 24         Q The second one is, "Cannabinoid: New Forms and
  25    says, "Who has the courage to interview Thomas and 25       New Problems."

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   1   A Yes.                                                  1    A I had presented a couple times at their
   2   Q I guess my question is earlier you talked about       2      conference. I do a lot of different things. So
   3     presenting on gender dysphoria specifically at the    3       that was not totally, or, you know, I didn't feel
   4      child portion of this conference.                    4       like it was -- I just do so many things. I had to
   5         I'm just wondering why it's not listed here?      5       give some things up. It's a great organization.
   6   A Yeah. Well, that's a good question. I've not          6       I would be happy to join or contribute again in
   7     accessed this before. This is also garbled            7      the future.
   8     because the presenters do not match up. I did not     8    Q And then we will look at Exhibit 8 next. This is
   9     represent on cannabinoids. I did present on the       9       an article on the Zero To Three website dated
  10     social media. Some of this is messed up.             10       December 15, 2021.
  11   Q Okay. Did you present one or two CMEs?               11          It says, "Embracing Diversity: Developing a
  12   A Three. I presented three.                            12      Gender Identity."
  13   Q Are the three that you did listed here?              13         Do you see this article?
  14   A No. So only one is listed here. I presented the      14    A Yes.
  15     social media one. I'm not sure if the other ones     15    Q Have you seen this article before?
  16     are wrong or what is wrong on this. I presented      16    A No.
  17      on the three. It was Social Media and Cyber         17            MR. SELDIN: Joel, scroll down to
  18      Bullying. It was Traumatic Brain Injury and         18      "Supporting Healthy Development."
  19      Gender Dysphoria. What is listed there is           19    Q I will read something. My question will be did I
  20      incorrect.                                          20      read that correctly.
  21   Q Do you recall what the title of that CME would       21         Under Supporting Healthy Development it says,
  22     have been on gender dysphoria?                       22       "Make sure your child knows they have your
  23   A I know gender dysphoria. It was Reviewing the        23       support. Gender identity is a central part of a
  24     Evidence or something like that.                     24       child's identity and well-being. Parents don't
  25          MR. SELDIN: Joel, will you please bring         25       make their children cisgender or transgender.

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   1     up Exhibit 3.                                      1          This is also not a choice children make - it is
   2   Q Earlier today we talked about this as the C.V.     2         simply who they are. To grow up healthy, every
   3     that you attached to your report in Boe v.         3         child needs to know that they are fully accepted,
   4     Marshall.                                          4         loved, and supported."
   5   A Yes.                                               5             Did I read that correctly?
   6   Q Look at Page 107 of this PDF. You will see,        6       A Yes.
   7     Dr. Kaliebe, on Page 21 it says at the top that    7       Q Do you agree with that?
   8    you were a member of Zero To Three from 2017 to 8           A Yeah.
   9     2021.                                              9       Q Dr. Kaliebe it says, "Read stories that feature
  10         Do you see that?                              10         all kinds of families, as well as stories that
  11   A Yes.                                              11         include transgender, non-binary, and gender
  12   Q What is Zero To Three?                            12         expansive characters. Shared reading is a
  13   A Zero to Three is an organization devoted to young 13         powerful way for all families to nurture an
  14     children. So this is, there's a field, sometimes 14          inclusive worldview and challenge stereotypes from
  15     people call it infant psychiatry or infant mental 15         the start."
  16     health.                                           16            Then it links to some suggested titles.
  17         The first few years of life are incredibly 17               Did I read that correctly?
  18     important. This is an organization devoted 18              A Yes.
  19    towards supporting children, infants, young babies 19       Q Do you generally agree with that advice?
  20     and also their caregivers, especially their       20       A You know, I don't, I'm not sure that if we are
  21     mothers.                                          21         talking about Zero To Three, you know, which is
  22         So Zero To Three is a professional            22         really like, you know, very, very young children.
  23    organization of those devoted to trying to promote 23         I think, you know, it's debatable what positive
  24     support for moms and babies.                      24         influence you would have in a very, very young
  25   Q Why did you stop being a member after 2021? 25                child introducing these different characters.

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   1         I don't think, you know, I'm not necessarily    1        nonconforming children. And that it is important
   2      opposed to it. But I'm also not thinking that      2         for society to create space for gender
   3      this is a, you know, that this is necessarily      3         nonconforming children.
   4      important.                                         4           Where I think we are not on the same page or
   5         I mean, yeah, I mean, once again, I think I     5         there is some difference of viewpoint is that I
   6    would honestly, I personally would have a somewhat   6        think it's important to emphasize that what we are
   7      different emphasis. I don't think there is         7        talking about in, you know, we are saying gender
   8     anything wrong with reading stories that include 8            nonconforming could be fine and not gender
   9     transgender or nonbinary, or gender expansive 9               dysphoria.
  10      characters.                                       10            But if we are talking about a gender
  11   Q Dr. Kaliebe, further down there is a section that 11         dysphoria child, I'm not for labeling that child a
  12      says, "Build an inclusive community."             12        transgender child. I think that we can label them
  13          It says, "This is important for all kids, and 13        a child with gender dysphoria.
  14     it's especially important for kids who may later 14        Q In the middle of this paragraph it says, "Actors,
  15      identify as LGBTQ. In the past, one of the 15               politicians, teachers, sports stars, family, and
  16     toughest things for kids discovering that their 16           friends who are upfront about their identities
  17      sexual orientation or gender identity was         17        help make the world more comfortable for
  18    different than those around them was a feeling of 18          questioning kids."
  19      being alone. Actors, politicians, teachers, 19                  Do you see that?
  20     sports stars, family, and friends who are upfront 20       A Yes.
  21     about their identities help make the world more 21         Q Earlier today we were talking about whether
  22     comfortable for questioning kids. Make it clear 22           celebrities who are openly transgender are a
  23    that all people are welcome in your community and 23           source of social contagion. You thought they
  24    in your household. Living your values in this way 24           might be.
  25    shows your child that they will be loved however 25              Do you remember us talking about that?

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   1     they show up and whoever they become."                1    A Yes.
   2        Did I read that correctly?                         2    Q Do you think these two, this sentence and that
   3   A Yes.                                                  3      belief are in tension with each other?
   4   Q Do you agree with that?                               4    A Well, I think there's a lot of nuance. As I said,
   5   A Yes. It is important for us to have broad roles,      5      I think we have to be careful about anything that
   6     or a broad range of how what, of how children can     6      may encourage children to want to change their
   7     act. I do think it is important that we accept        7       body prior to them fully developing as
   8     boyish girls and girlish boys and don't try to        8       individuals.
   9     pigeonhole kids into my particular gender             9          So I think that there is a challenge there in
  10     expression.                                          10      wanting to accept a child as they are whether that
  11        So I would definitely agree that allowing a       11      is gender nonconforming or not. So making space
  12     wide range of gender expression is important.        12       for all children, but not having children feel
  13   Q Do you think that extends to people who are          13       pressured that they would need to change their
  14     transgender?                                         14      body prior to them fully developing.
  15   A Well, I think we have had this conversation          15    Q But per this paragraph just about people being
  16     already. Children with gender dysphoria I would      16       upfront about their identities, do you think just
  17     not categorize as transgender. I would say they      17       being upfront about identity as a transgender
  18     are a child with gender dysphoria because I don't    18       adult, that that is a source of social contagion?
  19      think it is appropriate to place an identity on a   19    A No, that is fine.
  20      child.                                              20          MR. SELDIN: Dr. Kaliebe, Mr. Patterson,
  21        So within their life we should make room for      21      it may be that I'm able to wrap up soon. I think
  22      children to express themselves in any way,          22       another break might help me determine that.
  23      including gender nonconforming ways.                23           Would you be opposed to a longer break,
  24         So, yes, we are in agreement that we need to     24       about ten minutes until 4:13?
  25      make space for all children, including gender       25            MR. PATTERSON: Fine.

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   1          (OFF RECORD AT 4:02 P.M.)                       1      attorneys for the respective parties.
   2       (AT THIS TIME A SHORT RECESS WAS HELD OFF          2        IN WITNESS WHEREOF, I have hereunto set my
   3   THE RECORD AFTER WHICH THE FOLLOWING PROCEEDINGS       3      hand and affixed my notarial seal this __________
   4     WERE HAD:)                                           4      day of _________________________ 2023.
   5       (ON RECORD AT 4:09 P.M.)                           5
   6        MR. SELDIN: Dr. Kaliebe, thank you for            6
   7    the conversation today. Unless Mr. Patterson has      7         ____________________________________
   8    questions that I want to follow up, I think we are               Wendi Kramer Sulkoske, Notary Public
   9     at an end.                                           8
  10           MR. PATTERSON: I don't have any                9
  11     questions. I think we are done.                     10    Commission Number NP0661030
  12
                                                             11    My commission expires December 1, 2030.
  13
                                                                   My County of residence is Boone.
                                                             12
  14     AND FURTHER DEPONENT SAITH NOT                      13
  15
                                                             14
  16
                                                             15
          _____________________________                      16
  17      KRISTOPHER KALIEBE, M.D.                           17
  18                                                         18
  19                                                         19
  20                                                         20
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                                                                   AMERICAN CIVIL LIBERTIES UNION
  1    STATE OF INDIANA )                                          Harper Seldin
                                                                   125 Broad Street
               ) SS:                                               New York, New York 10004
   2   COUNTY OF BOONE )                                                                NOTICE OF FILING
   3
                                                                                UNITED STATES DISTRICT COURT
   4     I, Wendi Kramer Sulkoske, Notary Public in and                          SOUTHERN DISTRICT OF INDIANA
                                                                                    INDIANAPOLIS DIVISION
   5    for said county and state, do hereby certify that
   6    KRISTOPHER KALIEBE, M.D., the deponent herein was          K.C., et al,                     )
                                                                                                    )
   7     by me first duly sworn to tell the truth in the                              Plaintiffs,   ) Case No.
                                                                                                 ) 1:23-cv-00595-JHP-KMB
   8     aforementioned matter;                                              -vs-                )
                                                                                                 )
   9        That the foregoing deposition was taken on             THE INDIVIDUAL MEMBERS OF THE )
                                                                   MEDICAL LICENSING BOARD OF    )
  10    behalf of the Plaintiffs at the time and place             INDIANA, in their official
                                                                   capacities, et al.,
                                                                                                 )
                                                                                                 )
  11    heretofore mentioned with counsel present as                                Defendants. )
                                                                                                 )
  12    noted.
  13          That the deposition was taken down in
  14    Stenograph notes, reduced to typewriting under                       In compliance with the Indiana Rules of
  15    my direction, is a true record of the testimony            Procedure, Rules of the Industrial Board or Federal
                                                                   Rules of Procedure, pursuant to Indiana Supreme Court
  16    given by said deponent, and was thereafter                 Order dated 10/1/86, you are notified that the signed
                                                                   original deposition of KRISTOPHER KALIEBE, M.D.,
  17    presented to the deponent for signature.                   taken on behalf of the Plaintiffs on June 1, 2023 has
                                                                   been sealed and submitted to the originating party,
  18         That this certificate does not purport to             along with the attached Errata Sheet(s), if
                                                                   applicable.
  19    acknowledge or verify the signature hereto of
  20    the deponent.                                                           ___________________________________
  21          I do further certify that I am a                                 (Date Received by Circle City Reporting)

  22    disinterested person in this cause of action;                               CIRCLE CITY REPORTING
  23    that I am not a relative or attorney of any of                        135 North Pennsylvania, Suite 1720
                                                                                 Indianapolis, Indiana 46204
  24    the parties or otherwise interested in the event
  25    of this action, and am not in the employ of the

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